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                                       Exhibit A

                           Combined Disclosure Statement And
                      Plan Of Liquidation Dated September 25, 2023




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 THIS IS NOT A SOLICITATION OF AN ACCEPTANCE OR REJECTION OF THE
    COMBINED DISCLOSURE STATEMENT AND PLAN. ACCEPTANCES OR
REJECTIONS MAY NOT BE SOLICITED UNTIL A DISCLOSURE STATEMENT HAS
     BEEN APPROVED BY THE BANKRUPTCY COURT. THIS COMBINED
    DISCLOSURE STATEMENT AND PLAN IS NOT AN OFFER TO SELL ANY
 SECURITIES AND IS NOT SOLICITING AN OFFER TO BUY ANY SECURITIES.

                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

     In re                                                   Chapter 11

     STANADYNE LLC, et al.,1                                 Case No. 23-10207 (TMH)
                                                             (Jointly Administered)
                   Debtors.


                      COMBINED DISCLOSURE STATEMENT AND
                   PLAN OF LIQUIDATION DATED SEPTEMBER 25, 2023




1.        The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
identification number are: Stanadyne LLC (0378); Pure Power Technologies, Inc. (5202); Stanadyne PPT Holdings,
Inc. (2594); and Stanadyne PPT Group Holdings, Inc. (1734). The Debtors’ headquarters are located at 405 White
Street, Jacksonville, North Carolina 28546.



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                             DISCLAIMER

     EACH HOLDER OF A CLAIM AGAINST ONE OR MORE OF THE DEBTORS
ENTITLED TO VOTE TO ACCEPT OR REJECT THIS COMBINED PLAN AND
DISCLOSURE STATEMENT (THE “PLAN”) SHOULD READ THE PLAN IN ITS
ENTIRETY BEFORE VOTING. NO SOLICITATION OF VOTES TO ACCEPT OR
REJECT THE PLAN MAY BE MADE EXCEPT PURSUANT TO THE TERMS HEREOF
AND SECTIONS 1121 AND 1125 OF THE BANKRUPTCY CODE. IF YOU ARE
ENTITLED TO VOTE TO ACCEPT OR REJECT THE PLAN, YOU ARE RECEIVING
A BALLOT WITH YOUR NOTICE OF THE PLAN. THE OFFICIAL COMMITTEE OF
UNSECURED CREDITORS, AS THE PLAN PROPONENT, URGES YOU TO VOTE TO
ACCEPT THE PLAN.

     THE PLAN HAS BEEN PREPARED IN ACCORDANCE WITH SECTIONS 1121
AND 1125 OF THE BANKRUPTCY CODE AND BANKRUPTCY RULES 3016 AND 3017,
AND NOT IN ACCORDANCE WITH FEDERAL OR STATE SECURITIES LAWS OR
OTHER APPLICABLE NON-BANKRUPTCY LAW.        PERSONS OR ENTITIES
TRADING IN OR OTHERWISE PURCHASING, SELLING, OR TRANSFERRING
CLAIMS AGAINST OR INTERESTS IN THE DEBTORS SHOULD EVALUATE THE
PLAN IN LIGHT OF THE PURPOSE FOR WHICH IT WAS PREPARED. THE PLAN
SHALL NOT BE CONSTRUED TO BE ADVICE ON THE TAX, SECURITIES, OR
OTHER LEGAL EFFECTS OF THE PLAN AS TO HOLDERS OF CLAIMS AGAINST
OR INTERESTS IN ONE OR MORE OF THE DEBTORS. YOU SHOULD CONSULT
YOUR PERSONAL COUNSEL OR TAX ADVISOR ON ANY QUESTIONS OR
CONCERNS REGARDING TAX, SECURITIES, OR OTHER LEGAL CONSEQUENCES
OF THE PLAN.

     THE PLAN CONTAINS SUMMARIES OF CERTAIN STATUTORY
PROVISIONS, DOCUMENTS RELATED TO THE PLAN, DOCUMENTS PREVIOUSLY
FILED ON THE DOCKET IN THE CHAPTER 11 CASES, ANTICIPATED EVENTS IN
THE CHAPTER 11 CASES, AND FINANCIAL INFORMATION. ALTHOUGH THE
PLAN PROPONENT BELIEVES THAT THE STATEMENTS AND DESCRIPTIONS
CONTAINED IN THE PLAN ARE TRUE AND ACCURATE, THE PLAN PROPONENT
IS NOT THE DEBTOR AND, IN PREPARING THE PLAN, THE COMMITTEE, AS THE
PLAN PROPONENT, HAS RELIED UPON INFORMATION RECEIVED FROM THE
DEBTOR AS WELL AS PLEADINGS FILED IN THE BANKRUPTCY CASES AND
OTHER PUBLICLY AVAILABLE INFORMATION. FURTHER, STATEMENTS SET
FORTH IN THE PLAN, MAY BE QUALIFIED TO THE EXTENT THAT THEY DO NOT
SET FORTH THE ENTIRE TEXT OF THE DESCRIBED DOCUMENTS AND
APPLICABLE STATUTORY PROVISIONS. THE TERMS OF THE DESCRIBED
DOCUMENTS AND APPLICABLE STATUTES GOVERN IN THE EVENT OF ANY
DISCREPANCY WITH THE PLAN. CREDITORS AND OTHER INTERESTED
PARTIES SHOULD READ THE PLAN, THE DESCRIBED DOCUMENTS, AND THE
APPLICABLE STATUTES THEMSELVES FOR THE FULL AND COMPLETE
STATEMENTS OF SUCH TERMS AND PROVISIONS.



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     THE FACTUAL STATEMENTS AND REPRESENTATIONS CONTAINED IN
THE PLAN ARE MADE BY THE PLAN PROPONENT, WHICH IS NOT THE DEBTORS,
AND ARE TO THE BEST OF THE PLAN PROPONENT’S KNOWLEDGE, ACCURATE
AS OF THE DATE HEREOF, UNLESS OTHERWISE SPECIFIED, AND THE PLAN
PROPONENT DISCLAIMS ANY OBLIGATION TO UPDATE ANY SUCH
STATEMENTS AFTER THE SOLICITATION OF VOTES TO ACCEPT OR REJECT
THE PLAN AND SHALL NOT BE DEEMED OR CONSTRUED TO CREATE ANY
IMPLICATION THAT THE INFORMATION CONTAINED HEREIN IS CORRECT AT
ANY TIME AFTER THE DATE HEREOF.

     THE FINANCIAL INFORMATION CONTAINED HEREIN HAS NOT BEEN
AUDITED BY A CERTIFIED PUBLIC ACCOUNTANT AND HAS NOT NECESSARILY
BEEN PREPARED IN ACCORDANCE WITH GENERALLY ACCEPTED
ACCOUNTING PRINCIPLES.

     ALL FORWARD-LOOKING STATEMENTS CONTAINED HEREIN OR
OTHERWISE MADE BY THE PLAN PROPONENT INVOLVES MATERIAL RISKS
AND UNCERTAINTIES AND ARE SUBJECT TO CHANGE BASED ON NUMEROUS
FACTORS, INCLUDING FACTORS THAT ARE BEYOND THE PLAN PROPONENT’S
CONTROL. ACCORDINGLY, THE DEBTORS’ FUTURE PERFORMANCE AND
FINANCIAL RESULTS MAY DIFFER MATERIALLY FROM THOSE EXPRESSED OR
IMPLIED IN ANY SUCH FORWARD-LOOKING STATEMENTS. SUCH FACTORS
INCLUDE, BUT ARE NOT LIMITED TO, THOSE DESCRIBED IN THE PLAN. THE
PLAN PROPONENT DOES NOT INTEND TO UPDATE OR REVISE THE FORWARD-
LOOKING STATEMENTS EVEN IF EXPERIENCE OR FUTURE CHANGES MAKE IT
CLEAR THAT ANY PROJECTED RESULTS EXPRESSED OR IMPLIED HEREIN
WILL NOT BE REALIZED.

     ANY PROJECTED RECOVERIES TO CREDITORS SET FORTH IN THIS PLAN
ARE BASED UPON THE ANALYSES PERFORMED BY THE PLAN PROPONENT AND
ITS ADVISORS. ALTHOUGH THE PLAN PROPONENT AND ITS ADVISORS HAVE
MADE EVERY EFFORT TO VERIFY THE ACCURACY OF THE INFORMATION
PRESENTED HEREIN, THE PLAN PROPONENT AND ITS ADVISORS CANNOT
MAKE ANY REPRESENTATIONS OR WARRANTIES REGARDING THE ACCURACY
OF THIS INFORMATION.

     IN CONNECTION WITH THE PLAN PROPONENT’S SOLICITATION OF
ACCEPTANCES OF THE PLAN PURSUANT TO SECTION 1126(b) OF THE
BANKRUPTCY CODE, THE PLAN PROPONENT IS FURNISHING A SOLICITATION
PACKAGE, CONSISTING OF THE PLAN, THE EXHIBITS HERETO,
CONFIRMATION NOTICE, AND A BALLOT TO EACH RECORD HOLDER OF
CLAIMS ELIGIBLE TO VOTE OR ITS COUNSEL. THE PLAN IS TO BE USED BY
EACH SUCH ELIGIBLE HOLDER SOLELY IN CONNECTION WITH ITS
EVALUATION OF THE PLAN; USE OF THE PLAN FOR ANY OTHER PURPOSE IS
NOT AUTHORIZED. UNLESS EXPRESSLY PROVIDED, NOTHING STATED IN THE



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PLAN SHALL BE DEEMED OR CONSTRUED AS AN ADMISSION OF ANY FACT OR
LIABILITY BY ANY PARTY, OR BE ADMISSIBLE IN ANY PROCEEDING
INVOLVING THE DEBTORS OR ANY OTHER PARTY. THE PLAN MAY NOT BE
REPRODUCED OR PROVIDED TO ANYONE OTHER THAN ADVISORS TO THE
RECIPIENT WITHOUT THE PRIOR WRITTEN CONSENT OF THE PLAN
PROPONENT.

                                         INTRODUCTION

       The official committee of unsecured creditors (the “Committee,” or the “Plan Proponent”),
hereby proposes this Plan pursuant to sections 1125 and 1129 of the Bankruptcy Code.
        This Plan contemplates the establishment of a trust by and through which a Liquidating
Trustee will liquidate the Debtors’ remaining assets, either through collection, or litigation and
collection, for Distribution to holders of Allowed Claims. This Plan contains, among other things,
a discussion of (i) the Debtors’ history and businesses, (ii) the events leading to these Chapter 11
Cases, (iii) the Chapter 11 Cases, (iv) risk factors, (v) a summary and analysis of this Plan, and
(vi) certain other related matters.
     ALL HOLDERS OF CLAIMS AGAINST AND INTERESTS IN THE DEBTORS ARE
ENCOURAGED TO READ THE PLAN IN ITS ENTIRETY, AND TO CONSULT WITH AN
ATTORNEY, BEFORE VOTING TO ACCEPT OR REJECT THE PLAN SUBJECT TO
CERTAIN RESTRICTIONS AND REQUIREMENTS SET FORTH IN SECTION 1127 OF THE
BANKRUPTCY CODE, BANKRUPTCY RULE 3019, AND THE PLAN, THE PLAN
PROPONENT RESERVES THE RIGHT TO ALTER, AMEND, MODIFY, REVOKE OR
WITHDRAW THE PLAN, OR ANY PART THEREOF, PRIOR TO ITS SUBSTANTIAL
CONSUMMATION.

                                         ARTICLE I.

                       DEFINITION AND CONSTRUCTION OF TERMS

        For purposes of the Plan, except as expressly provided or unless the context otherwise
requires, (i) any capitalized term used in this Plan that is not defined herein, but is defined in the
Bankruptcy Code or the Bankruptcy Rules, shall have the meaning ascribed to that term in the
Bankruptcy Code or the Bankruptcy Rules, as applicable, (ii) whenever the context requires, each
term stated in either the singular or the plural shall include the singular and the plural, and pronouns
stated in the masculine, feminine or neuter gender shall include the masculine, feminine and the
neutral, (iii) any reference in the Plan to a contract, instrument, release, indenture, or other
agreement or document being in a particular form or on particular terms and conditions means that
such document shall be substantially in such form or substantially on such terms and conditions,
(iv) any reference in the Plan to an existing document or exhibit means such document or exhibit
as it may be amended, modified, or supplemented from time to time, (v) unless otherwise specified,
all references in the Plan to sections, articles, schedules, and exhibits are references to sections,
articles, schedules, and exhibits of or to the Plan, (vi) the words “herein,” “hereof,” “hereto,”
“hereunder,” and other words of similar import refer to the Plan in its entirety rather than to any
particular paragraph, subparagraph, or clause contained in the Plan, (vii) captions and headings to


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 articles and sections are inserted for convenience of reference only and shall not limit or otherwise
 affect the provisions hereof or the interpretation of the Plan, and (viii) the rules of construction set
 forth in section 102 of the Bankruptcy Code and in the Bankruptcy Rules shall apply.

 As used in the Plan, the following terms have the following meanings:

        1.1.    “503(b)(9) Claims” means Claims arising under section 503(b)(9) of the
Bankruptcy Code against one or more of the Debtors that were to be Filed against the Debtor(s) on
or before the General Bar Date.

         1.2.    “Administrative Expense” means any right to payment constituting a cost or
expense of administration of the Chapter 11 Cases against one or more of the Debtors under section
503(b) and 507(a)(2) of the Bankruptcy Code, including any actual and necessary costs and
expenses of preserving the Debtors’ Estates, any actual and necessary costs and expenses of
operating the Debtors’ businesses, any indebtedness or obligations incurred by the Debtors after the
Petition Date in connection with the conduct of its business, all compensation and reimbursement
of expenses awarded or otherwise approved for payment by Final Order of the Bankruptcy Court
under section 330, 503(b) or 1129(a)(4) of the Bankruptcy Code, any fees or charges assessed
against the Debtors’ Estates under section 1930 of chapter 123 of title 28 of the United States Code,
all wages, salaries and health and other benefits on account of services rendered after the Petition
Date, all post-Petition Date taxes, and all other claims entitled to administrative expense status
pursuant to a Final Order of the Bankruptcy Court, in each case relating to the period from the
Petition Date to the Effective Date but not beyond.

         1.3.    “Allowed” means all or a portion of a Claim against one or more of the Debtors (a)
that has been listed by the Debtors in the Schedules as liquidated in an amount other than zero and
not “disputed” or “contingent,” and with respect to which no contrary Claim has been Filed, (b) as
to which no Objection or request for estimation has been Filed on or before the Claims Objection
Deadline or the expiration of such other applicable period fixed by the Bankruptcy Court, (c) as to
which any Objection has been settled, waived, withdrawn or denied by a Final Order, or (d) that is
allowed (i) by a Final Order, (ii) by an agreement between the Holder of such Claim of one or more
of the Debtors prior to the Effective Date, or the Liquidating Trustee on behalf of the Debtors’
Estates after the Effective Date or (iii) pursuant to the terms of this Plan. For purposes of computing
Distributions under this Plan, a Claim that has been deemed “Allowed” shall not include interest,
costs, fees or charges on such Claim from and after the Petition Date, except as provided in section
506(b) of the Bankruptcy Code or as otherwise expressly set forth in this Plan.

        1.4.   “Asset Purchase Agreement” means that certain Asset Purchase Agreement, dated
as of May 8, 2023, by and among S-PPT Acquisition Company LLC, now known as Stanadyne
Operating Company LLC, as Purchaser, and Stanadyne PPT Holdings, Inc. and the other “Sellers”
named therein, as sellers, in the form attached as Exhibit A to the Sale Order and as amended,
supplemented, amended and restated, or otherwise modified from time to time.

        1.5.     “Assets” means all tangible and intangible assets of every kind and nature of the
Debtors and their Estates within the meaning of section 541 of the Bankruptcy Code, Cash, Causes
of Action (including potential claims against the Debtors’ current and former officers, managers,
and directors), rights, interests and property, real and personal, tangible and intangible including all


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remaining files, books, and records of either of the Estates. For the avoidance of doubt, Assets shall
not include the Purchased Assets.

         1.6.    “Avoidance Actions” means any and all avoidance, recovery, subordination, or
other Claims and Causes of Actions that may be brought by or on behalf of the Debtors or their
Estates or other authorized parties in interest under the Bankruptcy Code or applicable non-
bankruptcy law, including actions or remedies under Chapter 5 of the Bankruptcy Code or under
similar or related state or federal statutes and common law. Without limiting the foregoing and for
the avoidance of doubt, Avoidance Actions shall include all “Avoidance Actions,” as that term is
defined in the Asset Purchase Agreement

         1.7.   “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101 et
seq., and as such title has been, or may be, amended from time to time, to the extent that any such
amendment is applicable to the Chapter 11 Cases.

       1.8.     “Bankruptcy Court” means the United States Bankruptcy Court for the District of
Delaware.

         1.9.    “Bankruptcy Rules” means, when referenced generally, (i) the Federal Rules of
Bankruptcy Procedure and the Official Bankruptcy Forms, as amended and promulgated under
section 2075 of title 28 of the United States Code, (ii) the applicable Federal Rules of Civil
Procedure, as amended and promulgated under section 2072 of title 28 of the United States Code,
(iii) the applicable Local Rules of Bankruptcy Practice and Procedures for the United States
Bankruptcy Court for the District of Delaware, and (iv) any standing orders governing practice and
procedure issues by the Bankruptcy Court, each as in effect on the Petition Date, together with all
amendments and modifications thereto that were subsequently made applicable to the Chapter 11
Cases or proceedings therein, as the case may be; provided, however, when a specific Bankruptcy
Rule is referenced (e.g., Bankruptcy Rule 9019), such reference shall be to such Rule under the
Federal Rules of Bankruptcy Procedure.

        1.10. “Bar Date” means, with respect to any particular Claim, the specific date set by the
Bankruptcy Court as the last day for Filing proofs of Claim against one or more of the Debtors in
the Chapter 11 Cases for that specific Claim as set forth in the Bar Date Order.

       1.11. “Bar Date Order” means the Order (i) Establishing Deadlines for Filing Proofs of
Claim and (ii) Approving the Form, Timing, and Manner of Notice Thereof entered by the
Bankruptcy Court on April 14, 2023 [Docket No. 191].

          1.12. “Business Day” means any day, other than a Saturday, Sunday or a legal holiday
(as that term is defined in Bankruptcy Rule 9006(a)).

         1.13. “Cash” or “$” means legal tender of the United States of America or the equivalent
thereof, including bank deposits, checks and cash equivalents.

        1.14. “Causes of Action” means all claims, counterclaims, crossclaims, actions,
controversies, obligations, suits, judgments, damages, demands, debts, rights, preference actions,
fraudulent conveyance actions and other claims or causes of action under Chapter 5 of the
Bankruptcy Code and other similar state law claims and causes of action, liens, indemnities,


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guaranties, suits, liabilities, judgments, accounts, defenses, offsets, powers, or privileges, licenses
and franchises of any kind or character whatsoever, whether liquidated or unliquidated, fixed or
contingent, matured or unmatured, known or unknown, foreseen or unforeseen, suspected or
unsuspected, disputed or undisputed, secured or unsecured, assertable directly or derivatively,
whether arising before, on, or after the Petition Date, in contract or in tort, arising in law, equity or
pursuant to any other theory of law. For the avoidance of doubt, Causes of Action also includes: (a)
any right of setoff, counterclaim or recoupment and any claim on contracts or for breaches of duties
imposed by law or in equity; (b) the right to object to Claims or Interests; (c) any claim pursuant to
section 362 or Chapter 5 of the Bankruptcy Code; (d) any claim or defense including fraud, mistake,
duress and usury, and any other defenses set forth in section 558 of the Bankruptcy Code; and (e)
any state law fraudulent transfer claim.

         1.15. “Cerberus” means Cerberus Business Finance, LLC, as administrative agent and
collateral agent for the Prepetition Secured Lenders.

         1.16. “Cerberus Deficiency Claim” means the Claim of the Prepetition Secured Lenders
in the amount of $87,252,851.11, which claim shall be an Allowed General Unsecured Claim except
to the extent provided in Section 4.03(c) herein.

       1.17. “Chapter 11 Cases” means the Debtors’ Chapter 11 cases, jointly administered
under Case No. 23-10207 (TMH) in the Bankruptcy Court.

         1.18. “Claim” or “Claims” means a claim or claims against one or more of the Debtors,
as such term is defined in section 101(5) of the Bankruptcy Code.

         1.19. “Claims Objection Deadline” means one hundred eighty (180) days after the
Effective Date, or such later date as may be ordered by the Bankruptcy Court, provided however,
that the Liquidating Trustee may file one or more motions with the Bankruptcy Court on notice and
an opportunity for a hearing to extend such deadline from time to time.

        1.20. “Class” means each category or group of Holders of Claims or Interests that has
been designated as a class in Article IV of this Plan.

         1.21.   “Closing Date” means July 31, 2023.

         1.22. “Committee” means the official committee of unsecured creditors as appointed by
the U.S. Trustee pursuant to section 1102(a)(1) of the Bankruptcy Code and set forth in Notice of
Appointment of Committee of Unsecured Creditors [Docket No. 78], as may be amended from time
to time.

        1.23. “Confirmation” means entry of the Confirmation Order on the docket of the
Chapter 11 Cases, subject to the conditions set forth in this Plan and the Term Sheet.

       1.24. “Confirmation Date” means the date upon which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules
5003 and 9021.




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        1.25. “Confirmation Hearing” means the hearing held by the Bankruptcy Court to
consider Confirmation of the Plan pursuant to section 1128(a) of the Bankruptcy Code, as such
hearing may be adjourned or continued from time to time.

        1.26. “Confirmation Order” means the order of the Bankruptcy Court confirming this
Plan pursuant to, among others, sections 1125 and 1129 of the Bankruptcy Code.

        1.27.   “Consummation” means the occurrence of the Effective Date.

        1.28. “Contingent” means, with reference to a Claim, a Claim that has not accrued or is
not otherwise payable and the accrual of which, or the obligation to make payment on which, is
dependent upon a future event that may or may not occur.

        1.29. “Convenience Class Claim” means any General Unsecured Claim in the amount
of $20,000 or less, including Holders of General Unsecured Claims who opt into the Class 5 of the
Plan prior to the Voting Deadline.

        1.30.   “Core Liabilities” shall have the meaning ascribed in the Term Sheet.

       1.31. “Creditor” shall have the meaning ascribed to such term in section 101(10) of the
Bankruptcy Code.

       1.32. “Debtors” means Stanadyne LLC, Pure Power Technologies, Inc., Stanadyne PPT
Holdings, Inc., and Stanadyne PPT Group Holdings, Inc.

        1.33. “Debtor Professional Escrow and Professional Fee Reserve” means the “Debtor
Professional Escrow” or “Professional Fee Reserve,” as applicable, each as defined in the Cash
Collateral Order [Docket No. 218].

       1.34. “Designation Rights Assets” has the meaning assigned to that term in the Asset
Purchase Agreement.

         1.35. “Disallowed” means with respect to any Claim or portion thereof, any Claim
against any of the Debtors which: (i) has been disallowed, in whole or part, by a Final Order; (ii)
has been withdrawn by the Holder thereof in, whole or in part; (iii) is listed in the Schedules as zero
or as Disputed, Contingent or Unliquidated and for which a proof of Claim has not been timely
Filed or deemed timely Filed pursuant to the Bar Date Order, the Plan, the Bankruptcy Code or any
Final Order or other applicable law; (iv) has been reclassified, expunged, subordinated or estimated
to the extent that such reclassification, expungement, subordination or estimation results in a
reduction in the Filed amount of any proof of Claim; (v) is a proof of Claim which was not Filed
timely and which is not subject to a Final Order which deems the proof of Claim timely; (vi) is
unenforceable to the extent provided for in the Bankruptcy Code, including, for the avoidance of
doubt, in section 502(b) of the Bankruptcy Code; and (vii) where the Holder of a Claim is a Person
or Entity from which property is recoverable under sections 542, 543, 550, or 553 of the Bankruptcy
Code or that is a transferee of a transfer avoidable under sections 544, 545, 547, 548, 549, or 724(a)
of the Bankruptcy Code, where a complaint for avoidance or an objection to such Claim has been
Filed, unless such Person, Entity or transferee has paid the amount, or turned over any such
property, for which such Person, Entity or transferee is liable under section 542, 543, 550, or 553


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of the Bankruptcy Code. In each case a Disallowed Claim is Disallowed only to the extent of
disallowance, withdrawal, reclassification, expungement, subordination or estimation.

        1.36.   “Disallowed Claim” means a Claim, or any portion thereof, that is Disallowed.

        1.37. “Disbursing Agent” means the Liquidating Trustee or any third party designated
by the Liquidating Trustee to act as disbursing agent.

        1.38. “Disputed” means any Claim which has not yet been Allowed or Disallowed in
accordance with the terms of this Plan.

         1.39. “Disputed Administrative Expense, Priority Tax Claim, Priority Non-Tax
Claims and Secured Claims Reserves” means the reserves established pursuant to Section 8.02
of this Plan, which reserve shall contain amounts relating to Disputed Administrative Expenses,
Disputed Priority Tax Claims, Disputed Priority Non-Tax Claims, and Disputed Secured Claims.

        1.40. “Distribution” means any Distribution made pursuant to the Plan by the
Liquidating Trustee or another Entity acting as the Disbursing Agent, to the Holders of Allowed
Claims.

       1.41. “Distribution Record Date” means the date established for determining the
Holders of Allowed Claims entitled to Distributions pursuant to the Plan, which shall be the
Confirmation Date, including, for the avoidance of doubt, for Holders of Disputed Claims that are
Allowed after the Confirmation Date or the date of the Rejection Bar Date (as defined in the Bar
Date Order).

         1.42. “Effective Date” means the first Business Day after the date on which both (a) all
conditions in Article X of this Plan have been satisfied or waived in accordance with that Article
and (b) no stay of the Confirmation Order is in effect.

       1.43. “Entity” shall have the meaning ascribed to such term in section 101(15) of the
Bankruptcy Code.

       1.44. “Estates” means the estates of the Debtors created pursuant to section 541 of the
Bankruptcy Code.

          1.45. “Exculpated Parties” means in each case in its capacity as such: (i) the Debtors,
(ii) the Committee, (iii) the Prepetition Secured Parties, (iv) members of the Committee, solely in
their capacity as such, (v) the Debtors’ officers and managers who served or were employed by the
Debtors during the Chapter 11 Cases, (vi) the Wind-Down Manager, (vii) any professional retained
by the foregoing entities, and (viii) with respect to each of the foregoing, such Entities’ successors
and assigns provided, however, that with respect to any Person identified herein, such Person shall
be considered an Exculpated Party solely to the extent that such Person participated in actions to
which section 1125(e) of the Bankruptcy Code applies, and such Person shall be exculpated solely
for actions taken during the Exculpation Period. Further, and as set forth in Section 9.03 herein,
other than with respect to the Wind-Down Manager, the Exculpated Parties shall not be exculpated
for any action or inaction related to the commencement of the Chapter 11 Cases, including the filing
of the bankruptcy petitions or any decision not to dismiss the Chapter 11 Cases.


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        1.46. “Exculpation Period” means the period between February 17, 2023, and the
Effective Date.

        1.47. “Executory Contract” means a prepetition contract or unexpired lease to which
one or more of the Debtors is a party that is subject to assumption or rejection under section 365 of
the Bankruptcy Code.

        1.48. “File,” “Filed,” or “Filing” means, respectively, file, filed, or filing with the
Bankruptcy Court or its authorized designee in these Chapter 11 Cases; provided, however, that
with respect to proofs of Claim only, “Filed” means delivered and received in the manner provided
by the Bar Date Order or as otherwise established by a Final Order of the Bankruptcy Court.

        1.49. “Final Administrative Expense Bar Date” means the date that is 30 days after the
Effective Date, which shall be the deadline for Filing requests for payment of Administrative
Expenses that arose from the Petition Date and before the Effective Date.

         1.50. “Final Order” means an unstayed order, ruling or judgment of the Bankruptcy
Court or any other court of competent jurisdiction as to which the time to appeal, petition for
certiorari, or request for reargument or rehearing has expired and as to which no appeal, petition
for certiorari, or other proceedings for reargument or rehearing shall then be pending, or as to which
any right to appeal, petition for certiorari, reargument, or rehearing shall have been waived in
writing in form and substance satisfactory to the Debtors or the Liquidating Trustee on behalf of
the Estates (on or after the Effective Date), or, in the event that an appeal, writ of certiorari, or
reargument or rehearing thereof has been sought, such order of the Bankruptcy Court or other court
of competent jurisdiction shall have been determined by the highest court to which such order was
appealed, or certiorari, reargument or rehearing shall have been denied and the time to take any
further appeal, petition for certiorari or move for reargument or rehearing shall have expired;
provided, however, that the possibility that a motion under rule 59 or rule 60 of the Federal Rules
of Civil Procedure, or any analogous rule under the Bankruptcy Rules or applicable state court rules
of civil procedure, may be Filed with respect to such order, shall not cause such order not to be a
Final Order.

         1.51. “Financing Agreement” means that certain financing agreement, dated as of May
2, 2017, by and among Stanadyne PPT Holdings, Inc., the “Borrowers” and other “Guarantors”
party thereto, the Prepetition Secured Lenders, and Cerberus as collateral agent and administrative
agent for the Prepetition Secured Lenders, as amended, amended and restated, supplemented, or
otherwise modified from time to time.

         1.52. “Foreign Non-Debtor Affiliates” means the following direct and indirect
subsidiaries of Stanadyne LLC: Stanadyne, S.p.A., Stanadyne Changshu Corporation, Stanadyne
India Private Ltd., and Stanadyne Mideast FZE.

         1.53. “General Bar Date” means May 14, 2023 at 5:00 p.m. (Prevailing Eastern Time)
for certain Claims arising before the Petition Date, including 503(b)(9) Claims, Secured Claims,
General Unsecured Claims, or Priority Non-Tax Claims as established by the Bar Date Order.

         1.54. “General Unsecured Claim” means any unsecured Claim against a Debtor that
arose or is deemed by the Bankruptcy Code or Bankruptcy Court to have arisen before the Petition


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Date and that is not: (i) an Administrative Expense Claim, including a Professional Fee Claim, (ii)
a Priority Tax Claim, (iii) a Secured Claim, (iv) a Priority Non-Tax Claim, or (v) a Convenience
Class Claim that has not opted to be treated as a Class 4 General Unsecured Claim.

        1.55.   “Go-Forward Creditors” has the meaning ascribed to it in the Term Sheet.

        1.56. “Governmental Unit” shall have the meaning ascribed to such term in section
101(27) of the Bankruptcy Code.

        1.57. “Governmental Unit Bar Date” means August 15, 2023, at 5:00 p.m. (Prevailing
Eastern Time) as established by the Bar Date Order.

         1.58. “Holder” or “Holders” means the legal or beneficial holder of a Claim or Interest
(and, when used in conjunction with a Class or type of Claim or Interest, means a Holder of a Claim
or Interest in such Class or of such type).

          1.59. “Impaired” means, when used in reference to a Claim or Interest, a Claim or
Interest that is impaired within the meaning of Bankruptcy Code sections 1123(a)(4) and 1124.

        1.60.   “Impaired Class” means a Class of Claims or Interests that is Impaired.

         1.61. “Initial Distribution Fund” means $2,625,000 available for payment on account
of all Allowed Claims other than the Cerberus Deficiency Claim.

       1.62. “Insider” shall have the meaning ascribed to such term in section 101(31) of the
Bankruptcy Code.

         1.63. “Interests” means the legal interests, equitable interests, contractual interests,
equity interests or ownership interests, or other rights of any Person in one or more of the Debtors
including all capital stock, stock certificates, common stock, preferred stock, partnership interests,
limited liability company or membership interests, rights, treasury stock, options, warrants,
contingent warrants, convertible or exchangeable securities, investment securities, subscriptions or
other agreements and contractual rights to acquire or obtain such an interest or share in one or more
of the Debtors, partnership interests in the Debtors’ stock appreciation rights, conversion rights,
repurchase rights, redemption rights, dividend rights, preemptive rights, subscription rights and
liquidation preferences, puts, calls, awards or commitments of any character whatsoever relating to
any such equity, common stock, preferred stock, ownership interests or other shares of capital stock
of one or more of the Debtors or obligating one or more of the Debtors to issue, transfer or sell any
shares of capital stock whether or not certificated, transferable, voting or denominated “stock” or a
similar security.

        1.64. “Liquidating Trust” means the trust established under the Plan, the Confirmation
Order, and the Liquidating Trust Agreement.

        1.65. “Liquidating Trustee” means Bradley Dietz, who was jointly selected by the
Committee and the Prepetition Secured Parties, or, if Mr. Dietz is unable or unwilling to serve in
such capacity, the individual selected in accordance with footnote 3 of the Term Sheet.



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         1.66. “Liquidating Trust Agreement” means the trust agreement, in form and substance
acceptable to Cerberus and the Committee, that establishes the Liquidating Trust and governs the
powers, duties, and responsibilities of the Liquidating Trustee. The Liquidating Trust Agreement
shall be part of the Plan Supplement.

        1.67. “Liquidating Trust Assets” means all of the Estates’ Assets transferred to the
Liquidating Trust pursuant to section 6.01 hereof, including (i) the $375,000 constituting the “Trust
Funding Amount” under the Term Sheet to fund the operation of the Liquidating Trust, (ii) any
remaining funds from the Wind-Down Budget, (iii) the Initial Distribution Fund, (iv) the Unsecured
Claim Distribution Fund, and (v) all of the Estates’ Causes of Action (other than Waived Claims)
and any proceeds thereof. For the avoidance of doubt, the Liquidating Trust Assets shall not include
any Purchased Assets or Waived Claims but the Liquidating Trust Assets shall include Insider
Avoidance Actions and Non-Go-Forward Commercial Tort Claims (each as defined in the Term
Sheet). For the further avoidance of doubt, the Debtor Professional Escrow and Professional Fee
Reserve will not be transferred to the Liquidating Trust and do not constitute Liquidating Trust
Assets.

         1.68. “Liquidating Trust Expenses” means the costs and expenses of administering the
Liquidating Trust in accordance with the Plan and the Liquidating Trust Agreement, including (i)
the actual and reasonable fees, costs and expenses of the Liquidating Trust’s retained professionals,
as determined in the reasonable discretion of the Liquidating Trustee, (ii) the Liquidating Trustee’s
compensation, and (iii) U.S. Trustee Fees.

        1.69. “Local Rules” means the Local Rules of Bankruptcy Practice and Procedure of the
United States Bankruptcy Court for the District of Delaware.

        1.70. “Oversight Committee” means the oversight committee consisting of the
following (i) a member designated by Cerberus, who shall initially be Joseph Naccarato and (ii) the
PBGC.

        1.71.   “PBGC” means the Pension Benefit Guaranty Corporation.

        1.72. “PBGC Claim” means the Claim of the PBGC in the amount of $15,538,178.33,
which shall be deemed an Allowed General Unsecured Claim.

       1.73. “Person” shall have the meaning ascribed to such term in section 101(41) of the
Bankruptcy Code.

      1.74. “Petition Date” means February 16, 2023, the date on which each of the Debtors
commenced the Chapter 11 Cases in the Bankruptcy Court.

        1.75. “Pinson Declaration” means the Declaration of John Pinson, Chief Executive
Officer of Stanadyne LLC, in Support of First Day Relief [Docket No. 12].

         1.76. “Plan” means this entire Combined Disclosure Statement and Plan of Liquidation,
and all exhibits, schedules and related documents, whether annexed hereto or Filed in connection
herewith (including, for the avoidance of doubt, the Plan Supplement), as it may be altered,



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amended, modified or supplemented from time to time including in accordance with any documents
submitted in support hereof and the Bankruptcy Code or the Bankruptcy Rules.

         1.77. “Plan Supplement” means the compilation of documents and forms of documents,
agreements, schedules, and exhibits to this Plan, and which shall be Filed in the Chapter 11 Cases
no later than _______, 2023. For the avoidance of doubt, the Plan Supplement may be filed in one
or more filings on a single date or on multiple dates.

        1.78.   “PPT” means Debtor Pure Power Technologies, Inc.

      1.79.     “Prepetition Secured Lenders” means the lenders party to the Financing
Agreement

        1.80. “Prepetition Secured Parties” means, collectively, Cerberus and the Prepetition
Secured Lenders.

       1.81. “Priority Non-Tax Claim” means any and all Claims accorded priority in right of
payment under section 507(a) of the Bankruptcy Code, other than a Priority Tax Claim or an
Administrative Expense.

        1.82. “Priority Tax Claim” means a Claim or a portion of a Claim for which priority is
accorded under section 507(a)(8) of the Bankruptcy Code.

         1.83. “Pro Rata” means the proportion that an Allowed Claim in a particular Class bears
to the aggregate amount of Allowed Claims in that respective Class, or the proportion that Allowed
Claims in a particular Class bear to the aggregate amount of Allowed Claims in a particular Class
and other Classes entitled to share in the same recovery as such Allowed Claim under the Plan, as
applicable.

        1.84. “Professional” means any professional employed in the Chapter 11 Cases pursuant
to Bankruptcy Code sections 327, 328, 363 or 1103 pursuant to a Final Order of the Bankruptcy
Court.

        1.85. “Professional Fee Bar Date” means the deadline for Filing all applications for
Professional Fee Claims, which shall be thirty (30) days after the Effective Date.

         1.86. “Professional Fee Claims” means an Administrative Expense of a Professional for
compensation for services rendered or reimbursement of costs, expenses, or other charges incurred
after the Petition Date and on or before the Effective Date.

      1.87. “Purchased Assets” has the meaning assigned to that term in the Asset Purchase
Agreement as modified by the terms of the Sale Order and the Term Sheet.

        1.88. “Purchaser” means Stanadyne Operating Company LLC (formerly known as S-
PPT Acquisition Company LLC) as purchaser of substantially all of the Debtors’ assets pursuant to
the Asset Purchase Agreement.




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        1.89. “Representative(s)” means with respect to an Entity, all of that Entity’s current
and former affiliates, subsidiaries, officers, directors, managers, managing members, principals,
members, partners, employees, agents, advisors, attorneys, professionals, accountants, investment
bankers, consultants, other representatives and such Entity’s respective heirs, executors, estate,
servants and nominees, in each case in their capacity as such.

         1.90. “Reserves” means, the reserves established pursuant to Section 8.02 of this Plan,
which reserves shall contain amounts relating to Disputed Administrative Expenses, Disputed
Priority Tax Claims, Disputed Priority Non-Tax Claims, Disputed Secured Claims, Disputed
General Unsecured Claims, the Liquidating Trust Expenses, and any other reserves established by
the Liquidating Trustee.

        1.91. “Sale Order” means the Order of the Bankruptcy Court dated July 11, 2023
approving the sale of substantially all of the Debtors’ assets, and approving the Term Sheet [Docket
No. 443].2

         1.92. “Schedules” means the schedules of Assets and Liabilities and Statements of
Financial Affairs Filed by the Debtors pursuant to section 521 of the Bankruptcy Code and in
substantial accordance with the Official Bankruptcy Forms, which were filed on April 17, 2023
[Docket Nos. 200 - 207], as the same may have been amended, modified or supplemented from
time to time and which were amended on May 26, 2023 [Docket Nos. 312 and 313].

          1.93. “Secured Claim” means, pursuant to Bankruptcy Code section 506, that portion of
a Claim that is (a) secured by a valid, perfected and enforceable security interest, lien, mortgage, or
other encumbrance, that is not subject to avoidance under applicable bankruptcy or non-bankruptcy
law, in or upon any right, title or interest of one or more of the Debtors in and to property of the
Estates, to the extent of the value of the Holder’s interest in such property as of the relevant
determination date, or (b) Allowed as such pursuant to the terms of this Plan (subject to the
Confirmation Order becoming a Final Order). The defined term Secured Claim includes any Claim
that is (i) subject to an offset right under applicable law as of the Petition Date, and (ii) a secured
claim against one or more of the Debtors pursuant to Bankruptcy Code sections 506(a) and 553.

         1.94. “Solicitation Procedures Order” means the Bankruptcy Court’s Order approving
the Plan Proponent’s Motion (i) Approving the Adequacy of Disclosures in the Plan of Liquidation,
(ii) Scheduling the Confirmation Hearing and Deadline for Filing Objections, (iii) Establishing
Procedures for Solicitation and Tabulation of Votes to Accept or Reject the Plan, and Approving
the Form of Ballot and Solicitation Package, and (iv) Approving the Notice Provisions entered on
_________________ , 2023 [Docket No. ___].

        1.95. Subordinated Claim” means any Claim that is subordinated to General Unsecured
Claims pursuant to section 510 of the Bankruptcy Code or Final Order of the Bankruptcy Court.

         1.96. “Tax” or “Taxes” means all income, gross receipts, sales, use, transfer, payroll,
employment, franchise, profits, property, excise, or other similar taxes, estimated import duties,
fees, stamp taxes, and duties, value added taxes, assessments, or charges of any kind whatsoever

2       In the event of any inconsistency between the Plan and the Sale Order, the Sale Order shall control.



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(whether payable directly or by withholding), together with any interest and any penalties, additions
to tax, or additional amounts imposed by any taxing authority of a Governmental Unit with respect
thereto.

        1.97. “Term Sheet” means the agreement between the Committee, Cerberus, and the
Purchaser approved by the Court as part of the Sale Order and attached to the Sale Order as Exhibit
D and attached here as Exhibit C.

        1.98.    “Unclaimed Distributions” means any undeliverable or unclaimed Distributions.

        1.99. “Unexpired Lease” means a lease of nonresidential real property to which one or
more of the Debtors is a party that is subject to assumption or rejection under section 365 of the
Bankruptcy Code.

         1.100. “Unimpaired” means, when used in reference to a Claim or Interest, any Claim or
Interest a Class of Claims or Interest that is not impaired within the meaning of section 1123(a) or
1124 of the Bankruptcy Code.

         1.101. “Unliquidated” means, with reference to a Claim, a Claim for which an amount
certain has not been fixed, either by agreement of the parties or an Order of a court.

         1.102. “Unsecured Claim Distribution Fund,” means Cash held by the Liquidating Trust
available for payment of all Allowed General Unsecured Claims (including the PBGC Claim) and
the Cerberus Deficiency Claim. The Unsecured Claim Distribution Fund shall not include the Initial
Distribution Fund but shall include all other Cash held by the Liquidating Trust not required for (i)
distribution to Allowed Administrative Expenses, Allowed Priority Tax Claims, Allowed Priority
Non-Tax Claims, and Allowed Secured Claims in accordance with the terms of the Plan or (ii)
Liquidating Trust Expenses.

       1.103. “U.S. Trustee” means the Office of the United States Trustee for the District of
Delaware.

        1.104. “U.S. Trustee Fees” means fees payable pursuant to 28 U.S.C. § 1930.

        1.105. “Voting Agent” means Kurtzman Carson Consultants LLC or any successor
appointed by the Bankruptcy Court.

         1.106. “Voting Deadline” means ________, 2023, at 4:00 p.m. (Prevailing Eastern Time),
the date and time by which ballots to accept or reject the Plan must be received by the Voting Agent
in order to be counted, as set forth by the Solicitation Procedures Order.

         1.107. “Waived Claims” means and all Causes of Action (including, for the avoidance of
doubt, all other Avoidance Actions and all commercial tort claims) against Go-Forward Creditors.

        1.1.   “Wind-Down Budget” means that certain budget attached as Exhibit 1 to the Term
Sheet and approved as part of the Sale Order.

        1.2.     “Wind-Down Manager” means Bradley Dietz.


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                                       ARTICLE II.
                                        BACKGROUND


       2.01    General Background

       A.      The Debtors’ Businesses

        The Debtors are four related entities, two of which (Stanadyne LLC and PPT) had
operations as of the Petition Date, and two (Stanadyne PPT Holdings, Inc. and Stanadyne PPT
Group Holdings, Inc.) were solely holding companies that did not have any operations. A copy of
the Debtors’ organizational chart (the “Organizational Chart”) showing the debtor and non-debtor
entities and their ownership structure is attached hereto as Exhibit A.

        For more than 140 years, Stanadyne (and its predecessor companies) designed and
manufactured products to address problems in diesel and gasoline fuel systems, including, at
various times, a diesel fuel injection pump, fuel filters and additives, electronic governing diesel
rotary pumps, diesel common rail pumps and direct injection fuel pumps for modern gasoline
engines, gasoline direct injection pumps. As more fully set forth in the Pinson Declaration, as of
the Petition Date, the Debtors designed, manufactured and supplied best-in-class powertrain
pumping, injection, air and fluid management products and control solutions, and their core
products included fuel injectors, pumps, and other components necessary for diesel and gasoline
internal combustion engines (ICEs), including gasoline direct injection pumps, diesel common rail
pumps, diesel rotary pumps (mechanical and electronic), diesel fuel injectors (new and
remanufactured), remanufactured diesel turbochargers and exhaust gas recycling systems, and
high-pressure diesel common rail connectors.

       In 2014, the company sold the fuel filters and additives business to focus solely on fuel
pumps and injectors. Since then, the company sold approximately 10 million gasoline pumps into
the U.S. market for popular original equipment manufacturer (“OEMs”) pickup and performance
passenger car applications, and as of the Petition Date, the Debtors continued to supply these
components at a rate of more than 800,000 units per year.

        In April 2019, Stanadyne LLC acquired PPT, a leader in the engineering, manufacturing,
and remanufacturing of diesel fuel injectors and turbochargers headquartered in Columbia, South
Carolina. The combined companies brought together highly complementary product lines that
formed a global company delivering broad fuel and air management systems directly to OEMs and
original equipment supplier/aftermarket channels.

       As further set forth in the Pinson Declaration, as of the Petition Date, the Debtors served
both the original equipment market and the aftermarket. Within these segments, the Debtors
served both the on-road and off-road markets. With respect to the on-road market, the Debtors
supplied parts for passenger vehicles, light duty vehicles (e.g., pickup trucks), medium duty
vehicles (e.g., delivery trucks), and performance aftermarket vehicles. With respect to the off-road
market, the Debtors supplied parts for agriculture (e.g., tractors), construction (e.g., bobcats), and
power generation and utility vehicles. Further, as of the Petition Date, the Debtors had a very




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stable revenue stream, with many longstanding customers. Stanadyne LLC’s customers include
Tier 1 original equipment manufacturers that are household names in the automotive industry.

        Both Stanadyne LLC and PPT perform similar functions, with Stanadyne LLC focusing
more on the original equipment market, and PPT focusing more on the aftermarket segment.
Specifically, PPT’s products service legacy engines that were manufactured in high volumes and
installed in a range of commercial vehicles, which have a working life that can equal 20 years or
longer.

       B.      The Debtors’ and the Non-debtors’ operations.

         The Debtors operated in several different locations throughout the United States, including
the Debtors’ headquarters as of the Petition Date located in Jacksonville, North Carolina, the
Debtors’ former headquarters located in Windsor, Connecticut, and former manufacturing
facilities located in Blythewood, South Carolina, Columbia, South Carolina, and Southfield,
Michigan. The Windsor, Connecticut and Jacksonville, North Carolina locations were owned by
the Debtors on the Petition Date; the rest of the locations were leased.

         In addition to serving as the Debtors’ corporate headquarters, the Jacksonville, North
Carolina facility was used to, among other things, perform gasoline assembly and testing, as well
as engineering development and validation. The Blythewood, South Carolina facility was the
Debtors’ largest manufacturing facility and was used to, among other things, perform
remanufacturing and testing of diesel fuel injectors. The Columbia, South Carolina facility was
used to, among other things, perform diesel common rail component engineering development and
validation. The Southfield, Michigan facility was used to, among other things, perform global
engineering, program management, and customer support. The lease for the Southfield, Michigan
facility expired by its terms in April 2023 and the Debtors have vacated that facility.

      As of the Petition Date, the Debtors’ collective workforce in the United States was
comprised of approximately 468 employees and approximately 120 temporary employees.

        In addition to the operations in the United States, and as more fully set forth in the
Organizational Chart, the Debtors had four direct or indirect subsidiaries outside the United States,
all of which engaged in intercompany transactions with the Debtors. These Foreign Non-Debtor
Affiliates, located in the United Arab Emirates (which is a subsidiary of the Indian subsidiary),
India, Italy, and China, were all key suppliers to the Debtors that produced highly customized
products for the Debtors that were integral to the Debtors’ operations.

        As of the Petition Date, the Sharjah, United Arab Emirates facility was used to, among
other things, perform diesel rotary pump assembly and testing. The Chennai, India facility was
used to, among other things, perform diesel rotary pump and injector assembly and testing,
component manufacturing for other plant sites, and engineering development and validation. The
Brescia, Italy facility was used to, among other things, perform sub-micron machining, diesel
injector assembly, diesel injector nozzle manufacturing, and testing. The Changshu and Suzhou,
China facilities were used to, among other things, perform diesel common rail pump assembly and
testing, and diesel common rail engineering development and validation, respectively. As of the
Petition Date, the Foreign Non-Debtor Affiliates employed a total of approximately 950 people.



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               C.       Prepetition Obligations

        On or about May 2, 2017, Stanadyne LLC and Stanadyne PPT Holdings, Inc.’s
predecessor, Stanadyne Intermediate Holdings LLC, entered into the Financing Agreement to
which Debtors PPT and Stanadyne PPT Holdings, Inc. are guarantors. Pursuant to the Financing
Agreement, the Prepetition Secured Lenders made term loans totaling $248,488,344.84 and
revolving loans totaling $25,000,000. As of the Petition Date, the Debtors were obligated to the
Prepetition Secured Lenders for a total of no less than $293,152,851.11, inclusive of principal,
interest, and certain fees, all of which was secured by first priority liens on substantially all assets
of the Debtors.

       In the months leading up to the Petition Date, the Debtors made all required interest
payments to the Prepetition Secured Lenders, through and including the interest payment due at
the beginning of November 2022. The dates on which interest and principal were due from
December 1, 2022 – February 1, 2023 were consensually extended.

        As of the Petition Date, the Debtors also had unsecured debt consisting primarily of trade
obligations of approximately $14,961,995.18, Core Liabilities of approximately $20,751,746.29,
plus pension and supplemental employee retirement plan obligations.3

       2.02    Events Leading to the Filing of the Chapter 11 Cases

         According to the Pinson Declaration, as with many companies, the COVID-19 pandemic
negatively impacted the Debtors’ operations. Supply chain issues and lockdowns led to an
approximately $37 million decrease in revenue for 2020. Subsequent supply chain interruptions
for the company and its customer base, including the global chip shortage, constrained the Debtors’
sales during the market recovery, which put additional stress on company cash in 2022 and resulted
in a loss in revenue of approximately $26 million.

        Coupled with the lost revenue attributable to the COVID-19 pandemic, the Debtors were
adversely affected by macroeconomic conditions, as the global rise in interest rates caused an
increase in interest expenses under the Financing Agreement. With these increases in the Debtors’
variable interest rate, the Debtors projected that they would be unable to meet their debt service
obligations beyond January 2023. As described more fully in the Pinson Declaration, the
Prepetition Secured Parties consensually extended the dates on which interest and principal were
due from December 1, 2022 through February 1, 2023.

        In November 2022, the Debtors and Cerberus engaged in negotiations, including a scenario
by and through which the Prepetition Secured Lenders would restructure their debt and receive a
significant majority of the Debtors’ equity, while still preserving a minority of equity to then-
existing equity.




3      These amounts are based upon the Debtors’ Schedules and are subject to reconciliation and adjustment.



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       2.03    The Chapter 11 Cases

       On February 16, 2023, each of the Debtors filed a voluntary bankruptcy petition in the
Bankruptcy Court. On March 6, 2023, the U.S. Trustee appointed four creditors of the Debtors to
serve on the Committee.

               A.      The Debtor’ First Day Pleadings
         On the Petition Date, the Debtors filed a number of motions and applications (collectively,
the “First Day Motions”). Among other things, the Debtors sought separate motions seeking the
following relief: (i) for joint administration [Docket 2]; (ii) for authority to pay sales and use taxes
[Docket No. 3], (iii) to prohibit utilities from discontinuing service [Docket No. 4], (iv) for
authority to (a) continue to maintain the existing cash management system, bank accounts, and
business forms, (b) honor certain prepetition obligations related thereto, and (c) continue to
perform ordinary course intercompany transactions; [Docket No. 5], (v) for authority to continue
their workers compensation programs and their liability, property and other insurance programs
and pay certain obligations in respect thereof, and authorizing the debtors financial institutions to
honor and process checks and transfers related to such obligations [Docket No. 6]; (vi) for authority
to pay prepetition employee obligations, prepetition withholding obligations, and postpetition
employee obligations in the ordinary course [Docket No. 8]; and (vii) for authority to (a) maintain
and administer prepetition customer programs, and (b) pay and honor related prepetition
obligations [Docket No. 9]. The Court subsequently entered interim and final orders granting the
relief sought by each of the First Day Motions.

        Additionally, on the Petition Date, the Debtors filed a motion for authority to pay the claims
of certain critical vendors [Docket No. 7] (the “Critical Vendor Motion”). By and through the
Critical Vendor Motion, the Debtors sought authority to pay a total of $6,800,000 of prepetition
vendor claims, including $3,400,000 on an interim basis. On February 22, 2023, the Court
approved the Critical Vendor Motion on an interim basis [Docket No. 50], and on April 14, 2023,
the Court approved the Critical Vendor Motion on a final basis [Docket No. 186], which increased
the authorized critical vendor payments to $8,400,000. As of July 2, 2023, the Debtors remitted
payments aggregating approximately $7,914,276.14 to critical vendors on account of their
prepetition claims, including claims entitled to administrative priority under 11 U.S.C. § 503(b)(9).

               B. Schedules and Statements of Financial Affairs and Bar Dates

       On April 17, 2023, the Debtors filed the Schedules [Docket Nos. 200-207], and on May
26, 2023, the Debtors filed amended Schedules [Docket Nos. 312 and 313]. The Schedules, as
amended, summarize the Debtors’ understanding of assets and liabilities.

       On April 4, 2023, the Debtors filed a motion to set deadlines for filing proofs of claim
[Docket No. 164] (the “Bar Date Motion”). On April 14, 2023, the Bankruptcy Court entered the
Bar Date Order [Docket No. 191] which set the Bar Date and the Governmental Unit Bar Date.
The Bar Date Order did not set a deadline for filing a request for allowance of postpetition
administrative expenses.




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                 C. Motion for Use of Cash Collateral

        On February 21, 2023, the Debtors filed a motion for use of cash collateral [Docket No.
35] (the “Cash Collateral Motion”). By and through the Cash Collateral Motion, the Debtors
sought approval for the consensual use of the Prepetition Secured Lenders’ cash collateral on an
interim and final basis, pursuant to the terms of an agreed-upon budget. In exchange for the use
of cash collateral, the Debtors agreed to provide the Prepetition Secured Parties certain protections,
in the form of (i) replacement liens to the extent of any diminution of value, (ii) superpriority
administrative expense claims under section 507(b) of the Bankruptcy Code against the Debtors’
Estates to the extent of any diminution of value, (iii) payment of Cerberus’s reasonable and
documented fees and expenses up to an aggregate amount of $900,000 for the period between the
Petition Date and the date of entry of the Final Order, (iv) to the extent it is later determined by an
Order of the Court that the Prepetition Obligations (as defined in the Cash Collateral Order) were
oversecured as of the Petition Date, payment of postpetition interest at the default rate, and (v) an
interim payment in the amount of $300,000. On February 22, 2023, the Bankruptcy Court entered
an interim order approving the Cash Collateral Motion [Docket No. 55].

       On March 20, 2023 and April 4, 2023, the Bankruptcy Court entered further interim orders
approving the Cash Collateral Motion [Docket No. 104 and 160, respectively]. On April 19, 2023,
the Bankruptcy Court entered a Final Order approving the Cash Collateral Motion [Docket No.
218] (the “Cash Collateral Order”).4 The Cash Collateral Order authorized the Debtors to use
cash collateral subject to a budget. Further, by the Cash Collateral Order, the Debtors and Cerberus
agreed to the establishment of the Debtor Professional Escrow and Professional Fee Reserve.

                 D. Retention of Investment Banker

        On March 14, 2023, the Debtors filed an application to retain Angle Advisors, LLC
(“Angle”) as investment banker, effective as of March 8, 2023 [Docket No. 97] (the “Angle
Retention Application”). As set forth in the Angle Retention Application, the Debtors sought to
retain Angle to market substantially all of the Debtors’ assets. Subsequent to the filing of the
Angle Retention Application, the Committee negotiated revised terms to Angle’s proposed
retention, including eliminating certain compensation for the sale of certain assets of the Debtors
and fixing the amount of Angle’s fees in the event that the Debtors did not receive a bid from any
party other than the Prepetition Secured Lenders. On April 18, 2023, the Bankruptcy Court entered
an Order approving the Angle Retention Application, as revised to incorporate the resolution
between Angle and the Committee [Docket No. 209].

                 E. Sale of Substantially All of the Debtors’ Assets

       On April 27, 2023 the Debtors filed a Motion for Entry of: (A) an Order (I) Scheduling a
Hearing on the Approval of the Sale of All or Substantially All of the Debtors' Assets Free and
Clear of all Encumbrances Other than Assumed Liabilities and Permitted Encumbrances, and the
Assumption and Assignment of Certain Executory Contracts and Unexpired Leases, (II)

4 In the event of any inconsistency between the Plan and the Cash Collateral Order, the Cash Collateral Order shall
control.



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Approving Certain Bidding Procedures and Assumption and Assignment Procedures, and the
Form and Manner of Notice Thereof, (III) Authorizing the Debtors to Enter into the Stalking Horse
Purchase Agreement, and (IV) Granting Related Relief; and (B) an Order (I) Approving Asset
Purchase Agreement, (II) Authorizing the Sale of All or Substantially All of the Debtors' Assets
Free and Clear of All Encumbrances Other than Assumed Liabilities and Permitted Encumbrances,
(III) Authorizing the Assumption and Assignment of Certain Executory Contracts and Unexpired
Leases, and (IV) Granting Related Relief [Docket No. 245] (the “Sale Motion”).

        By and through the Sale Motion, the Debtors sought, among other things, approval of sale
procedures, including authorizing the Debtors to enter into a stalking horse agreement with the
Prepetition Secured Lenders, setting procedures for submitting bids, and scheduling deadlines for
bidding, an auction (if necessary), and a hearing date.

         On May 8, 2023, the Debtors (other than Stanadyne PPT Group Holdings, Inc.) and the
Prepetition Secured Lenders entered into a proposed asset purchase agreement (the “Stalking
Horse Bid”) [Docket No. 265]. As set forth in the Stalking Horse Bid, the Purchaser, an affiliate
of the Prepetition Secured Lenders offered to purchase substantially all of the Debtors’ assets,
including the Debtors’ equity in the Foreign Non-Debtor Affiliates, free and clear of all claims,
liens and encumbrances pursuant to 11 U.S.C. § 363 in exchange for (i) the assumption of certain
liabilities; (ii) certain cash consideration to be satisfied (A) in part by way of a credit bid of a
portion of the Debtors’ obligations under the Financing Agreement and (B) the remainder by the
Purchaser’s assumption of the Restructured Indebtedness (as defined in the Asset Purchase
Agreement) at the Closing; and (iii) the Cash Deficiency Amount (as defined in the Asset Purchase
Agreement) if necessary to fund the Wind-Down Budget (all as more specifically set forth in the
Asset Purchase Agreement). In addition, the Purchaser agreed to assume certain liabilities and
provide the funds for the settlement with the Committee pursuant to the Term Sheet.

       Between the filing of the Sale Motion and May 15, 2023, the Committee, the Debtors, and
Cerberus negotiated the bidding and sale procedures, and on May 16, 2023, the Bankruptcy Court
entered an Order approving the bidding and sale procedures [Docket No. 276] (the “Sale
Procedures Order”).

        Despite extensive marketing, which included Angle contacting more than 150 potentially
interested parties and approximately 50 parties expressing further interest, the Debtors did not
receive any offers for substantially all (or even less than all) of the Debtors’ assets prior to the June
21, 2023 bid deadline in the Sale Procedures Order.

       On June 22, 2023, in accordance with the Sale Procedures Order, the Debtors filed a notice
of cancellation of the auction, and the Purchaser was designated the successful bidder for
substantially all of the Debtors’ assets.

                F. Stipulation of Unencumbered Assets between the Committee and Cerberus

      On May 22, 2023, the Committee and Cerberus entered into a stipulation (the
“Unencumbered Assets Stipulation”) regarding unencumbered assets of the Debtors and the




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occurrence of the investigation termination date [Docket No. 292], and the Bankruptcy Court
entered an Order approving the Unencumbered Assets Stipulation [Docket No. 293].

        As set forth in the Unencumbered Assets Stipulation, the Committee and Cerberus agreed
that the following assets were not encumbered by liens in favor of the Prepetition Secured Lenders:

       a.      35% of the equity interests owned by Stanadyne LLC in Stanadyne S.p.A.;

       b.      35% of the equity interests owned by Stanadyne LLC in Stanadyne India Private
               Limited;

       c.      35% of the equity interests owned by Stanadyne LLC in Stanadyne Changshu
               Corporation;

       d.      any motor vehicle owned by the Debtors for which a security interest was not
               perfected as required under applicable state law;

       e.      the following deposit accounts of certain of the Debtors:

               i. Wells Fargo, N.A., account No. xxxxxx2614;

               ii. Wells Fargo, N.A., account No. xxxxxx1246;

               iii. Bank of America, N.A., account No. xx-xxxx-9824;

               iv. Citibank, N.A., account No. xxxx-0706; and

               v. Bank of America, N.A., account No. xxxxxx2600; and

       f.      certain causes of action consisting of (i) commercial tort claims of the Debtors and
               their estates, including but not limited to potential claims against the Debtors’
               current and former officers and directors and (ii) all avoidance actions arising under
               Sections 544, 547, 548, 548, 549, and 550 of the Bankruptcy Code and similar
               causes of action arising under applicable nonbankruptcy law.

       Additionally, the Committee and Cerberus agreed that the Debtors’ prepetition obligations
under the Financing Agreement totaled no less than $293,152,851.11. Nothing in the
Unencumbered Assets Stipulation addressed whether the Prepetition Secured Lenders’ claims
were oversecured under section 506(b) of the Bankruptcy Code or the Cash Collateral Order and
thus entitled to postpetition interest and any reasonable fees, costs or charges. Further, the
Committee’s and Cerberus’ rights with respect to the allowance of the Prepetition Secured
Lenders’ claims for postpetition interest and any reasonable fees, costs or charges under section
506(b) of the Bankruptcy Code or the Cash Collateral Order were expressly reserved.




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                    G. Term Sheet between the Committee and Cerberus5

        While the Debtors marketed their assets, the Committee and Cerberus negotiated a term
sheet for the resolution of certain issues related to, among other things, the sale of the Debtors’
unencumbered assets, assumption of liabilities, and the estates’ causes of action which were to be
sold as part of the Stalking Horse Bid. The agreement reached among the Committee, Cerberus
and the Purchaser was documented in the Term Sheet attached to and approved by the Sale Order
on July 11, 2023.

       The Term Sheet provides that, among other things, the Purchaser will fund (or cause to be
funded) a total of $4,000,000 comprising (i) a wind-down budget of $1,000,000, which amount is
the amount of “Total Disbursements” in the Wind-Down Budget that was finalized pursuant to
Section 4.24 of the Asset Purchase Agreement and funded at the Closing in accordance with the
Asset Purchase Agreement, (ii) $375,000 to fund the operation of the Liquidating Trust, and (iii)
$2,625,000 for Distribution to Holders of Convenience Class Claims and Allowed General
Unsecured Claims (which, pursuant to the Term Sheet, does not include any distribution on
account of the Cerberus Deficiency Claim).

         Pursuant to the Term Sheet, the Purchaser agreed to assume the following additional
liabilities, subject to the limitation that Core Liabilities will only be assumed to the extent set forth
below in (i) and (ii):

             (i)       Liabilities, including Core Liabilities, of the Debtors incurred and outstanding
                       as of the Closing Date with respect to each customer of the Debtors that
                       becomes a customer of the Purchaser from and after the Closing Date;

             (ii)      Core Liabilities incurred and outstanding as of the Closing Date with respect to
                       customers of the Debtors that do not become customers of the Purchaser from
                       and after the Closing Date solely to the extent such Core Liabilities are known
                       as of the Closing Date as (i) reflected in the Debtors’ books and records or filed
                       proofs of claim and (ii) set forth on a schedule of the amounts of such Core
                       Liabilities acceptable to the Purchaser (or, if not acceptable, subject to objection
                       by the Purchaser after Closing), which schedule shall (A) separately list by
                       customer (x) the amount of such Core Liabilities as of the date that is thirty (30)
                       days prior to the Closing Date and (y) the estimated amount of any incremental
                       Core Liabilities between the date that is thirty (30) days prior to the Closing
                       Date and the Closing Date and (B) be delivered by the Debtors to the Purchaser
                       and the Committee five (5) business days prior to the Closing Date, provided,
                       however, amounts with respect to the foregoing clause (y) shall be subject to
                       finalization within thirty (30) days after Closing to account for continuing sales
                       and returns during such period through the Closing Date; and



5        The following is a summary of the Term Sheet. In the event of any inconsistency between the summary
herein and the Term Sheet, the Term Sheet shall control. A copy of the Term Sheet which is attached hereto as Exhibit
C.



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             (iii)   Each Critical Vendor Claim, as defined in the Final Order (I) Authorizing the
                     Debtors to Pay Prepetition Claims of (A) Domestic Critical Vendors, (B)
                     Shippers, Warehousemen, and other Lienholders, and (C) Foreign Vendors; (II)
                     Authorizing Banks to Honor and Process Related Checks and Electronic
                     Transfers; and (III) Granting Related Relief [Docket No. 186] to the extent not
                     paid by the Debtors on or prior to the Closing Date.

        Further, as set forth in the Term Sheet, the Committee, Cerberus and the Purchaser agreed
that all Avoidance Actions shall be waived and shall not be pursued by the parties or any
representative of the Estates, except that:

         (i)         Avoidance Actions against insiders (“Insider Avoidance Actions”) shall not be
                     waived and do not constitute Purchased Assets; and

        (ii)         Avoidance Actions against non-insiders other than Go-Forward Creditors (the
                     “Preserved Avoidance Claims”) shall not be waived and shall comprise
                     Purchased Assets under the Sale Order; provided, however, that the Preserved
                     Avoidance Claims shall be preserved solely for the purpose of permitting the
                     Purchaser to set off such Preserved Avoidance Claims against any claims of the
                     applicable creditors (other than Go-Forward Creditors) that constitute Assumed
                     Liabilities under the Asset Purchase Agreement and Sale Order, and the
                     Purchaser shall not be entitled to any affirmative recovery on account of any
                     such Preserved Avoidance Claims.

With respect to Causes of Action belonging to the Debtors’ Estates, the Term Sheet further
provides:

       (i)           The Non-Go-Forward Commercial Tort Claims shall not comprise Purchased
                     Assets; The Insider Avoidance Actions and the Non-Go-Forward Commercial
                     Tort Claims (collectively, the “Liquidating Trust Claims”) shall be transferred
                     to the Liquidating Trust on the Effective Date of the Liquidating Trust. The
                     Liquidating Trustee shall have authority to pursue all Liquidating Trust Claims
                     as a Representative of the Debtors’ Estates; and

        (ii)         The parties waived claims that the Debtors’ Estates may have against Go-
                     Forward Creditors, and no party shall be entitled to any affirmative recovery or
                     right of setoff with respect to any such claims against Go-Forward Creditors.

        With respect to the Executory Contracts and Unexpired Leases, the Committee, Cerberus
and the Purchaser agreed that if and solely to the extent and for so long as the Purchaser requests
in writing that any Designation Rights Assets (as defined in the Asset Purchase Agreement) be
maintained following the Closing, the Purchaser shall fund any and all maintenance costs,
including lease costs and other third party costs, actually incurred by the Debtors or the Estates in
connection with such requested maintenance of the Designation Rights Assets, in accordance with
and solely to the extent set forth in Section 1.5(b) of the Asset Purchase Agreement.




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        Significantly, the Committee and Cerberus agreed upon a structure for a plan of liquidation,
which would include the appointment of the Liquidating Trustee and his compensation, and
establishment of the Oversight Committee.

         Because the Term Sheet provided certainty with respect to the assumption of significant
liabilities, including all Core Liabilities, the Committee, Cerberus, and the Purchaser agreed to
reduce the credit bid portion of the purchase price by $20,000,000 resulting in a Prepetition Debt
Bid Amount (as defined in the Asset Purchase Agreement) of $205,000,000, that more closely
reflects the fair market value of the Purchased Assets.

        The Term Sheet resolved significant issues with respect to the Committee, Cerberus, and
the Purchaser, including but not limited to value of the Debtors’ unencumbered assets. Had the
parties not been able to reach an agreement, it is likely that these Chapter 11 Cases would have
been converted to Chapter 7, and the Chapter 7 trustee likely would have been left to engage in
highly protracted and expensive litigation over (i) the value of the Debtors’ unencumbered assets
being acquired by the Purchaser and (ii) any potential claims that the Prepetition Secured Lenders
could assert as to adequate protection and diminution of value of its collateral under the Cash
Collateral Order, and without any funds for the Chapter 7 trustee to pursue such litigation. Further,
there was a possibility that the Prepetition Secured Lenders would not purchase the Debtors’ equity
in the Foreign Non-Debtor Affiliates which, the Committee believes, would be difficult for a
Chapter 7 trustee to monetize efficiently.

       On July 11, 2023, the Bankruptcy Court entered the Sale Order approving the sale of
substantially all of the Debtors’ assets to the Purchaser [Docket No. 443].6 The Term Sheet was
expressly incorporated in and approved by the Sale Order and attached as an exhibit thereto.

        On July 31, 2023, the Sale closed. As of the Closing Date, the Purchaser retained the right
to designate certain Executory Contracts and Unexpired Leases for assumption, assignment, and
sale post-Closing.

       H.       Termination of the Stanadyne Pension Plan

       Effective July 7, 2023, the Stanadyne LLC Pension Plan (the “Pension Plan”) was
terminated and the PBGC was appointed the statutory trustee of the Pension Plan on July 12, 2023.

       I.       Windsor Property

       The Purchaser elected not to purchase the Debtors’ two adjoining parcels of real property
in Windsor, Connecticut owned by Stanadyne LLC (the “Windsor Property”) and designated the
Windsor Property as an “Excluded Asset” under the Asset Purchase Agreement. The parcels,
which are located at 90-92 Deerfield Road, Windsor, CT. The parcels are a combined 53 acres,
and includes three buildings totaling approximately 814,000 square feet.



6      In the event of any inconsistency between the Plan and the Sale Order, the Sale Order shall control.



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        One of the two parcels of the Windsor Property is subject to ongoing remediation. Prior to
the Petition Date, the Debtors entered into an agreement with the former owner of the Windsor
Property, Metromedia Company, pursuant to which Metromedia agreed to be responsible for
certain remediation liabilities with respect to the Windsor Property.

       Before learning that the Purchaser was electing not to take the Windsor Property, the
Debtors retained Jones Lang LaSalle Americas, Inc. (“JLL”) as broker for the sale of the Windsor
Property [Docket No. 383]. On July 10, 2023, JLL’s employment as broker for the Windsor
Property was approved, effective May 25, 2023 [Docket No. 439].

        The Plan Proponent believes that the value of the Windsor Property would not exceed the
costs of maintaining the property through a prolonged sale process. Further, the Plan Proponent
believes that the costs of remediation would likely render the value of the Debtor’s interest in the
property de minimis, at best. Accordingly, on August 2, 2023, the Debtors filed a Motion for
Entry of an Order (I) Authorizing the Debtors to Abandon or, Alternatively Sell the Windsor
Property and (II) for Related Relief [Docket No. 486] (the “Abandonment/Sale Motion”). While
the Abandonment Sale Motion was pending, the Debtors continued to seek a buyer for the Windsor
Property, and the Debtors were able to reach an agreement contingent on further due diligence
with a potential purchaser by and through which the Debtors may realize only $1 from the sale of
the Windsor Property, but the potential purchaser agreed to pay the ongoing costs for the Windsor
Property as it continues to do its due diligence, and in the event that it elects to move forward with
the purchase of the Windsor Property, it will also pay JLL’s fees. On September 5, 2023, the
Debtors filed a supplement to the Abandonment/Sale Motion [Docket No. 550].

                                      ARTICLE III.
                                CONFIRMATION PROCEDURES

       3.01    Confirmation Hearing Procedures

       On _________, 2023, the Plan Proponent filed a motion, by and through which the Plan
Proponent sought conditional approval of the Plan for solicitation purposes only and for approval
of the procedures for the solicitation of the Plan [Docket No ____]. On _______, 2023, the
Bankruptcy Court entered the Solicitation Procedures Order [Docket No. ___]. Among other
things, the Solicitation Procedures Order, approved the adequacy of disclosures in the Plan on an
interim basis and set certain deadlines for the solicitation of the Plan, voting on the Plan, filing
objections to the Plan and scheduling a hearing to consider approval of the Plan. The Confirmation
Hearing has been scheduled for ____________, 2023 at _____ _.m. (Prevailing Eastern Time) at
which the Bankruptcy Court will consider the Plan pursuant to section 1129 of the Bankruptcy
Code. The Confirmation Hearing may be adjourned from time to time by the Plan Proponent.

       3.02    Procedure for Objections

        Any objection to final approval of the Plan as providing adequate information pursuant to
section 1125 of the Bankruptcy Code and/or Confirmation of the Plan must be made in writing
and Filed with the Bankruptcy Court and served on the following parties so as to be actually
received on or before ___________, 2023 at 4:00 p.m. (Prevailing Eastern Time) upon (a)
counsel to the Debtors: (i) Kathryn A. Coleman, Esquire and Christopher Gartman, Esquire


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(email: Katie.coleman@hugheshubbard.com and Chris.gartman@hugheshubbard.com) and (ii)
Michael Nestor, Esquire, Andrew Magaziner, Esquire, and Ashley Jacobs, Esquire (email:
mnestor@ycst.com, amagaziner@ycst.com, and Ajacobs@ycst.com), (b) counsel to the
Committee: (i) Adam C. Rogoff, Esquire and Rose Bagley, Esquire (email:
arogoff@kramerlevin.com and rbagley@kramerlevin.com) and (ii) Jeffrey R. Waxman, Esquire
and Eric J. Monzo, Esquire (email: jwaxman@morrisjames.com and emonzo@morrisjames.com),
(c) counsel to Cerberus: Michael L. Tuchin and David A. Fidler (email: mtuchin@ktbslaw.com
and dfidler@ktbslaw.com), and (d) Office of the United States Trustee, Jane Leamy, Esquire
(email: jane.m.leamy@usdoj.gov). Unless an objection is timely Filed and served, it may not be
considered by the Bankruptcy Court at the Confirmation Hearing.

        3.03    Requirements for Confirmation

        The Bankruptcy Court will confirm the Plan only if it meets all the applicable requirements
of section 1129 of the Bankruptcy Code. Among other requirements, the Plan (a) must be accepted
by all Impaired Classes of Claims or Interests or, if rejected by an Impaired Class, the Plan must
not “discriminate unfairly” against, and must be “fair and equitable” with respect to, such Class;
and (b) must be feasible. The Bankruptcy Court must also find that: (i) the Plan has classified
Claims and Interests in a permissible manner; (ii) the Plan complies with the technical
requirements of Chapter 11 of the Bankruptcy Code; and (iii) the Plan has been proposed in good
faith.

        3.04    Classification of Claims and Equity Interests

        Section 1123 of the Bankruptcy Code provides that a plan must classify the claims and
interests of a debtor’s creditors and equity interest holders. In accordance with section 1123 of the
Bankruptcy Code, the Plan divides Claims and Interests into Classes and sets forth the treatment
for each Class (other than those claims which pursuant to section 1123(a)(1) of the Bankruptcy
Code need not be and have not been classified). The Plan Proponent are also required, under
section 1122 of the Bankruptcy Code to classify Claims and Interests into Classes that contain
Claims or Interests that are substantially similar to the other Claims or Interests in such Class.

        The Bankruptcy Code also requires that a plan provide the same treatment for each claim
or interest of a particular class unless the claim holder or interest holder agrees to a less favorable
treatment of its claim or interest. The Plan Proponent believe that the Plan complies with such
standard. If the Bankruptcy Court finds otherwise, however, it could deny Confirmation of the
Plan if the Holders of Claims or Interests affected do not consent to the treatment afforded them
under the Plan.

        A Claim or Interest is placed in a particular Class only to the extent that the Claim or
Interest falls within the description of that Class and is classified in other Classes to the extent that
any portion of the Claim or Interest falls within the description of such other Classes. A Claim also
is placed in a particular Class for the purpose of receiving Distributions pursuant to the Plan only
to the extent that such Claim is an Allowed Claim in that Class and such Claim has not been
Disallowed, paid, released or otherwise settled prior to the Effective Date. The Plan Proponent
believes that the Plan has classified all Claims and Interests in compliance with the provisions of
section 1122 of the Bankruptcy Code and applicable case law. It is possible that a Holder of a Claim


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or Interest may challenge the Plan Proponent’s classification of Claims or Interests and that the
Bankruptcy Court may find that a different classification is required for the Plan to be confirmed.
If such a situation develops, the Plan Proponent intends, in accordance with the terms of the Plan,
and pursuant to section 1127 of the Bankruptcy Code, to make such permissible modifications to
the Plan as may be necessary to permit its Confirmation. Any such reclassification could adversely
affect Holders of Claims by changing the composition of one or more Classes and the vote required
of such Class or Classes for approval of the Plan.

      EXCEPT AS SET FORTH IN THE PLAN, UNLESS SUCH MODIFICATION OF
CLASSIFICATION MATERIALLY ADVERSELY AFFECTS THE TREATMENT OF A
HOLDER OF A CLAIM AND REQUIRES RE-SOLICITATION, ACCEPTANCE OF THE
PLAN BY ANY HOLDER OF A CLAIM PURSUANT TO THIS SOLICITATION WILL BE
DEEMED TO BE A CONSENT TO THE PLAN’S TREATMENT OF SUCH HOLDER OF A
CLAIM REGARDLESS OF THE ULTIMATE CLASS IN WHICH THE HOLDER IS DEEMED
TO BE A MEMBER.

        The amount of any Impaired Claim that ultimately is Allowed by the Bankruptcy Court
may vary from any estimated Allowed amount of such Claim and, accordingly, the total Claims
that are ultimately Allowed by the Bankruptcy Court with respect to each Impaired Class of Claims
may vary from any estimates contained herein with respect to the aggregate Claims in any Impaired
Class. Thus, the actual recovery ultimately received by a particular Holder of an Allowed Claim
may be adversely or favorably affected by the aggregate amount of Claims Allowed in the
applicable Class. Additionally, any changes to any of the assumptions underlying the estimated
Allowed amounts could result in material adjustments to recovery estimates provided herein and/or
the actual Distribution received by Creditors. The projected recoveries are based on information
available to the Plan Proponent as of the date hereof and reflect the Plan Proponent’s views as of
the date hereof only.

        The classification of Claims and Interests and the nature of Distributions to members of
each Class are summarized herein. The Plan Proponent believes that the consideration, if any,
provided under the Plan to Holders of Claims reflects an appropriate resolution of their Claims
taking into account the differing nature and priority (including applicable contractual
subordination) of such Claims and Interests. The Bankruptcy Court must find, however, that a
number of statutory tests are met before it may confirm the Plan. Many of these tests are designed
to protect the interests of Holders of Claims or Interests who are not entitled to vote on the Plan, or
do not vote to accept the Plan, but who will be bound by the provisions of the Plan if it is confirmed
by the Bankruptcy Court.

       3.05    Impaired Claims or Equity Interests

        Pursuant to the provisions of the Bankruptcy Code, only classes of claims or interests that
are “impaired” (as defined in section 1124 of the Bankruptcy Code) under a plan may vote to
accept or reject such plan. Generally, a claim or interest is impaired under a plan if the holder’s
legal, equitable or contractual rights are changed under such plan. In addition, if the holders of
claims or interests in an impaired class do not receive or retain any property under a plan on
account of such claims or interests, such impaired class is deemed to have rejected the plan under



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section 1126(g) of the Bankruptcy Code and, therefore, such holders are not entitled to vote on
such plan.

        Under the Plan, only Holders of Claims in Classes 3, 4, and 5 are Impaired and are entitled
to vote on the Plan. Holders of Claims in Classes 1 and 2 are Unimpaired and, therefore, not
entitled to vote on the Plan and are deemed to accept the Plan.

        Holders of Interests in Class 6 (Equity Interests) will not receive anything on account of
their respective claims and interests and are therefore not entitled to vote on the Plan and are
deemed to reject the Plan.

       A ballot for acceptance or rejection of the Plan is being provided only to Holders of Claims
in Class 3 (Cerberus Deficiency Claim), Class 4 (General Unsecured Claims) and Class 5
(Convenience Class Claims).

       3.06    Confirmation Without Necessary Acceptances; Cramdown

         In the event that any impaired class of claims or interests does not accept a plan, a debtor
nevertheless may move for confirmation of the plan. A plan may be confirmed, even if it is not
accepted by all impaired classes, if the plan has been accepted by at least one impaired class of
claims, and the plan meets the “cramdown” requirements set forth in section 1129(b) of the
Bankruptcy Code. Section 1129(b) of the Bankruptcy Code requires that a court find that a plan
“does not discriminate unfairly” and (b) is “fair and equitable,” with respect to each non-accepting
impaired class of claims or interests. Here, because Holders of Interests in Class 6 are deemed to
reject the Plan, the Plan Proponent will seek Confirmation of the Plan from the Bankruptcy Court
by satisfying the “cramdown” requirements set forth in section 1129(b) of the Bankruptcy Code.
The Plan Proponent believes that such requirements are satisfied, as no Holder of a Claim or
Interest junior to General Unsecured Claims, will receive or retain any property under the Plan.

        A plan does not “discriminate unfairly” if (a) the legal rights of a non-accepting class are
treated in a manner that is consistent with the treatment of other classes whose legal rights are
similar to those of the non-accepting class and (b) no class receives payments in excess of that
which it is legally entitled to receive for its claims or interests. The Plan Proponent believes that,
under the Plan, all Impaired Classes of Claims or Interests are treated in a manner that is consistent
with the treatment of other Classes of Claims or Interests that are similarly situated, if any, and no
Class of Claims or Interests will receive payments or property with an aggregate value greater than
the aggregate value of the Allowed Claims in such Class. Accordingly, the Plan Proponent believes
that the Plan does not discriminate unfairly as to any Impaired Class of Claims or Interests.

        The Bankruptcy Code provides a non-exclusive definition of the phrase “fair and
equitable.” In order to determine whether a plan is “fair and equitable,” the Bankruptcy Code
establishes “cram down” tests for secured creditors, unsecured creditors and equity holders, as
follows:

       (a) Secured Creditors. Either (i) each impaired secured creditor retains its liens
       securing its secured claim and receives on account of its secured claim deferred
       Cash payments having a present value equal to the amount of its allowed secured
       claim, (ii) each impaired secured creditor realizes the “indubitable equivalent” of


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       its allowed secured claim or (iii) the property securing the claim is sold free and
       clear of liens with such liens to attach to the proceeds of the sale and the treatment
       of such liens on proceeds to be as provided in clause (i) or (ii) above.

       (b) Unsecured Creditors. Either (i) each impaired unsecured creditor receives or
       retains under the plan property of a value equal to the amount of its allowed claim
       or (ii) the Holders of claims and interests that are junior to the claims of the
       dissenting class will not receive any property under the plan.

       (c) Equity Interests. Either (i) each Holder of an Interest will receive or retain under
       the plan property of a value equal to the greatest of the fixed liquidation preference
       to which such Holder is entitled, the fixed redemption price to which such Holder
       is entitled or the value of the interest or (ii) the Holder of an interest that is junior
       to the non-accepting class will not receive or retain any property under the plan. As
       discussed above, the Plan Proponent believes that the Distributions provided under
       the Plan satisfy the absolute priority rule, where required.

       3.07    Feasibility

        Section 1129(a)(11) of the Bankruptcy Code requires that confirmation of a plan not be
likely to be followed by the liquidation, or the need for further financial reorganization, of the
debtors or any successor to the debtors (unless such liquidation or reorganization is proposed in
the Plan). Inasmuch as the majority of Debtors’ property has been liquidated and the Plan provides
for the Distribution of all of the Cash proceeds of the Debtors’ property to Holders of Claims that
are Allowed as of the Effective Date in accordance with the Plan, for purposes of this test, Plan
Proponent has analyzed the ability of the Liquidating Trust to meet its obligations under the Plan.
Based on the Plan Proponent’s analysis, the Liquidating Trustee will have sufficient assets to
accomplish its tasks under the Plan. Therefore, the Plan Proponent believes that the liquidation
pursuant to the Plan will meet the feasibility requirements of the Bankruptcy Code.

       3.08    Best Interests Test and Liquidation Analysis

        Even if a plan is accepted by the holders of each class of claims and interests, the
Bankruptcy Code requires a court to determine that such plan is in the best interests of all holders
of claims or interests that are impaired by that plan and that have not accepted the plan. The “best
interests” test, as set forth in section 1129(a)(7) of the Bankruptcy Code, requires a court to find
either that all members of an impaired class of claims or interests have accepted the plan or that
the plan will provide a member who has not accepted the plan with a recovery of property of a
value, as of the effective date of the plan, that is not less than the amount that such holder would
recover if the debtor were liquidated under Chapter 7 of the Bankruptcy Code. To calculate the
probable distribution to holders of each impaired class of claims and interests if the debtor was
liquidated under Chapter 7, a court must first determine the aggregate dollar amount that would be
generated from a debtor’s assets if its Chapter 11 cases were converted to Chapter 7 under the
Bankruptcy Code. To determine if a plan is in the best interests of each impaired class, the present
value of the distribution from the proceeds of a liquidation of the debtor’s unencumbered assets
and properties, after subtracting the amounts attributable to the costs, expenses and administrative
expenses associated with a Chapter 7 liquidation, must be compared with the value offered to such


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impaired classes under the plan. If the hypothetical liquidation scenario results in a distribution to
holders of claims or interests in any impaired class that is greater than the distribution to be
received by such parties under the plan, then such plan is not in the best interests of the holders of
claims or interests in such impaired class. See Liquidation Analysis attached as Exhibit B to this
Plan.

        Because the Plan is a liquidating plan, the “liquidation value” in the hypothetical Chapter
7 liquidation analysis for purposes of the “best interests” test is substantially similar to the
estimates of the results of the Chapter 11 liquidation contemplated by the Plan. However, the Plan
Proponent believes that in a Chapter 7 liquidation, there would be additional costs and expenses
that the Estates would incur as a result of liquidating the Estates in Chapter 7.

        The costs of liquidation under Chapter 7 of the Bankruptcy Code would include the
compensation of a trustee, as well as the costs of counsel and other professionals retained by the
trustee. The Plan Proponent believes such amount would exceed the amount of expenses that
would be incurred in implementing the Plan and winding up the affairs of the Debtors. The Estates
would also be obligated to pay all unpaid expenses incurred by the Debtors during the Chapter 11
Cases (such as compensation for Professionals) that are allowed in the Chapter 7 case. Conversion
also would likely delay the liquidation of the assets as well as the Distributions to Holders of
Claims.

    Accordingly, the Plan Proponent believes that Holders of Allowed Claims would receive less
than anticipated under the Plan if the Chapter 11 Cases were converted to Chapter 7, and therefore,
the classification and treatment of Claims and Interests in the Plan complies with section
1129(a)(7) of the Bankruptcy Code.

       3.09    Acceptance of the Plan

        The rules and procedures governing eligibility to vote on the Plan, solicitation of votes,
and submission of ballots are set forth in the Solicitation Procedures Order. In order for the Plan
to be accepted by an Impaired Class of Claims, a majority in number and two-thirds in dollar
amount of the Claims voting in such Class must vote to accept the Plan. At least one Class entitled
to vote on this plan, excluding the votes of Insiders, must actually vote to accept the Plan. THE
VOTING AGENT MUST RECEIVE BALLOTS ON OR BEFORE THE VOTING
DEADLINE OF 4:00 P.M. (PREVAILING EASTERN TIME) ON _________, 2023.

      IF YOU ARE ENTITLED TO VOTE ON THE PLAN, YOU ARE URGED TO
COMPLETE, DATE, SIGN AND PROMPTLY MAIL THE BALLOT YOU RECEIVE OR
PROMPTLY USE THE ONLINE VOTING OPTION. PLEASE BE SURE TO COMPLETE THE
BALLOT PROPERLY AND LEGIBLY AND TO IDENTIFY THE EXACT AMOUNT OF
YOUR CLAIM AND THE NAME OF THE HOLDER. IF YOU ARE A HOLDER OF A CLAIM
ENTITLED TO VOTE ON THE PLAN AND YOU DID NOT RECEIVE A BALLOT, YOU
RECEIVED A DAMAGED BALLOT OR YOU LOST YOUR BALLOT OR IF YOU HAVE
ANY QUESTIONS CONCERNING THE PLAN OR PROCEDURES FOR VOTING ON THE
PLAN, CONTACT THE VOTING AGENT AT _________________.




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                           ARTICLE IV.
    CLASSIFICATION OF CLAIMS AND INTERESTS AND EXPECTED RECOVERIES

       4.01    Overview of Classification.

        Pursuant to section 1122 of the Bankruptcy Code, a Claim or Interest is placed in a
particular Class for purposes of voting on the Plan and receiving Distributions under the Plan only
to the extent (i) the Claim or Interest qualifies within the description of that Class; and (ii) the
Claim or Interest has not been paid, released, or otherwise compromised before the Effective Date.
In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Expenses,
including Professional Fee Claims, and Priority Tax Claims are not classified under the Plan and
are excluded from the Classes.

       4.02    Identification and Treatment of Unclassified Claims

        (a)    Administrative Expenses. On the Effective Date, each Holder of an Allowed
Administrative Expense shall receive in full and final satisfaction, settlement, and release of and
in exchange for such Allowed Administrative Expense: (a) Cash equal to the amount of such
Allowed Administrative Expense; or (b) such other treatment as to which the Plan Proponent or
the Liquidating Trustee, as applicable, and the Holder of such Allowed Administrative Expense
shall have agreed upon in writing. Cash distributed to Holders of Allowed Administrative
Expenses (other than Professional Fee Claims) shall be paid from the Initial Distribution Fund.
Allowed Professional Fee Claims shall be paid from the Debtor Professional Escrow, Professional
Fee Reserve, and/or the Wind-Down Budget as set forth in the Sale Order and subject to the
limitations therein, which shall, collectively, be the exclusive sources of funds for payment of
Allowed Professional Fee Claims. Such amounts may be paid from either the Initial Distribution
Fund or the General Unsecured Trust in the Liquidating Trustee’s discretion.

           (i) Final Administrative Expense Bar Date. Holders of Administrative Expenses
           accruing from the Petition Date through the Effective Date, other than Professional Fee
           Claims, shall File with the Bankruptcy Court and serve on the Liquidating Trustee
           requests for payment, in writing, together with supporting documents, substantially
           complying with the Bankruptcy Code, the Bankruptcy Rules and the Local Rules, so
           as to actually be received on or before the Final Administrative Expense Bar Date. Any
           such Claim not Filed by the Final Administrative Expense Bar Date shall be deemed
           waived and the Holder of such Administrative Expense Claim shall be forever barred
           from receiving payment on account thereof. The notice of the Effective Date to be
           delivered pursuant to Bankruptcy Rules 2002(c)(3) and 2002(f) shall set forth the Final
           Administrative Expense Bar Date and shall constitute notice of such Bar Date. The
           Liquidating Trustee shall have one hundred and eighty (180) days (or such longer
           period authorized by an Order of the Bankruptcy Court on a motion of the Liquidating
           Trustee) following the Final Administrative Expense Bar Date to review and object to
           Administrative Expenses.

           (ii) Bar Date for Applications for Professional Fees. All applications for allowance and
           payment of Professional Fee Claims shall be Filed with the Bankruptcy Court on or
           before the Professional Fee Bar Date. If an application for a Professional Fee Claim is


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           not Filed by the Professional Fee Bar Date, such Professional Fee Claim shall be
           deemed waived and the Holder of such Professional Fee Claim shall be forever barred
           from receiving payment on account thereof. The notice of Effective Date to be
           delivered pursuant to Bankruptcy Rules 2002(c)(3) and 2002(f) shall set forth the
           Professional Fee Bar Date and shall constitute notice of such Bar Date. The
           Professional Fee Bar Date shall be thirty (30) days after the Effective Date. All
           Allowed Professional Fees shall be paid from the Debtor Professional Escrow and
           Professional Fee Reserve and/or the Wind-Down Budget set forth in the Sale Order,
           subject to the limitations therein.

           (iii) Section 503(b)(9) Claims. For the avoidance of doubt, (i) the deadline for Filing
           requests for payment of 503(b)(9) Claims was the General Bar Date and (ii) the
           deadline for Filing requests for payment of Administrative Expenses that arose between
           the Petition Date and the Effective Date is the Final Administrative Expense Bar Date,
           which is thirty (30) days after the Effective Date.

        (b)    Priority Tax Claims. On the Effective Date, each Holder of a Priority Tax Claim
that is Allowed shall receive in full and final satisfaction, settlement, and release of and in
exchange for such Priority Tax Claim: (a) Cash equal to the amount of such Allowed Priority Tax
Claim; or (b) such other treatment as to which the Plan Proponent or the Liquidating Trustee, as
applicable, and the Holder of such Allowed Priority Tax Claim shall have agreed upon in writing.
Such amounts shall be paid from either the Initial Distribution Fund or the Liquidating Trust in the
Liquidating Trustee’s discretion.

        (c)    Administrative and Priority Claim Reserve. As set forth in Section 8.02 of this
Plan, prior to making any Distributions, the Liquidating Trustee shall establish reserves in Cash,
in an amount sufficient for the payment of all Disputed Administrative Expenses, Disputed Priority
Tax Claims and other Disputed Claims and expenses (including Liquidating Trust Expenses) as
deemed necessary in the reasonable discretion of the Liquidating Trustee.

       4.03    Identification of and Treatment of Classes of Claims

        (a)     Treatment of Priority Non-Tax Claims (Class 1). Each Holder of an Allowed
Priority Non-Tax Claim shall receive in exchange for full and complete settlement and release of
such Claim, either Cash equal to the full unpaid amount of such Allowed Priority Non-Tax Claim,
or such other treatment as the Debtors or the Liquidating Trustee, as applicable, and the Holder of
such Allowed Priority Non-Tax Claim shall have agreed. Following the Effective Date,
Distributions of Cash to Holders of Priority Non-Tax Claims shall be made as soon as reasonably
practicable after it is Allowed from the Initial Distribution Fund or the Liquidating Trustee in the
Liquidating Trustee’s reasonable discretion. Class 1 Claims are therefore Unimpaired and not
entitled to vote.

        (b)     Treatment of Secured Claims (Class 2). Each Holder of an Allowed Secured Claim
against the Debtors shall receive on the Effective Date, on account of and in full and complete
settlement, and release and in exchange for, such Allowed Secured Claim, either return of the
collateral securing such Allowed Secured Claim or Cash equal to the full unpaid amount of such
Allowed Secured Claim, or such other treatment as the Plan Proponent, and the Holder of such


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Allowed Secured Claim shall have agreed. If the Holder of an Allowed Secured Claim is to receive
a Distribution in Cash, such Distribution shall be made from the Initial Distribution Fund or the
Liquidating Trust on or as soon after the Effective Date or date such Claim becomes Allowed as
is reasonably practicable. Class 2 Claims are therefore Unimpaired and not entitled to vote.

        (c)    Treatment of Cerberus Deficiency Claim (Class 3). The Cerberus Deficiency
Claim shall be Allowed in the amount of $87,252,851.11, which shall remain secured by the
Excluded Assets (as defined in the Asset Purchase Agreement), other than the Liquidating Trust
Claims (as defined in the Term Sheet), which will not be subject to the security interest of the
Prepetition Secured Parties; provided, however, that the amount of the Cerberus Deficiency Claim
shall be reduced on a dollar-for-dollar basis by any net proceeds paid to Cerberus from any
Excluded Assets. The Holder of the Cerberus Deficiency Claim (as such claim may be reduced
pursuant to the prior sentence) shall receive in full and final satisfaction, settlement, and release of
and in exchange for such Allowed Class 3 Claim, its Pro Rata share of all Distributions made from
the Unsecured Claim Distribution Fund. The Class 3 Cerberus Deficiency Claim is Impaired
and entitled to vote.

         (d)     Treatment of General Unsecured Claims (Class 4). Subject to the right to opt
into Class 5 as set forth below, each Holder of an Allowed General Unsecured Claim, which
shall include the PBGC Claim, shall receive in full and final satisfaction, settlement, and release
of and in exchange for such Allowed Class 4 Claim, a Pro Rata Distribution from the Initial
Distribution Fund after payment in full of all Allowed Administrative Expenses, Allowed Priority
Tax Claims, Allowed Non-Tax Priority Claims, and Allowed Secured Claims, and after the
Distribution to Allowed Convenience Class Claims as set forth herein. Following exhaustion of
the Initial Distribution Fund, Holders of Allowed Class 4 Claims, shall receive their respective Pro
Rata shares (taking into account only such remaining unpaid amounts following the exhaustion of
the Initial Distribution Fund) of all subsequent Distributions made to holders of Allowed General
Unsecured Claims from the Liquidating Trust. The PBGC shall have no other Claim against the
Debtors except for the PBGC Claim, provided however that the foregoing shall not limit, impair
or modify the PBGC’s rights under Section 5.2 of the Sale Order. Class 4 Claims are Impaired
and entitled to vote.

        (e)     Treatment of Convenience Class Claims (Class 5). Subject to the right to opt into
Class 4 as set forth above, Convenience Class Claims are unsecured claims that have been
asserted in an amount of $20,000 or less. Unless a Convenience Class Claim is the subject of an
objection on the Effective Date or has been satisfied, it shall be deemed Allowed and not subject
to objection, and the Holder of such Convenience Class Claim shall receive a Distribution of 10%
of the amount of its Allowed Convenience Class Claim. Such Distribution will be made from the
Initial Distribution Fund as soon after the Effective Date as is reasonably practicable but in no
event prior to payment in full (or the establishment of reserves sufficient to allow payment in full)
of all Allowed Administrative Expenses, Allowed Priority Tax Claims, Allowed Priority Non-Tax
Claims, and Allowed Secured Claims. In the event that a Convenience Class Claim Holder has
opted into Class 5 and an objection to the Claim is pending on the Effective Date, the Holder of
such Claim shall receive a Distribution of 10% of the amount of its Allowed Convenience Claim
from the Initial Distribution Fund as soon as reasonably practicable after the Claim is Allowed.
Class 5 Claims are Impaired and entitled to vote.



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        (f)     Treatment of Equity Interests (Class 6). On the Effective Date, all Interests shall
be deemed canceled, extinguished and of no further force or effect, and the Holders of Interests
shall not be entitled to receive or retain any property on account of such Interest. Class 6 Equity
Interests are Impaired, and deemed to reject the Plan, and are therefore not entitled to vote.
       4.04    Unsecured Creditors’ Rights to Opt In/Out of Classes 4 and 5.

         At any time prior to the Voting Deadline, any Holder of a General Unsecured Claim in
Class 4 may opt into Class 5, and any Holder of a Convenience Class Claim may opt into Class 4.
At any time prior to the Voting Deadline, a Holder of a Class 4 General Unsecured Claim (which
is, by definition, asserted for more than $20,000) may elect to have its claim treated as a Class 5
Convenience Class Claim. Upon such election, if no objection to the Allowance is pending on the
Effective Date, the Claim will be reduced in amount to $20,000, and will be deemed an Allowed
Convenience Class Claim (i.e., not be subject to an objection if its claim is not the subject of an
objection on the Effective Date) in that amount, and the Holder will receive a Distribution of 10%
(i.e., $2,000) on or as soon after the Effective Date as is reasonably practicable. Any Holder of a
Class 4 General Unsecured Claim that opts into Class 5 and to have its Claim treated as a
Convenience Class Claim will not receive any further distribution regardless of the Distributions
made to Allowed Class 4 General Unsecured Claims.

        Similarly, at any time prior to the Voting Deadline, any Holder of a Convenience Class
Claim (which is, by definition, asserted for $20,000 or less) may opt into Class 4 to have its Claim
treated as a General Unsecured Claim. Upon such election, the amount of the Claim on the
Effective Date will be deemed Disputed. As such, the Holder of such a Claim will not receive a
Distribution on the Effective Date and will only receive a Distribution in accordance with the
treatment of Class 4 Claims after the Claim is Allowed. For the avoidance of doubt, a Holder of a
Claim that is eligible to and does properly opt out of Convenience Class will, after the Claim is
Allowed, be entitled to receive a Distribution Pro Rata to other Class 4 Claims.

       4.05    Classification of Classes, Rights to Vote, and Estimated Distributions

        The information in the table below is provided in summary form for illustrative purposes
only and is subject to material change based on certain contingencies, including related to the
amount of Claims that exist after the claims reconciliation process. Actual recoveries may widely
vary within these ranges, and any changes to any of the assumptions underlying these amounts
could result in material adjustments to the estimates provided herein and/or the actual Distributions
received by Creditors. The projected recoveries are based on information available to the Plan
Proponent as of the date hereof and reflect the Plan Proponent’s best estimates as of the date hereof
only. In addition to the cautionary notes contained elsewhere in the Plan, it is emphasized that the
Plan Proponent makes no representation as to the accuracy of these recovery estimates. The Plan
Proponent expressly disclaims any obligation to update any estimates or assumptions after the date
hereof on any basis (including new or different information received and/or errors discovered). A
Claim or Interest is placed in a particular Class only to the extent that the Claim or Interest falls
within the description of that Class and is classified in other Classes to the extent that any portion
of the Claim or Interest falls within the description of such other Classes. A Claim or Interest is
also placed in a particular Class for the purpose of receiving Distributions pursuant to this Plan




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only to the extent that such Claim or Interest is an Allowed Claim in that Class and such Claim or
Interest has not been paid, released or otherwise settled prior to the Effective Date.

         All Claims and Interests, except Administrative Expenses and Priority Tax Claims, are
placed in the Classes set forth below. In accordance with section 1123(a)(1) of the Bankruptcy
Code, Administrative Expenses, including Professional Fee Claims, and Priority Tax Claims, as
described herein, have not been classified, and the respective treatment of such unclassified Claims
is set forth below. The categories of Claims and Interests listed below classify Claims and Interests
for all purposes, including voting, Confirmation and Distribution pursuant to the Plan and pursuant
to sections 1122 and 1123(a)(1) of the Bankruptcy Code.

        Any Claim that has already been satisfied will not receive a Distribution on account of such
Claim. On the Effective Date, all Interests shall be deemed canceled, extinguished and of no
further force or effect, and the Holders of Interests shall not be entitled to receive or retain any
property on account of such Interest.

 Class/Designation                    Plan Treatment7                       Voting Status          Estimated
                                                                                                   Claim Pool
                                                                                                   /Projected
                                                                                                    Recovery

 Class 1: Priority          Each Holder of an Allowed Priority             Unimpaired;     Approx. $0
 Non-Tax Claims             Non-Tax Claim at the option of the             Not entitled to
                            Debtors or the Liquidating Trustee, as         vote (deemed to Recovery:
                            applicable, shall receive in full and          accept Plan)    100%
                            final satisfaction, settlement, and
                            release of and in exchange for such
                            Allowed Class 1 Claim: (A) Cash
                            equal to the amount of such Allowed
                            Priority Non-Tax Claim; or (B) such
                            other treatment which the Debtors or
                            the     Liquidating     Trustee,    as
                            applicable, and the Holder of such
                            Allowed Priority Non-Tax Claim
                            have agreed upon in writing. To the
                            extent that such Allowed Claims are
                            satisfied      from     Cash,    such
                            Distributions shall be made from the
                            Initial Distribution Fund.

 Class 2: Secured           Each Holder of an Allowed Class 2 Unimpaired; Approx. $0
 Claims                     Claim, at the option of the Not entitled to
                            Liquidating Trustee, as applicable,
                            shall receive in full and final

7 The following description is provided in summary form and is qualified in all respect by the treatment for such
Class set forth in Section 4.03.



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                    satisfaction, settlement, and release of vote (deemed to Recovery:
                    and in exchange for such Allowed accept Plan)            100%
                    Secured Claim: (A) return of the
                    collateral securing such Allowed
                    Secured Claim; or (B) Cash equal to
                    the amount of such Allowed Secured
                    Claim; or (C) such other treatment
                    which the Liquidating Trustee and the
                    Holder of such Secured Claim have
                    agreed upon in writing. To the extent
                    that such Allowed Secured Claims are
                    satisfied      from     Cash,      such
                    Distributions shall be made from the
                    Initial Distribution Fund.

Class 3: Cerberus   The Cerberus Deficiency Claim shall Impaired; $87,252,851.11
Deficiency Claim    be Allowed in the amount of Entitled to vote
                    $87,252,851.11, which shall remain            Recovery:
                    secured by the Excluded Assets (as
                    defined in the Asset Purchase                 0-5%
                    Agreement),        other    than     the
                    Liquidating Trust Claims (as defined
                    in the Term Sheet), which will not be
                    subject to the security interest of the
                    Prepetition Secured Parties; provided,
                    however, that the amount of the
                    Cerberus Deficiency Claim shall be
                    reduced on a dollar-for-dollar basis
                    by any net proceeds paid to Cerberus
                    from any Excluded Assets. The
                    Holder of the Cerberus Deficiency
                    Claim shall receive in full and final
                    satisfaction, settlement, and release of
                    and in exchange for such Allowed
                    Class 3 Claim, a Pro Rata Distribution
                    from      the      Unsecured      Claim
                    Distribution Fund.

Class 4: General    Each Holder of an Allowed General Impaired;            (subject to opt-
Unsecured Claims    Unsecured Claim shall receive in full Entitled to vote in or opt-out)
                    and final satisfaction, settlement, and                Approx. $34.4
                    release of and in exchange for such                    mil. – $23.6
                    Allowed Class 4 Claim a Pro Rata                       mil.
                    Distribution     from     the    Initial
                    Distribution Fund after payment or                     Recovery: 0%-
                    reserve of all Allowed Administrative                  10.6%
                    Expenses, Allowed Priority Tax


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                Claims, Allowed Priority Non-Tax
                Claims, and Allowed Secured Claims
                in full. To the extent that any portion
                of an Allowed General Unsecured
                Claim remains after such payment,
                Holders of Allowed Class 4 Claims,
                shall also receive a Pro Rata
                Distribution from the Unsecured
                Claim Distribution Fund.

                Right to Opt Into Class 5. Holders of
                General Unsecured Claims in excess
                of $20,000 shall have the right to opt
                into Class 5 as set forth in Section
                4.04.

Class 5:        Convenience Class Claims are Impaired;           (subject to opt-
Convenience     unsecured claims asserted in an Entitled to vote in or opt-out)
Claims          amount of $20,000 or less. Unless a              Approx.
                Convenience Claim is the subject of              $1,100,000
                an objection on the Effective Date or
                has been satisfied, it shall be deemed           Recovery: 10%
                an Allowed Claim (i.e., not subject to
                objection), and the Holder of such
                claim shall receive a Distribution of
                10% of the amount of its Allowed
                Convenience          Claim.       Such
                Distribution will be made from the
                Initial Distribution Fund as soon after
                the Effective Date as is reasonably
                practicable. In the event that a
                Convenience Class Claim is the
                subject of an objection on the
                Effective Date, the Holder of such
                claim shall receive a Distribution of
                10% of the amount of its Allowed
                Convenience Claim from the Initial
                Distribution Fund as soon after the
                Allowed Convenience Class Claim is
                deemed Allowed as reasonably
                practicable.

                Right to Opt Into Class 4. Holders of
                Convenience Class Claims shall have
                the right to opt into Class 4 as set forth
                in Section 4.04.



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 Class 6: Equity       On the Effective Date, all Interests      Impaired;         Recovery: 0%
 Interests             shall     be     deemed      canceled,
                       extinguished and of no further force      Not entitled to
                       or effect, and the Holders of Interests   vote (deemed to
                       shall not be entitled to receive or       reject)
                       retain any property on account of such
                       Interest.


       4.06    Elimination of Vacant Classes for Voting Purposes

        Any Class of Claims or Equity Interests that is not occupied as of the date of the
commencement of the Confirmation Hearing shall be deemed deleted from the Plan for purposes
of voting on acceptance or rejection of the Plan by such Class under section 1129(a)(8) of the
Bankruptcy Code.

       4.07    Controversy Concerning Classification, Impairment or Voting Rights

        In the event a controversy or dispute should arise involving issues related to the
classification, impairment or voting rights of any Holder of a Claim or Interest under the Plan,
whether before or after the Confirmation Date, the Bankruptcy Court may, after notice and a
hearing, adjudicate such controversy. Without limiting the foregoing, the Bankruptcy Court may
estimate for voting purposes (i) the amount of any contingent or unliquidated Claim the fixing or
liquidation of, as the case may be, would unduly delay the administration of the Chapter 11 Cases
and (ii) any right to payment arising from an equitable remedy for breach of performance.

       4.08    Insurance

         Notwithstanding anything to the contrary herein, unless elected otherwise by the
Liquidating Trustee, if any Allowed Claim is covered by an insurance policy, such Claim shall
first be paid from proceeds of such Insurance Policy to the extent such proceeds are available, with
the balance, if any, treated in accordance with the provisions of the Plan governing the Class
applicable to such Claim.

                                       ARTICLE V.

           CERTAIN RISK FACTORS TO BE CONSIDERED PRIOR TO VOTING

     THE PLAN AND ITS IMPLEMENTATION ARE SUBJECT TO CERTAIN RISKS,
INCLUDING, BUT NOT LIMITED TO, THE RISK FACTORS SET FORTH BELOW.
HOLDERS OF CLAIMS WHO ARE ENTITLED TO VOTE ON THE PLAN SHOULD READ
AND CAREFULLY CONSIDER THE RISK FACTORS, AS WELL AS THE OTHER
INFORMATION SET FORTH IN THE PLAN AND THE DOCUMENTS DELIVERED
TOGETHER HEREWITH OR REFERRED TO OR INCORPORATED BY REFERENCE
HEREIN, BEFORE DECIDING WHETHER TO VOTE TO ACCEPT OR REJECT THE PLAN.




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THESE FACTORS ARE NOT EXCLUSIVE AND DO NOT CONSTITUTE THE ONLY RISKS
INVOLVED IN CONNECTION WITH THE PLAN AND ITS IMPLEMENTATION.

       5.01    The Plan May Not Be Accepted.

        The Plan Proponent can make no assurances that the requisite acceptances of the Plan will
be received, and the Plan Proponent may seek to solicit an alternative plan of liquidation for the
Debtors, or the Chapter 11 Cases may be converted to cases under chapter 7 of the Bankruptcy
Code. There can be no assurance that the terms of any such alternative restructuring arrangement
or plan would be similar to or as favorable to Creditors as those proposed in the Plan.

       5.02    The Plan May Not Be Confirmed.

        Even if the Plan Proponent receives the requisite acceptances, there is no assurance that the
Bankruptcy Court, which may exercise substantial discretion as a court of equity, will confirm the
Plan. Even if the Bankruptcy Court determined that the Plan and the balloting procedures and
results were appropriate, the Bankruptcy Court could still decline to confirm the Plan if it finds
that any of the statutory requirements for Confirmation are not met. Moreover, there can be no
assurance that modifications to the Plan will not be required for Confirmation or that such
modifications would not necessitate the resolicitation of votes. If the Plan is not confirmed, it is
unclear what Holders of Claims or Interests would receive under an alternative plan or in a chapter
7 liquidation.

       5.03    Distributions to Holders of Allowed Claims under the Plan May Be Inconsistent
               with Projections.

        The projected Distributions discussed herein are based upon good faith estimates of the
total amount of Claims ultimately Allowed and the funds available for Distribution. There can be
no assurance that the estimated Claim amounts set forth in the Plan are correct. These estimated
amounts are based on certain assumptions with respect to a variety of factors, including
specifically, the amount of Allowed Claims, and the amount to be received by the Liquidating
Trust on account of Causes of Action. Both the actual amount of Allowed Claims in a particular
Class and the funds available for Distribution to such Class may differ from the Plan Proponent’s
estimates. If the total amount of Allowed Claims in a Class is higher than the Plan Proponent’s
estimates, or the funds available for Distribution to such Class are lower than the Plan Proponent’s
estimates, the percentage recovery to Holders of Allowed Claims in such Class will be less than
projected.

       5.04    Objections to Classification of Claims.

        Section 1122 of the Bankruptcy Code requires that the Plan classify Claims and Interests.
The Bankruptcy Code also provides that the Plan may place a Claim or Interest in a particular
Class only if such Claim or Interest is substantially similar to the other Claims or Interests of such
Class. The Plan Proponent believes that all Claims and Interests have been appropriately classified
in the Plan. To the extent that the Bankruptcy Court finds that a different classification is required
for the Plan to be confirmed, the Plan Proponent may seek to (i) modify the Plan to provide for
whatever classification might be required for Confirmation and (ii) use the acceptances received
from any Holder of Claims pursuant to this solicitation for the purpose of obtaining the approval


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of the Class or Classes of which such Holder ultimately is deemed to be a member. Any such
reclassification of Claims, may be subject to the notice and hearing requirements of the Bankruptcy
Code, could adversely affect the Class in which such Holder was initially a member, or any other
Class under the Plan, by changing the composition of such Class and the vote required for approval
of the Plan. There can be no assurance that the Bankruptcy Court, would approve the Plan as
modified in such a scenario. Except to the extent that a modification to the Plan requires
resolicitation, the Plan Proponent may in accordance with the Bankruptcy Code and the
Bankruptcy Rules, seek a determination by the Bankruptcy Court that acceptance of the Plan by
any Holder of Claims pursuant to this solicitation will constitute a consent to the Plan’s treatment
of such Holder, regardless of the Class as to which such Holder is ultimately deemed to be a
member. The Plan Proponent believes that under the Bankruptcy Rules, they would be required to
resolicit votes for or against the Plan only when a modification adversely affects the treatment of
the Claim or Interest of any Holder. The Bankruptcy Code also requires that the Plan provide the
same treatment for each Claim or Interest of a particular Class unless the Holder of a particular
Claim or Interest agrees to a less favorable treatment of its Claim or Interest. The Plan Proponent
believes that the Plan complies with the requirement of equal treatment. To the extent that the
Bankruptcy Court finds that the Plan does not satisfy such requirement, the Bankruptcy Court
could deny Confirmation of the Plan. Issues or disputes relating to classification and/or treatment
could result in a delay in the Confirmation and Consummation of the Plan and could increase the
risk that the Plan will not be consummated.

       5.05    Failure to Consummate the Plan.

The Plan provides for certain conditions that must be satisfied (or waived) prior to Confirmation
and for certain other conditions that must be satisfied (or waived) prior to the Effective Date. As
of the date of the Plan, there can be no assurance that any or all of the conditions in the Plan will
be satisfied (or waived). Accordingly, there can be no assurance that the Plan will be confirmed
by the Bankruptcy Court. Further, if the Plan is confirmed, there can be no assurance that the
Plan will be consummated.

       5.06    Allowance of Claims May Substantially Dilute the Recovery to Holders of Claims
               under the Plan

There can be no assurance that the estimated Claim amounts set forth in the Plan are correct, and
the actual Allowed amounts of Claims may differ from the estimates. The estimated amounts are
based on certain assumptions with respect to a variety of factors, including with respect to the
Disputed Administrative Expenses, Disputed Priority Tax Claims, Disputed Priority Non-Tax
Claims, and Disputed Secured Claims. Should these underlying assumptions prove incorrect, the
actual Allowed amounts of Claims may vary from those estimated herein, thereby materially
reducing the recovery to the Holders of General Unsecured Claims under the Plan.

       5.07    Reserved

       5.08    Certain Tax Considerations.

       There are a number of material income tax considerations, risks and uncertainties
associated with the liquidation of the Debtors’ Assets described in this Plan.



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THE U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ARE COMPLEX.
NOTHING HEREIN SHALL CONSTITUTE TAX ADVICE. IN MANY CASES, THE TAX
CONSEQUENCES ARE UNCERTAIN AND MAY VARY DEPENDING ON A HOLDER’S
PARTICULAR CIRCUMSTANCES. ACCORDINGLY, HOLDERS ARE URGED TO
CONSULT THEIR TAX ADVISORS ABOUT FEDERAL, STATE AND LOCAL, AND
APPLICABLE FOREIGN INCOME AND OTHER TAX CONSEQUENCES OF THE PLAN.

                                   ARTICLE VI.
                      MEANS FOR IMPLEMENTATION OF THE PLAN

       6.01    Liquidation of Debtors’ Assets through the Creation of the Liquidating Trust

       (a)     Liquidating Trust

        On the Effective Date the Debtors will be deemed to have transferred all of their remaining
Assets (including Insider Avoidance Actions and Non-Go-Forward Creditor Commercial Tort
Claims), other than Assets waived pursuant to the Term Sheet and Section 6.02 below and Windsor
Property to the Liquidating Trust for Distribution in accordance herewith. The Confirmation Order
shall be deemed to, pursuant to sections 363 and 1123 of the Bankruptcy Code, authorize, among
other things, all actions as may be necessary or appropriate to effectuate any transaction described
in, approved by, contemplated by, or necessary to effectuate the Plan. Following the Effective
Date, the Liquidating Trustee shall take all actions reasonably necessary to dissolve the Debtors
under any applicable laws. For the avoidance of doubt, the Debtor Professional Escrow and
Professional Fee Reserve will not be transferred to the Liquidating Trust.

       (b)     Appointment of Liquidating Trustee
       The Liquidating Trustee’s duties shall commence as of the Effective Date. The Liquidating
Trustee shall administer the Liquidating Trust and shall serve as a Representative of the Estates
under section 1123(b) of the Bankruptcy Code for the purpose of enforcing or pursuing Causes of
Action belonging to the Estates.
       (c)     Establishment of a Liquidating Trust.
        Pursuant to the Confirmation Order and the Liquidating Trust Agreement, the Liquidating
Trust will be established on the Effective Date. The Liquidating Trust qualifies as a “liquidating
trust” as described in Treasury Regulations Section 301.7701-4(d) and Revenue Procedure 94-45,
1994-2 C.B. 684, and will be treated for federal income tax purposes as a “grantor trust” under
Internal Revenue Code sections 671-677. The Liquidating Trust shall be managed by the
Liquidating Trustee subject to the supervision of the Oversight Committee. The Liquidating Trust
shall be administered in accordance with the terms of the Liquidating Trust Agreement.
        Prior to the Effective Date, any and all of the Estates’ Assets shall remain Assets of the
Estates pursuant to section 1123(b)(3)(B) of the Bankruptcy Code and on the Effective Date shall
be transferred to and vest in the Liquidating Trust (including Insider Avoidance Actions and Non-
Go-Forward Creditor Commercial Tort Claims) in accordance with the Liquidating Trust
Agreement; provided, however, that no Waived Claims shall be transferred to the Liquidating
Trust and the Liquidating Trust shall not have any right to assert any Waived Claim, including for


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purposes of affirmative recovery, setoff, recoupment, or otherwise. For the avoidance of doubt,
but subject to the foregoing proviso, the Liquidating Trustee specifically retains and reserves the
right to assert, after the Effective Date, any and all of the claims, Causes of Action and related
rights, whether or not asserted as of the Effective Date, and all proceeds of the foregoing, and no
preclusion doctrine (including the doctrines of res judicata, collateral estoppel, judicial estoppel,
equitable estoppel, issue preclusion, claim preclusion, and laches) shall apply to such claims or
Causes of Action as Liquidating Trust Assets on or after the Effective Date. The failure to
specifically identify in the Plan any potential or existing Causes of Action as a Liquidating Trust
Asset is not intended to and shall not limit the rights of the Liquidating Trust to pursue any such
Causes of Action. Moreover, no Person may rely on the absence of a specific reference in the Plan,
the Confirmation Order, or the Liquidating Trust Agreement to any claim or Cause of Action
against such Person as any indication that the Liquidating Trust will not pursue any and all
available transferred claims or Causes of Actions transferred to the Liquidating Trust. The
objection to the Allowance of any Claims will not in any way limit the ability or the right of the
Liquidating Trust to assert, commence, or prosecute any Cause of Action transferred to the
Liquidating Trust.
       Pursuant to section 1123(b)(3)(B) of the Bankruptcy Code, only the Liquidating Trust and
the Liquidating Trustee shall have the right to pursue or not to pursue, or, subject to the terms
hereof and the Liquidating Trust Agreement, compromise or settle any Liquidating Trust Assets.
From and after the Effective Date, the Liquidating Trust and the Liquidating Trustee may
commence, litigate, and settle any Causes of Action or claims relating to the Liquidating Trust
Assets or rights to payment or claims that belong to the Debtors or the Estates as of the Effective
Date or are instituted by the Liquidating Trust and Liquidating Trustee on or after the Effective
Date, except as otherwise expressly provided herein or in the Sale Order, the Term Sheet, or the
Liquidating Trust Agreement. The Liquidating Trust shall be entitled to enforce all defenses and
counterclaims to all Claims asserted against the Debtors and their Estates, including setoff,
recoupment and any rights under section 502(d) of the Bankruptcy Code, in each case other than
Avoidance Actions and commercial tort claims against Go-Forward Creditors
        Other than as set forth herein, no other Entity may pursue such Liquidating Trust Assets
on or after the Effective Date. The Liquidating Trustee shall be deemed hereby substituted as
plaintiff, defendant, or in any other capacity for the Debtors in any Causes of Action pending
before the Bankruptcy Court or any other court that relates to a Liquidating Trust Asset, without
the need for filing any motion for such relief. On the Effective Date, the Debtors and the
Liquidating Trustee shall execute the Liquidating Trust Agreement and shall have established the
Liquidating Trust pursuant hereto. In the event of any conflict between the terms of this Article
VI and the terms of the Liquidating Trust Agreement, the terms of the Liquidating Trust Agreement
shall control.
        For the avoidance of doubt, the Debtor Professional Escrow and Professional Fee Reserve
will not be transferred to the Liquidating Trust and do not constitute Liquidating Trust Assets.




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       (d)     Vesting of Liquidating Trust Assets.
        Notwithstanding any prohibition of assignability under applicable non-bankruptcy law, on
the Effective Date and periodically thereafter if additional Assets become available, the Debtors
shall be deemed, subject to the Liquidating Trust Agreement, to have automatically transferred to
the Liquidating Trust all of its right, title, and interest in all of the Estates’ Assets, in accordance
with section 1141 of the Bankruptcy Code, including the Debtors’ attorney-client privilege;
provided, however, that no Purchased Assets or Waived Claims shall be transferred to the
Liquidating Trust. All such Assets shall automatically vest in the Liquidating Trust free and clear
of all Claims, liens, and other interests, subject only to the Allowed Claims as set forth herein and
subject to Liquidating Trust Expenses as set forth herein and in the Liquidating Trust Agreement.
Thereupon, the Debtors shall have no interest in or with respect to the Liquidating Trust Assets or
the Liquidating Trust. For the avoidance of doubt, the Liquidating Trust Expenses shall be paid
from the Liquidating Trust Assets.
       (e)     Retained Causes of Action
       All Causes of Action of any of the Debtors, other than those that constitute claims that were
previously waived, exculpated, released, compromised or otherwise settled, or are Purchased
Assets under the Sale Order and the Term Sheet, shall be retained by the Estates, and transferred
to, and shall vest in the Liquidating Trust (the “Retained Causes of Action”). Such Retained
Causes of Action expressly include all potential claims related to the commencement of the
Chapter 11 Cases, including the failure to dismiss the Chapter 11 Cases.
         The Debtors reserve and, as of the Effective Date, assign to the Liquidating Trust the
Retained Causes of Action, which shall include, for the avoidance of doubt and without limitation,
all of the Estates’ claims against the Debtors’ managers, directors and officers, and the Liquidating
Trustee’s rights to commence, prosecute, or settle such Retained Causes of Action on behalf of
and for the benefit of the applicable beneficiaries shall be preserved notwithstanding the
occurrence of the Effective Date. The Debtors or the Liquidating Trustee, as applicable, expressly
reserve all rights to prosecute any and all Retained Causes of Action against any Entity, except as
otherwise expressly provided in the Plan. The Liquidating Trustee expressly reserves all Retained
Causes of Action, for later adjudication, and, therefore, no preclusion doctrine, including the
doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial,
equitable, or otherwise), or laches, shall apply to such Retained Causes of Action upon, after, or
as a consequence of the Confirmation or Consummation of the Plan. No entity may rely on the
absence of a specific reference in this Plan or the Plan Supplement to any Retained Cause of
Action against it as any indication that the Debtors or the Liquidating Trustee, as applicable,
will not pursue any and all available Retained Causes of Action against it.
        The Liquidating Trustee reserves and shall retain all such Retained Causes of Action
notwithstanding the rejection or repudiation of any Executory Contract or Unexpired Lease during
the Chapter 11 Cases or pursuant to the Plan. In accordance with section 1123(b)(3) of the
Bankruptcy Code, any Retained Causes of Action that a Debtor may hold against any Entity shall
vest in the Liquidating Trust. The Liquidating Trustee shall retain and may exclusively enforce
any and all such Retained Causes of Action. Subject to the oversight of the Oversight Committee,


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the Liquidating Trustee shall have the exclusive right, authority, and discretion to determine and
to initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to
judgment any such Retained Causes of Action and to decline to do any of the foregoing without
the consent or approval of any third party or further notice to or action, order, or approval of the
Bankruptcy Court.
       (f)          Responsibilities of the Liquidating Trustee.
       Responsibilities of the Liquidating Trustee shall include, but are not limited to:
                i.         Administering and the implementation of the Plan, including the making of
                           the Distributions contemplated herein;
               ii.         Marshalling, including compelling the turnover of the Assets, and
                           liquidating the Assets;
              iii.         Conducting an analysis of any and all Administrative Expenses, Priority
                           Tax Claims, Priority Non-Tax Claims, and General Unsecured Claims and
                           prosecuting objections thereto or settling or otherwise compromising such
                           Claims, if necessary and appropriate;
              iv.          Maintaining and administering reasonable and necessary reserves in
                           accordance with the terms hereof;
               v.          Commencing, prosecuting, or settling claims and Causes of Action;
              vi.          Abandoning any Assets that cannot be sold or otherwise transferred for
                           value and for which Distribution to Holders of Allowed Administrative
                           Expenses, Priority Tax Claims, Priority Non-Tax and General Unsecured
                           Claims would not be feasible or cost-effective in the Liquidating Trustee’s
                           reasonable judgment;
             vii.          Filing appropriate tax returns in the exercise of the Liquidating Trustee’s
                           fiduciary obligations;
             viii.         Retaining such professionals as are necessary and appropriate in furtherance
                           of the Liquidating Trustee’s fiduciary obligations;
              ix.          Paying Liquidating Trust Expenses; and
               x.          Taking such actions as are necessary and reasonable to carry out the
                           purposes of the Liquidating Trust, including winding down the Debtors’
                           business affairs.
        The Liquidating Trustee’s authority shall be subject to the Oversight Committee, as set
forth in the Liquidating Trust Agreement.
       6.02         Effectuation of the Term Sheet




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        (a)    Automatically upon the Effective Date, the Waived Claims shall be deemed waived
as and to the extent set forth in the Term Sheet, and no party shall be entitled to any affirmative
recovery or right of set off with respect to any Waived Claim.

        (b)    From and after the Effective Date, and subject to the oversight of the Oversight
Committee, the Liquidating Trustee shall have the sole and exclusive power and authority over all
matters related to the Liquidating Trust (including as provided for in the Term Sheet, Section 6.01
of the Plan and the Liquidating Trust Agreement) and shall be authorized to make disbursements
(or direct the Wind-Down Manager to make disbursements) from the Wind-Down Budget for
expenditures in accordance therewith.

       6.03    Release of Liens

         Except as otherwise provided in the Plan (including in Section 4.03(c)) or in any contract,
instrument, release or other agreement or document entered into or delivered in connection with
the Plan, on the Effective Date and concurrently with the applicable Distributions made pursuant
to the Plan, all liens against the property of any Estate will be fully released, and all of the right,
title and interest of any holder of such liens, including any rights to any collateral thereunder, shall
attach to and be enforceable solely against any net proceeds of sales of such assets. For the
avoidance of doubt, all mortgages, deeds of trust, liens, pledges or other security interests against
any property of the Estates shall be fully released on the Effective Date without any further action
of any party, including, but not limited to, further order of the Bankruptcy Court or filing updated
schedules or statements typically filed pursuant to the Uniform Commercial Code.

       6.04    Effectuating Documents; Further Transactions

       On and after the Effective Date, the Liquidating Trustee is authorized to and may issue,
execute, deliver, file, or record such contracts, securities, instruments, releases, and other
agreements or documents and take such actions as may be necessary or appropriate to effectuate,
implement and further evidence the terms and conditions of the Plan and the transactions
contemplated thereby in the name of and on behalf of the Liquidating Trust without the need for
any approvals, authorization or consents except those expressly required pursuant to the Plan.

       6.05    Records

        Pursuant to the terms of the Sale Order, the Debtors’ transferred their books and records to
the Purchaser, subject to the Debtors’ rights to reasonable access to information. On the Effective
Date, the Debtors’ rights to access to the books and records shall be transferred to the Liquidating
Trust.

        Further, nothing herein shall modify the obligations to store, preserve, and provide access
to all documents and records relating to the Pension Plan (“Pension Plan Documents”) as set forth
in Section 5.2 of the Sale Order, other than the Liquidating Trustee shall succeed to the Debtors’
obligations under Section 5.2 of the Sale Order.




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       6.06    Deemed Substantive Consolidation

       The Plan contemplates and is predicated upon the substantive consolidation of the
Estates solely for voting, confirmation, and Distribution purposes. Accordingly, on the
Effective Date, each Claim Filed or to be Filed against any Debtor shall be deemed filed
only against Stanadyne LLC, and shall be deemed a single Claim against and a single
obligation of against Stanadyne LLC, for Distribution purposes, which shall be paid from
the Liquidating Trust, and absent an agreement prior to the Effective Date, following the
Effective Date any Claim against multiple Debtors shall be disallowed as duplicative. This
substantive consolidation of the Estates for Distribution purposes means that the specific
Debtor against which a creditor Holds or asserts a Claim will have no effect on the
Distribution (if any) provided to such creditor under the Plan.

       6.07    Transfer of Privilege/No Waiver

        On the Effective Date, all of the Debtors’ evidentiary privileges, including but not limited
to the attorney/client privilege, shall be deemed transferred to the Liquidating Trustee and the
Liquidating Trust. The Plan shall be considered a motion pursuant to sections 105, 363 and 365
of the Bankruptcy Code for such relief. Upon such transfer, the Debtors and the Estates shall have
no other further rights or obligations with respect thereto. Nothing herein shall be deemed a waiver
of the Debtors’ or the Estates’ rights of privilege.

       6.08    Final Decree

        At any time following the Effective Date, the Liquidating Trustee shall be authorized to
file a motion for entry of a final decree closing one or more of the Chapter 11 Cases.

                                    ARTICLE VII.
                                  EXECUTORY CONTRACTS

       7.01    Executory Contract(s) and Unexpired Leases

         Except for any Executory Contracts or Unexpired Leases of the Debtors: (i) that was
rejected by an Order of the Bankruptcy Court, pursuant to section 365 of the Bankruptcy Code;
(ii) that was assumed and assigned or assumed, assigned and sold; or (iii) as to which a motion for
approval of the assumption or rejection of such Executory Contract or Unexpired Leases has been
Filed and served prior to, and remains pending on the Effective Date, all Executory Contracts or
Unexpired Leases shall be subject to the rights of the Purchaser with respect to the Designation
Rights as set forth in the Asset Purchase Agreement and the Sale Order, which shall allow the
Purchaser to designate Executory Contracts or Unexpired Leases for assumption, assignment
and sale or rejection. After the Effective Date, the Liquidating Trustee shall assume, assign,
and sell to the Purchaser those Executory Contracts or Unexpired Leases that the Purchaser
designates as Assigned Contracts (as defined in the Asset Purchase Agreement). All costs
associated with such Executory Contracts and Unexpired Leases, including amounts that come
due thereunder, and the costs incurred in connection with assumption or rejection thereof
(including professional fees) shall be borne by the Purchaser. If the Purchaser does not
designate an Executory Contract or Unexpired Lease for assumption or rejection by the



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applicable Designation Deadline (as defined in the Asset Purchase Agreement), the
Liquidating Trustee shall have the discretion whether or not to assume or reject the Executory
Contract or Unexpired Lease.

       7.02    Insurance Policies Are Executory Contracts

       This paragraph 7.02 shall only apply to such insurance policies and any agreements and
instruments related thereto comprising “Excluded Assets” under the Asset Purchase Agreement.
With respect to such insurance policies:

       ●       All insurance policies that comprise Excluded Assets are treated as and deemed to
               be Executory Contracts under the Plan and, on the Effective Date, each of the
               Debtors or the Liquidating Trust, as applicable, shall be deemed to have assumed
               all insurance policies;

       ●       The automatic stay of section 362(a) of the Bankruptcy Code and the injunctions
               set forth in Article IX of the Plan, if and to the extent applicable, shall be deemed
               lifted without further order of the Bankruptcy Court, solely to permit: (i) claimants
               with valid workers’ compensation claims or direct action claims against an insurer
               under applicable non-bankruptcy law to proceed with their claims; and (ii) the
               insurers to administer, handle, defend, settle, and/or pay, in the ordinary course of
               business (A) workers’ compensation claims, and (B) claims where a claimant
               asserts a direct claim against any insurer under applicable non-bankruptcy law, or
               an order has been entered by the Bankruptcy Court granting a claimant relief from
               the automatic stay or the injunctions set forth in Article IX of the Plan to proceed
               with its claim;

       ●       On and after the Effective Date, the Liquidating Trust shall become and remain
               liable for all obligations under the insurance policies regardless of whether such
               obligations arose before or after the Effective Date, and without the need or
               requirement for insurers to file or serve any request, application, claim, proof or
               motion for payment or allowance of any Administrative Claim; and

       ●       Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval
               of the assumption of each of the insurance policies by the Debtors or the
               Liquidating Trust, as applicable. In addition, on and after the Effective Date, the
               Liquidating Trust shall not terminate or otherwise reduce, the coverage under any
               of the directors and officers insurance policies with respect to conduct occurring
               prior thereto.

       7.03    Bar Date for Rejection Damages

        If the rejection of an Executory Contract or Unexpired Lease pursuant to the Plan or
otherwise gives rise to a Claim by the other party or parties thereto, such Claim shall be forever
barred and shall not be enforceable against the Debtors, their Estates, or the Liquidating Trust,
unless a proof of Claim is Filed no later than 30 days after the rejection date and is in accordance
with the Bar Date Order; provided, however, that any party or parties to an Executory Contract or


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Unexpired Lease with a rejection Claim that arises or becomes Allowed on or after the Effective
Date shall have 30 days from the date the Claim arises or becomes Allowed to File a proof of
Claim on account of such Claim and in accordance with the Bar Date Order, after which period
any such Claim will be forever barred.

       7.04     Pre-Existing Obligations to a Debtor Under Executory Contracts and Unexpired
                Leases

        Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise
shall not constitute a termination of pre-existing obligations owed to a Debtor under such
Executory Contract or Unexpired Lease. Notwithstanding any applicable non-bankruptcy law to
the contrary, the Debtors expressly reserve and do not waive any right against counterparties to
rejected Executory Contracts or Unexpired Leases to receive, or any continuing obligation of a
counterparty to provide, warranties, indemnifications or continued maintenance obligations on
goods or services previously purchased by the contracting Debtor.

                               ARTICLE VIII.
                      PROVISIONS GOVERNING RESOLUTION OF
              CLAIMS AND DISTRIBUTIONS OF PROPERTY UNDER THE PLAN

       8.01     Claim Objections

                (a)    Right to Object to Claims. Other than with respect to Convenience Class
Claims that are not subject to objections on the Effective Date, and subject to the Oversight
Committee, as set forth in the Liquidating Trust Agreement, except insofar as a Claim is Allowed
under the Plan as of or after the Effective Date, the Liquidating Trustee will have the authority,
but not the obligation, to do any of the following with respect to any Claims or Interests: (1) file,
withdraw, and/or litigate to judgment objections to and requests for estimation of Claims; (2) settle
or compromise any Disputed Claim without any further notice to, action, order or approval by the
Bankruptcy Court; and (3) administer and adjust the Claims register to reflect any such settlements
or compromises without any further notice to, action, order or approval by the Bankruptcy Court.
The Liquidating Trustee shall succeed to any pending objections to Claims filed by the Debtors
prior to the Effective Date, and shall have and retain any and all rights and defenses the Debtors
had immediately prior to the Effective Date with respect to any Disputed Claim other than the
Waived Claims.

                (b)    Claims Objection Deadline. Objections to Claims must be Filed with the
Bankruptcy Court, and a copy of the objection must be served on the subject Creditor before the
expiration of the Claims Objection Deadline; otherwise such Claims shall be deemed Allowed in
accordance with section 502 of the Bankruptcy Code. The objection shall notify the Creditor of
the deadline for responding to such objection.

               (c)    Claim Estimation. Pursuant to section 502(c) of the Bankruptcy Code, the
Liquidating Trustee may request estimation or liquidation of any Disputed Claim that is contingent
or unliquidated or any Disputed Claim arising from a right to an equitable remedy or breach of
performance.



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       8.02    Distribution Provisions

               (a)     Distributions to be Made. The Liquidating Trustee or the Disbursing Agent
shall be responsible for making Distributions required to be made under the Plan.

               (b)     On the Effective Date, and after making all Distributions required to be
made on the Effective Date hereunder, the Liquidating Trustee shall establish and maintain a
separate reserve for the estimated amount of the Liquidating Trust Expenses, as well as each Class
of Claims and Unclassified Claims for each Debtor, which reserve shall be administered by the
Liquidating Trustee. To the extent that Reserves are established and maintained for the benefit of
any Holder of a Disputed Claim, such Reserves shall include Cash equal to the Distributions that
would have been made to the Holder of such Disputed Claim if it were an Allowed Claim in an
amount equal to the lesser of (a) the amount of the Disputed Claim, (b) the asserted amount in
which the Disputed Claim shall be estimated by the Bankruptcy Court pursuant to section 502 of
the Bankruptcy Code for purposes of allowance, which amount, unless otherwise ordered by the
Bankruptcy Court, shall constitute and represent the maximum amount in which such Claim
ultimately may become an Allowed Claim, or (c) such other amount as may be agreed upon by the
Holder of such Disputed Claim and the Liquidating Trustee.

       None of the Debtors, their Estates, nor the Liquidating Trustee shall be required to
reserve any Cash or other assets on account of any Disputed Claim that has been Disallowed
by order of the Bankruptcy Court, regardless of whether such Order is subject to a pending
appeal, unless the Holder of such Disputed Claim has filed a timely appeal of the
Confirmation Order and obtained a stay pending such appeal of the Confirmation Order.

                (c)     No Liability. The Liquidating Trustee shall only be required to act and
make Distributions in accordance with the terms of the Plan. Except on account of gross
negligence, fraud, illegality or willful misconduct, the Liquidating Trustee and the Oversight
Committee shall have no (i) liability to any party for actions taken in accordance with the Plan or
in reasonable reliance upon information provided to it in accordance with the Plan, or (ii)
obligation or liability for Distributions under the Plan to any party who does not hold a Claim
against one or more of the Debtors as of the Distribution Record Date or any other date on which
a Distribution is made or who does not otherwise comply with the terms of the Plan.

                (d)    Distributions on Account of Disputed Claims. Except as otherwise
provided in a Final Order or as agreed by the relevant parties, Distributions on account of Disputed
Claims, if any, that become Allowed, shall be made by the Liquidating Trustee at such periodic
intervals as the Liquidating Trustee determines to be reasonably prudent.

                (e)    No Distributions Pending Allowance. Notwithstanding anything herein to
the contrary: (a) no Distribution shall be made with respect to any Disputed Claim until and only
to the extent such Claim becomes an Allowed Claim (as applicable), and (b) unless agreed
otherwise by the Liquidating Trustee no Distribution shall be made to any Person that holds both
an Allowed Claim and a Disputed Claim until such Person’s Disputed Claims have been resolved
by settlement or Final Order.




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                (a)    Distributions in Cash. Any required Cash payments to the Holders of
Allowed Claims shall be made by the Liquidating Trustee: (a) in U.S. dollars by check, draft or
warrant, drawn on a domestic bank, or by wire transfer from a domestic bank, and (b) by first-
class mail (or by other equivalent or superior means as determined by the Liquidating Trustee).

                (b)  Timing of Distributions. Except as specifically set forth herein, the
Liquidating Trustee may determine, in its discretion, the appropriate timing, amount, and cadence
for Distributions.

                (c)     Unclaimed Distributions. Any Entity which fails to claim any Cash within
90 days from the date upon which a Distribution is first made to such entity shall forfeit all rights
to such Distribution under the Plan, and the Liquidating Trustee shall be authorized to cancel any
Distribution that is not timely claimed. Pursuant to section 347(b) of the Bankruptcy Code, upon
forfeiture, such Cash (including interest thereon, if any) shall revert to the Liquidating Trust free
of any restrictions under the Plan, the Bankruptcy Code or the Bankruptcy Rules. Upon forfeiture,
the claim of any Creditor or Interest Holder with respect to such funds shall be irrevocably waived
and forever barred against the Debtors, their Estates, the Liquidating Trust, and the Liquidating
Trustee, notwithstanding any federal or state escheat laws to the contrary, and such Creditor or
Interest Holder shall have no claim whatsoever against any of the foregoing or against any Holder
of a Claim to whom Distributions are made.

                (d)     Delivery of Distributions to Holders of Claims. Except as otherwise
provided in the Plan, Distributions to Holders of Allowed Claims shall be made to Holders of
record as of the Distribution Record Date by the Liquidating Trustee, as set forth on the latest date
of the following documents: (a) to the address of payment set forth on any of the proofs of Claim
Filed by such Holder or other representative identified therein (or at the last known addresses of
such Holder if no proof of Claim is Filed); (b) at the addresses set forth in any written notices of
address changes delivered to the Debtors after the date of any related proof of Claim and prior to
the Effective Date; and (c) at the addresses reflected in the Schedules if no proof of Claim has been
Filed and the Debtors have not received a written notice of a change of address prior to the
Effective Date.

                (e)    Undeliverable Distributions. The Liquidating Trustee shall make one
attempt to make the Distributions contemplated hereunder in accordance with the procedures set
forth herein. The Liquidating Trustee in its sole discretion may, but shall have no obligation to,
attempt to locate Holders of undeliverable Distributions. Any Distributions returned to the
Liquidating Trustee as undeliverable or otherwise shall remain in the possession of the Liquidating
Trust, until such time as a Distribution becomes deliverable, and no further Distributions shall be
made to such Holder unless such Holder notifies the Liquidating Trustee of its then current address.
Any Holder of an Allowed Claim entitled to a Distribution of property under this Plan that does
not assert a claim pursuant to the Plan for an undeliverable Distribution, or notify the Liquidating
Trustee of such Holder’s then current address, within 30 days of such Distribution shall have its
claim for such undeliverable Distribution irrevocably waived and shall be forever barred from
asserting any such claim against the Debtors, their Estates, the Liquidating Trust, and/or the
Liquidating Trustee or their respective property, and such Distribution shall be deemed unclaimed
property under Section 8.02(c) of the plan.



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                (f)    De Minimis Distributions. If any interim Distribution under the Plan to the
Holder of an Allowed Claim would be less than $20.00, the Liquidating Trustee may withhold
such Distribution until a final Distribution is made to such Holder. If any final Distribution under
the Plan to the Holder of an Allowed Claim would be less than $20.00, the Liquidating Trustee
may cancel such Distribution. Any unclaimed Distributions pursuant to this provision shall be
treated as unclaimed property under Section 8.02(c) of the Plan.

               (g)     Remainder Amounts After Final Distribution. After final Distributions have
been made in accordance with the terms of the Plan, if the aggregate amount of Unclaimed
Distributions is less than $10,000, the Liquidating Trustee may donate up to such amount to
Delaware Pro Se Bankruptcy Foundation.
                                ARTICLE IX.
                  RELEASES, INJUNCTION, AND RELATED PROVISIONS

       9.01    Releases

        The Plan shall not alter, amend, or otherwise modify any releases granted in connection
with the Cash Collateral Order, the Sale Order, the Term Sheet or any other Final Order of the
Court. Further, effective as of the Confirmation Date, but subject to the occurrence of the Effective
Date, and in consideration of the services provided, the Debtors and their respective Estates, shall
release, waive, and discharge unconditionally and forever the Wind-Down Manager from any and
all claims, causes of action, and liabilities whatsoever (including those arising under the
Bankruptcy Code), whether known or unknown, foreseen or unforeseen, existing or hereinafter
arising in law, equity, or otherwise, based in whole or in part on any act, omission, transaction,
event or other occurrence: in connection with or arising from the Debtors’ Chapter 11 Cases, the
pursuit of confirmation of the Plan, the Consummation thereof, the administration thereof or the
property to be distributed thereunder; provided, that the foregoing shall not operate as a waiver of
or release from any causes of action resulting from the willful misconduct, actual fraud, or gross
negligence. For the avoidance of doubt, nothing in this Plan or in the Confirmation Order shall be
deemed to release the Debtors and their Insiders, members, shareholders, representatives, advisors,
employees, agents or other professionals.

       9.02    [Reserved]

       9.03    Exculpation and Limitation of Liability

        The Exculpated Parties will neither have nor incur any liability to any Entity for any claims
or causes of action arising from any act taken or omitted to be taken during the Exculpation Period
to the extent section 1125(e) of the Bankruptcy Code applies to such act or omission; provided,
however, that the foregoing provisions will have no effect on the liability of any entity that results
from any such act or omission that is determined in a Final Order of the Bankruptcy Court or other
court of competent jurisdiction to have constituted gross negligence or willful misconduct.
Further, other than with respect to the Wind-Down Manager, the Exculpated Parties shall not be
exculpated for any action or inaction related to the commencement of the Chapter 11 Cases,
including the filing of the bankruptcy petitions or any decision not to dismiss the Chapter 11 Cases.




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       9.04   Injunction

        (a)     In accordance with Bankruptcy Code section 1141(d)(3), the Plan does not
discharge the Debtors. Bankruptcy Code section 1141(c) nevertheless provides, among other
things, that the property dealt with by the Plan is free and clear of all Claims and Interests
against the Debtors. Consistent with the preceding sentence, except as otherwise expressly
provided in the Plan, the Plan Supplement, related documents, or for obligations issued
pursuant to the Plan, all Entities who have held, hold or may hold Claims or Interests that
have been released pursuant to the Plan or as to which the Plan provides for classification
and treatment or that are subject to the exculpatory provisions herein, are permanently
enjoined from taking any of the following actions from and after the Effective Date: (i)
commencing or continuing in any manner any action or other proceeding of any kind against
the Debtors (but solely to the extent such action is brought against the Debtor to directly or
indirectly recover upon any Assets of the Estate, including, without limitation, any such
Assets that vest in the Liquidation Trust, as applicable, upon the Effective Date), or the
Liquidating Trust on account of or in connection with or with respect to any such Claims or
Interests; (ii) enforcing, attaching, collecting or recovering by any manner or means any
judgment, award, decree or order against the Debtors or the Liquidating Trustee on account
of or in connection with or with respect to any such Claims or Interests; and (iii) creating,
perfecting or enforcing any encumbrance of any kind against any Debtors or the Liquidating
Trust or the property of the Estates or the Liquidating Trust on account of in connection
with or with respect to any such Claims or Interests.

         (b)    Except as otherwise provided in this Plan, or to the extent necessary to enforce
the terms and conditions of this Plan, the Confirmation Order or a separate Order of the
Bankruptcy Court, all Entities who have held, hold, or may hold Claims against or Interests
shall be permanently enjoined from taking any of the following actions against any of the
Assets of the Estates or the Liquidating Trust or any other asset or to be distributed under
the Plan on account of any such Claims or Interests: (i) commencing or continuing, in any
manner or in any place, any action, cause of action, or other proceeding; (ii) enforcing
attaching, collecting, or recovering in any manner any judgment, award, decree, or order;
(iii) creating, perfecting or enforcing any lien; (iv) asserting a setoff (except to the extent
such setoff was exercised prior to the Petition Date), or the right of subrogation of any kind
against any debt, liability, or obligation due to the Debtor; and (v) commencing or
continuing, in any manner or in any place, any action, cause of action, or other proceeding
against any of the Assets or Liquidating Trust’s Assets or any other assets to be distributed
under this Plan that does not comply with or is inconsistent with the provisions of this Plan.

       (c)    Nothing in this section shall prevent the Liquidating Trustee or the
Liquidating Trust from prosecuting the Liquidating Trust Assets or commencing any action
or other proceeding of any kind against any party other than with respect to conduct after
the Petition Date.

      (d)    Notwithstanding the foregoing clauses, all Entities shall only be enjoined from
commencing or continuing in any manner any action or other proceeding of any kind against
an Exculpated Party for any matter expressly covered by Section 9.03 herein.



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                               ARTICLE X.
                CONDITIONS TO CONFIRMATION AND EFFECTIVE DATE

       10.01 Conditions Precedent to Confirmation

       It shall be a condition to Confirmation hereof that the following provisions, terms and
conditions shall have been satisfied or waived pursuant to Section 10.03 herein:

              (a)     The Bankruptcy Court shall have entered an Order in a form and substance
reasonably acceptable to the Plan Proponent and Cerberus approving the Plan on a final basis and
determining, with respect to solicitation of the Plan as containing adequate information within the
meaning of section 1125 of the Bankruptcy Code.

       10.02 Conditions Precedent to the Effective Date

       It shall be a condition to the Effective Date that the following provisions, terms and
conditions shall have been satisfied or waived pursuant to Section 10.03.

               (a)    The Bankruptcy Court shall have entered an order, in form and substance
acceptable to the Plan Proponent and Cerberus, confirming the Plan pursuant to section 1129 of
the Bankruptcy Code.

              (b)     All authorizations, consents and regulatory approvals required, if any, in
connection with the Plan’s effectiveness shall have been obtained.

               (c)     No order of a court restraining the Plan Proponent from consummating the
Plan and the transactions contemplated therein shall have been entered and remain in effect, and
the Confirmation Order shall be in full force and effect.

                (d)    All actions, documents (including the Liquidating Trust Agreement),
certificates and agreements necessary to implement the Plan shall have been effected or executed
and delivered to the required parties and, to the extent required, filed with the applicable
Governmental Units in accordance with applicable laws, and are in form and substance, acceptable
to the Plan Proponent.
       10.03 Waiver of Conditions

        The conditions to Confirmation of the Plan and to the occurrence of the Effective Date set
forth in this Article X may be waived in whole or in part at any time by the Plan Proponent;
provided, however, that waiver of any of the conditions set forth in 10.01, 10.02 (a), and (d) (with
respect only to the Liquidating Trust Agreement) shall also require the written consent of Cerberus.

       10.04 Effect of Failure of Conditions

        If the Effective Date does not occur prior to December 1, 2023, the Plan shall be null and
void in all respects and nothing contained in the Plan shall: (i) constitute a waiver or release of any
claims by or Claims against the Debtors or their Estates; (ii) prejudice in any manner the rights of
the Debtors, any Holders of Claims or Interests, or any other entity; or (iii) constitute an admission,


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acknowledgment, offer or undertaking by the Debtors, any Creditors or Interest Holders or any
other entity in any respect.

       10.05 Filing of Notice of the Effective Date.

       On the Effective Date or as shortly thereafter as reasonably practicable, the Liquidating
Trustee shall File a notice of the Effective Date with the Bankruptcy Court.

                               ARTICLE XI.
               MODIFICATION, REVOCATION OR WITHDRAWAL OF PLAN

       11.01 Modification and Amendments

        Except as otherwise specifically provided herein, the Plan Proponent reserve the right to
modify the Plan as to material terms and seek Confirmation consistent with the Bankruptcy Code
and Bankruptcy Rules and, as appropriate, not re-solicit votes on such modified Plan. Subject to
certain restrictions and requirements set forth in section 1127 of the Bankruptcy Code and
Bankruptcy Rule 3019 and those restrictions on modifications set forth in the Plan, the Plan
Proponent expressly reserves its right to alter, amend or modify materially the Plan, one or more
times, after Confirmation, and, to the extent necessary, may initiate proceedings in the Bankruptcy
Court to so alter, amend or modify the Plan or remedy any defect or omission, or reconcile any
inconsistencies in the Plan, the Disclosure Statement or the Confirmation Order, in such matters
as may be necessary to carry out the purposes and intent of the Plan. Any such modification or
supplement shall be considered a modification of the Plan and shall be made in accordance with
this Article. In addition, prior to the Effective Date, the Plan Proponent may make appropriate
technical adjustments and modifications to the Plan, without further order or approval of the
Bankruptcy Court; provided, however, that such technical adjustments and modifications do not
adversely affect in a material way the treatment of Holders of Allowed Claims or Interests.
Notwithstanding the foregoing, the Plan Proponent’s rights to make any modifications to the Plan
are subject to the requirement of obtaining Cerberus’s prior written consent.

       11.02 Effect of Confirmation on Modifications

        Entry of a Confirmation Order means that all modifications or amendments to the Plan
authorized by Section 11.01 above occurring after the commencement of the solicitation of votes
on the Plan and prior to entry of the Confirmation Order are approved pursuant to section 1127(a)
of the Bankruptcy Code and do not require additional disclosure or re-solicitation under
Bankruptcy Rule 3019.

       11.03 Revocation or Withdrawal of the Plan

        The Plan Proponent reserves the right to revoke or withdraw the Plan before the Effective
Date, which will not affect the rights of Cerberus and the Purchaser under the terms of the Asset
Purchase Agreement, the Term Sheet, the Sale Order, and any other orders of the Bankruptcy
Court. If the Plan Proponent revokes or withdraws the Plan, or if the Confirmation Date or the
Effective Date does not occur, then: (i) the Plan shall be null and void in all respects; (ii) any
settlement or compromise embodied in the Plan (including the fixing or limiting to an amount
certain of any Claim or Interest or Class of Claims or Interests but, for the avoidance of doubt,


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expressly excluding the Term Sheet), assumption or rejection of any Executory Contracts or
Unexpired Leases effected by the Plan, and any document or agreement executed pursuant to the
Plan shall be deemed null and void; and (iii) nothing contained in the Plan shall (a) constitute a
waiver or release of any Claims or Interests or Claims by the Debtors against any other entity; (b)
prejudice in any manner the rights of the Debtors, the Holder of any Claim or Interest or any other
entity; or (c) constitute an admission, acknowledgement, offer or undertaking of any sort by the
Debtors or any other entity. For the avoidance of doubt, the Cash Collateral Order, the Sale Order,
the Term Sheet and all other orders of the Bankruptcy Court shall remain in effect and binding
notwithstanding any revocation or withdrawal of the Plan.

                                     ARTICLE XII.
                                       JURISDICTION

       12.01 Bankruptcy Court Jurisdiction

        Notwithstanding the entry of the Confirmation Order or the occurrence of the Effective
Date, the Bankruptcy Court shall retain and have exclusive jurisdiction over the Chapter 11 Cases
to the maximum extent legally permissible, including, without limitation, for the following
purposes:

               (a)    To allow, disallow, determine, liquidate, classify or establish the priority or
secured or unsecured status of or estimate any Claim or Interest not already Allowed hereunder,
including, without limitation, the resolution of any request for payment of any Administrative
Expense and the resolution of any and all objections to the allowance or priority of Claims or
Interests;

              (b)   To ensure that Distributions to Holders of Allowed Claims are
accomplished pursuant to the provisions of the Plan;

                (c)    To determine any and all applications or motions pending before the
Bankruptcy Court on the Effective Date of the Plan, including without limitation any motions for
the rejection, assumption or assumption and assignment of any Executory Contract;

              (d)    Any litigation commenced by the Liquidating Trustee, including Avoidance
Actions and commercial tort claims including, without limitation, any and all claims against the
Debtors’ managers, officers and directors.

               (e)   To consider and approve any modification of the Plan, remedy any defect
or omission, or reconcile any inconsistency in the Plan, or any order of the Bankruptcy Court,
including the Confirmation Order;

                (f)   To determine all controversies, suits and disputes that may arise in
connection with the interpretation, enforcement or consummation of the Plan or any related
documents, or any entity’s obligations in connection with the Plan or any Plan Documents, or to
defend any of the rights, benefits, Estates property transferred, created, or otherwise provided or
confirmed by the Plan or the Confirmation Order or to recover damages or other relief for
violations thereof;



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                (g)     To consider and act on the compromise and settlement of any claim or cause
of action by or against the Debtors, their Estates, the Liquidating Trust, or the Liquidating Trustee;

               (h)    To decide or resolve any and all applications, motions, adversary
proceedings, contested or litigated matters, and any other matters, or grant or deny any applications
involving the Debtors, or their Estates that may be pending on the Effective Date or that may be
brought by the Debtors or the Liquidating Trustee, or any other related proceedings by the
Liquidating Trustee, and to enter and enforce any default judgment on any of the foregoing;

               (i)     To adjudicate any disputes regarding the Debtors’ insurance policies;

               (j)     To decide or resolve any and all applications for compensation;

               (k)     To issue orders in aid of execution and implementation of the Plan or any
Plan Documents to the extent authorized by section 1142 of the Bankruptcy Code or provided by
the terms of the Plan;

             (l)     To decide issues concerning the federal or state tax liability of the Debtors
which may arise in connection with the confirmation or consummation of the Plan or any Plan
Documents;

              (m)     To interpret and enforce any orders entered by the Bankruptcy Court in the
Chapter 11 Cases; and

               (n)     To enter an order or orders closing the Chapter 11 Cases.

       12.02 Limitation on Jurisdiction

In no event shall the provisions of the Plan be deemed to confer in the Bankruptcy Court
jurisdiction greater than that established by the provisions of 28 U.S.C. §§ 157 and 1334, as well
as the applicable circumstances that continue jurisdiction for defense and enforcement of the Plan
and Plan Documents. For the avoidance of doubt, however, such jurisdiction shall be deemed, by
the entry of the Confirmation Order, to:

              (a)        Permit entry of a final judgment by the Bankruptcy Court in any core
proceeding referenced in 28 U.S.C. § 157(b) and to hear and resolve such proceedings in
accordance with 28 U.S.C. § 157(c) and any and all related proceedings, including, without
limitation, (i) all proceedings concerning disputes with, or causes of action or other claims against,
any Person that the Debtors, the Estates, or the Liquidating Trust or any of their successors or
assigns, may have, and (ii) any and all causes of action or other claims against any Person for harm
to or with respect to any Asset of the Estate (x) conversion of such property, or (y) any property
liened or transferred by the Debtors to any other Person;

            (b)       Include jurisdiction over the recovery of any Property of the Estates (or
property transferred by the Debtors with Bankruptcy Court approval) from any Person wrongly
asserting ownership, possession or control of the same, whether pursuant to sections 542, 543, 549,
and/or 550 of the Bankruptcy Code or otherwise, as well as to punish any violation of the automatic



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stay under section 362 of the Bankruptcy Code or any other legal rights of the Debtors or their
Estates under or related to the Bankruptcy Code; and

            (c)       Permit the taking of any default judgment against any Person who has
submitted himself or herself to the jurisdiction of the Bankruptcy Court.
                                     ARTICLE XIII.
                                      MISCELLANEOUS

       13.01 Exemption from Taxes

                (a)   The Plan and the Confirmation Order provide for (a) the issuance, transfer
or exchange of notes, debt instruments and equity securities under or in connection with the Plan;
and (b) the creation, execution and delivery of agreements or other documents creating or
evidencing the formation of the Liquidating Trust and any right or interest in the Liquidating Trust.
Pursuant to section 1146 of the Bankruptcy Code and the Plan, any such act described or
contemplated herein will not be subject to any stamp tax, transfer tax, filing or recording tax, or
other similar tax.

       13.02 Compliance with Tax Requirements

         Notwithstanding anything to the contrary in this Plan, the Liquidating Trustee shall be
entitled to deduct any federal, state or local withholding taxes from any Distributions made with
respect to Allowed Claims, as appropriate. The Liquidating Trustee shall be authorized to take all
actions necessary to comply with applicable withholding and reporting requirements, including,
without limitation, applying a portion of any Distribution of Cash to be made under the Plan to
pay applicable withholding Taxes. Any amounts withheld pursuant to the immediately preceding
sentence will be deemed to have been distributed and received by the applicable recipient for all
purposes of the Plan. Notwithstanding any other provision of the Plan, each Holder of an Allowed
Claim that has received a Distribution under the Plan shall have sole and exclusive responsibility
for the satisfaction or payment of any tax obligation imposed by any Governmental Unit, including
income, withholding and other tax obligation, on account of such Distribution. The Liquidating
Trustee shall have the right, but not the obligation, to not make a Distribution until the applicable
recipient has made arrangements satisfactory for the payment of any Tax obligations. For tax
purposes, Distributions received in respect of Allowed Claims will be allocated first to the
principal amount of such Claims until such principal amount is paid in full and then to any interest
accrued on such Claim prior to the Petition Date, and the remaining portion of such Distributions,
if any, will apply to any interest on such Claim after the Petition Date. The Liquidating Trustee
shall be authorized to require each Holder of a Claim to provide it with an executed Form W-9,
Form W-8, or any other tax form, documentation or certification as may be requested by the
Liquidating Trustee as a condition precedent to being sent a Distribution. If a Holder of an
Allowed Claim does not provide the Liquidating Trustee with an executed Form W-9, Form W-8
or other requested tax form within 90 days after the date of the Liquidating Trustee’s initial request,
the Liquidating Trustee may, in its sole discretion (a) make such Distribution net of applicable
withholding or (b) reserve such Distribution, in which case (i) such Holder shall be deemed to have
forfeited the right to receive any Distribution under the Plan, (ii) any such Distribution shall revert
to the Liquidating Trust, for Distribution on account of other Allowed Claims and (iii) the Claim



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of the Holder originally entitled to such Distribution shall be irrevocably waived and forever barred
without further order of the Bankruptcy Court. The rights and obligations of the Liquidating
Trustee to allocate and distribute all Distributions made under the Plan in compliance with all
applicable wage garnishments, alimony, child support and other spousal awards, liens and similar
encumbrances is expressly preserved.

       13.03 Defenses and Setoff

        Nothing contained in this Plan shall constitute a waiver or release by the Debtors, their
Estates, or the Liquidating Trustee, of any rights in respect of legal and equitable objections,
defenses, setoffs, or recoupment other than Waived Claims. To the extent permitted by applicable
law, and subject to the waiver of the Waived Claims the Liquidating Trustee may, but shall not be
required to, set off or recoup against any Claim and the payments or other Distributions to be made
under the Plan in respect of such Claim, claims of any nature whatsoever that arose before the
Petition Date that the Debtors, their Estates, or the Liquidating Trust may have against the Holder
of such Claim or Interest.

       13.04 Governing Law

        Except to the extent the Bankruptcy Code or the Bankruptcy Rules are applicable, the rights
and obligations arising under the Plan shall be governed by and construed and enforced in
accordance with the laws of the State of Delaware, without giving effect to the principles of
conflicts of law thereof.

       13.05 Successors and Assigns

        The rights, benefits and obligations of any Entity named or referred to in the Plan or any
related document shall be binding on, and shall inure to the benefit of any heir, executor,
administrator, successor or assign of such Entity.

       13.06 Transfer of Claims

        Any transfer of a Claim shall be in accordance with Bankruptcy Rule 3001(e) and the terms
of this Section. Notice of any such transfer shall be forwarded to counsel for the Debtors and the
Liquidating Trustee. Both the transferee and transferor shall execute a notice and the signatures
of the parties shall be acknowledged before a notary public. The notice must clearly describe the
Claim to be transferred. No partial transfer of a Claim shall be allowed. All transfers must be of
one hundred percent (100%) of the transferor’s interest in the Claim.

       13.07 Post-Effective Date Service List

        Pursuant to Bankruptcy Rule 2002 and any applicable Local Rule, notice of all post-
Confirmation matters for which notice is required to be given shall be deemed sufficient if served
upon counsel for the U.S. Trustee, counsel to the Debtors, counsel for the Liquidating Trustee, and
all persons on the Bankruptcy Rule 2002 service list as well as any parties who may be affected
by the relief sought.. With the exception of the Debtors, Cerberus, and the U.S. Trustee, any
Person desiring to remain on the Bankruptcy Rule 2002 service list shall be required to file a
request for continued service and to serve such request upon counsel to the Liquidating Trustee


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within thirty (30) days subsequent to the Effective Date. Persons shall be notified of such
continued notice requirements in the notice of entry of the Confirmation Order. Persons who do
not file a request for continued service within thirty (30) days subsequent to the Effective
Date shall be removed from the Bankruptcy Rule 2002 service list.

       13.08 PBGC Reservation of Rights

        Nothing in the Chapter 11 Plan or Confirmation Order shall in any way be construed to
discharge, release, limit, or relieve any party in interest (as defined in 29 U.S.C. § 1002(14)) or
fiduciary (as defined in 29 U.S.C. § 1002(21)) from any liability under Title I of the Employee
Retirement Income Security Act of 1974 with respect to the Stanadyne, LLC Pension Plan (the
“Pension Plan”) or any other defined benefit pension plan under any law, governmental policy, or
regulatory provision. Notwithstanding the foregoing (i) nothing herein is intended to modify the
Sale Order in any respect, including the PBGC Settlement in section 5.2 of the Sale Order and the
releases contained therein, and to the extent of any inconsistency, the Sale Order governs in all
respects and (ii) the provisions in Section 4.03(d) of the Chapter 11 Plan shall remain in full force
and effect. Nothing in the Chapter 11 Plan or the Confirmation Order shall enjoin the PBGC or
the Pension Plan from enforcing any liability or responsibility that has not been released in the
Sale Order, the Chapter 11 Plan, or the Confirmation Order.

       13.09 Notices

        To be effective, any pleading, notice or other document required by the Plan or the
Confirmation Order to be served on or delivered to counsel to the Debtors, the Committee,
Cerberus, and the U.S. Trustee must be sent by overnight delivery service, facsimile transmission,
courier service or messenger to:

       (a)     If to the Debtors:

               Michael R. Nestor, Esquire
               Andrew L. Magaziner, Esquire
               Ashley E. Jacobs, Esquire
               YOUNG CONAWAY STARGATT &
               TAYLOR, LLP
               1000 North King Street
               Rodney Square
               Wilmington, Delaware 19801-6108
               Email: mnestor@ycst.com
               amagaziner@ycst.com
               ajacobs@ycst.com

                       -and-

               Kathryn A. Coleman, Esquire
               Christopher Gartman, Esquire
               Jeffrey S. Margolin, Esquire
               HUGHES HUBBARD & REED LLP


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        One Battery Park Plaza
        New York, NY 10004-1482
        Email: katie.coleman@hugheshubbard.com
        chris.gartman@hugheshubbard.com
        jeff.margolin@hugheshubbard.com

(b)     If to the Committee:


        Jeffrey R. Waxman, Esquire
        Eric J. Monzo, Esquire
        MORRIS JAMES LLP
        500 Delaware Avenue, Suite 1500
        Wilmington, DE 19801
        Telephone: (302) 888-6800
        Facsimile: (302) 571-1750
        E-mail: jwaxman@morrisjames.com
        E-mail: emonzo@morrisjames.com

               -and-

        Adam C. Rogoff, Esquire
        Rose Hill Bagley, Esquire
        KRAMER LEVIN NAFTALIS & FRANKEL LLP
        1177 Avenue of the Americas
        New York, NY 10036
        Telephone: (212) 715-9100
        E-mail: arogoff@kramerlevin.com
        E-mail: rbagley@kramerlevin.com

(c)     If to Cerberus:

        Michael L. Tuchin, Esquire
        David A. Fidler, Esquire KTBS LAW LLP
        1801 Century Park East, 26th Floor
        Los Angeles, CA 90067
        Telephone: (310) 407-4000
        Facsimile: (310) 407-9090
        E-mail: mtuchin@ktbslaw.com
        E-mail: dfidler@ktbslaw.com

(d)     If to the U.S. Trustee:

        Office of the U.S. Trustee
        844 King St., Suite 2207
        Lockbox 35
        Wilmington, DE 19801


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                Attn: Jane Leamy Esquire
                E-mail: jane.m.leamy@usdoj.gov

        13.10 Immediate Binding Effect

        Notwithstanding Bankruptcy Rules 3020(e), 6004(h) and 7062 and/or any other
Bankruptcy Rule, upon the occurrence of the Effective Date, the terms of the Plan shall be
immediately effective and enforceable and deemed binding upon the Debtors, the Liquidating
Trustee, any and all Holders of Claims and Interests (irrespective of whether such Claims or
Interests are Allowed or Disallowed or were voted to accept or reject the Plan), all Entities that are
parties to or are subject to the settlements, compromises, releases, discharges and injunctions
described in the Plan, each entity acquiring property under the Plan, and any and all non-debtor
parties to Executory Contracts and Unexpired Leases.

        13.11 Severability of Plan Provisions

        If, before the Effective Date of the Plan, any term or provision of the Plan is held by the
Bankruptcy Court or any other court exercising jurisdiction to be invalid, void or unenforceable,
the Bankruptcy Court or other court exercising jurisdiction shall have the power to alter and
interpret such term or provision to make it valid or enforceable to the maximum extent practicable,
consistent with the original purpose of the term or provision held to be invalid, void or
unenforceable, and such term or provision shall then be applicable as altered or interpreted so long
as such term or provision is acceptable to the Plan Proponent and Cerberus. Notwithstanding any
such holding, alteration or interpretation, the remainder of the terms and provisions of the Plan
will remain in full force and effect and will in no way be affected, impaired or invalidated by such
holding, alteration or interpretation. The Confirmation Order shall constitute a judicial
determination and shall provide that each term and provision of the Plan, as it may have been
altered or interpreted in accordance with the foregoing, is (i) valid and enforceable pursuant to its
terms; (ii) integral to the Plan and may not be deleted or modified without the Plan Proponent’s
consent; and (iii) non-severable and mutually dependent.

        13.12 Exhibits

        All exhibits and documents included in the Plan Supplement are incorporated into and are
a part of the Plan as if set forth in full in the Plan, to the extent not inconsistent with the Plan. The
Plan Proponent reserves the right to amend the exhibits and schedules to the Plan any time prior
to Confirmation.

        13.13 Votes Solicited in Good Faith

         Upon entry of the Confirmation Order, the Plan Proponent will be deemed to have solicited
votes on the Plan in good faith and in compliance with the Bankruptcy Code and any applicable
non- bankruptcy law, and pursuant to section 1125(e), the Plan Proponent and its respective
affiliates, agents, representatives, members, principals, shareholders, officers, directors,
employees, advisors and attorneys will be deemed to have participated in good faith and in
compliance with the Bankruptcy Code, including, if applicable, in the offer, issuance, sale and
purchase of any Plan securities (if any) provided under the Plan, and, therefore, will have no



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liability for the violation of any applicable law, rule or regulation governing the solicitation of
votes on the Plan.

       13.14 Conflicts

        If there is a conflict between this Plan and a Plan Supplement document, the Plan
Supplement document, as applicable, shall govern and control. If any provision of this Plan
(including a Plan Supplement) conflicts with or is in any way inconsistent with any provision of
the Confirmation Order, the Confirmation Order shall govern and control.

       In the event of any inconsistency between the Plan and any of: (1) the Sale Order, (2) the
Term Sheet and (3) the Cash Collateral Order, the Sale Order, Term Sheet and/or Cash Collateral
Order, as applicable, shall control over the Plan.

       13.15 U.S. Trustee Fees

        All U.S. Trustee Fees due and payable prior to the Effective Date pursuant to Section 1930
of Title 28 of the U.S. Code, together with the statutory rate of interest set forth in section 3717 of
Title 31 of the U.S. Code to the extent applicable shall be paid by the Debtors on the Effective
Date. The Debtors shall file all monthly operating reports due prior to the Effective Date when
they become due. On and after the Effective Date, neither the Debtors nor the Liquidating Trustee
shall remain obligated to pay such U.S. Trustee Fees. The U.S. Trustee shall not be required to
File any Administrative Expense in the case and shall not be treated as providing any release under
the Plan.

       13.16 Implementation

        The Plan Proponent shall be authorized to perform all reasonable, necessary and authorized
acts to consummate the terms and conditions of the Plan and the Plan Documents, without further
order from the Bankruptcy Court.




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       13.17 No Admissions

        Unless expressly provided for herein, nothing contained in the Plan shall be deemed an
admission by the either the Plan Proponent or the Debtors with respect to any matter set forth
herein, including, without limitation, liability on any Claim or Interest or the propriety of the
classification of any Claim or Equity.

 Dated: September 25, 2023

                                              MORRIS JAMES LLP

                                              /s/
                                              Jeffrey R. Waxman (DE Bar No. 4159)
                                              Eric J. Monzo (DE Bar No. 5214)
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                                                      -and-

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                                              Counsel to the Official Committee of
                                              Unsecured Creditors




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             EXHIBIT A
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             EXHIBIT B
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                                                         Exhibit B
                                                  Liquidation Analysis
I. INTRODUCTION
        The Plan Proponents, with the assistance of their restructuring, legal, and financial advisors, have
prepared this hypothetical liquidation analysis (the “Liquidation Analysis”) in connection with the Plan
pursuant to chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”).1
        Under the “best interests” of creditors test set forth in section 1129(a)(7) of the Bankruptcy Code,
the Bankruptcy Court may not confirm a chapter 11 plan unless the plan provides each holder of an impaired
Claim against or Interest in the Debtors either (i) has accepted the Plan or (ii) will receive or retain under
the Plan property of a value, as of the Effective Date, that is not less than the amount that such Person would
receive if the Debtors were liquidated under chapter 7 of the Bankruptcy Code. To demonstrate that the
proposed Plan satisfies the “best interests” of creditors test under section 1129(a)(7) of the Bankruptcy
Code, the following Liquidation Analysis was prepared to compare hypothetical recoveries under a chapter
7 liquidation to the estimated recoveries under the chapter 11 liquidation contemplated in the Plan.

Statement of Limitations

         The determination of the costs of, and potential litigation proceeds from, both the proposed chapter
11 plan of liquidation and a hypothetical liquidation of the Debtors’ assets in a chapter 7 case is an uncertain
process involving the extensive use of significant estimates and assumptions that, although considered
reasonable by the Plan Proponents together with their legal and financial advisors, are inherently subject to
significant business, economic, and competitive uncertainties and contingencies beyond the control of the
Plan Proponents and their advisors. Inevitably, some assumptions in the Liquidation Analysis may not
materialize, and unanticipated events and circumstances could materially affect the ultimate results in both
scenarios. The Liquidation Analysis was prepared for the sole purpose of generating a reasonable good faith
estimate of the creditor recoveries that may result under the Plan and under a hypothetical chapter 7
bankruptcy scenario. The Liquidation Analysis is not intended and should not be used for any other purpose.
The underlying financial information in the Liquidation Analysis was not compiled or examined by
independent accountants in accordance with standards promulgated by the American Institute of Certified
Public Accountants.

      THE LIQUIDATION ANALYSIS IS A HYPOTHETICAL EXERCISE THAT HAS BEEN
PREPARED FOR THE SOLE PURPOSE OF PRESENTING A REASONABLE GOOD FAITH
ESTIMATE OF THE PROCEEDS THAT WOULD BE REALIZED IF THE DEBTORS WERE
LIQUIDATED IN ACCORDANCE WITH CHAPTER 7 OF THE BANKRUPTCY CODE AS OF THE
PLAN EFFECTIVE DATE. THE LIQUIDATION ANALYSIS IS NOT INTENDED AND SHOULD
NOT BE USED FOR ANY OTHER PURPOSE. THE LIQUIDATION ANALYSIS DOES NOT
PURPORT TO BE A VALUATION OF THE DEBTORS’ ASSETS AS A GOING CONCERN, AND
THERE MAY BE A SIGNIFICANT DIFFERENCE BETWEEN THE LIQUIDATION ANALYSIS AND
THE VALUES THAT MAY BE REALIZED OR CLAIMS GENERATED IN AN ACTUAL
LIQUIDATION. NOTHING CONTAINED IN THE LIQUIDATION ANALYSIS IS INTENDED TO BE,
OR CONSTITUTES, A CONCESSION, ADMISSION, OR ALLOWANCE OF ANY CLAIM AGAINST
THE DEBTORS. THE ACTUAL AMOUNT OR PRIORITY OF ALLOWED CLAIMS IN THE
CHAPTER 11 CASES ARE CURRENTLY UNKNOWN AND COULD MATERIALLY DIFFER FROM
THE AMOUNTS ILLUSTRATED HEREIN. THERE CAN BE NO ASSURANCE THAT ACTUAL


1
 Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Jointly Proposed Combined
Disclosure Statement and Plan of Liquidation.

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RESULTS WOULD NOT VARY MATERIALLY FROM THE HYPOTHETICAL RESULTS
PRESENTED IN THE LIQUIDATION ANALYSIS.

Basis of Presentation

        The Liquidation Analysis is based on an estimate of assets and liabilities as of September 30, 2023
(except as otherwise indicated). As noted above, the actual assets available to the Debtors’ Estates and
expenses arising under both the Plan scenario and the chapter 7 liquidation scenario may differ from the
amounts illustrated in this Liquidation Analysis.

         The Plan Proponents have neither fully evaluated all claims filed against the Debtors or adjudicated
such claims before the Bankruptcy Court. Accordingly, the amount and priority of the final Allowed Claims
against the Debtors’ Estates may differ materially from the claim amounts used in the Liquidation Analysis.

         In preparing the Liquidation Analysis, the Plan Proponents together with their legal and financial
advisors reviewed the Debtors’ amended Schedules, various payments made pursuant to court orders (e.g.,
critical vendor payments), obligations assumed by the Purchaser (e.g., Go-Forward Creditors’ claims,
503(b)(9) Claims, contract cures and certain employee claims) and other sources of information in order to
assess the potential population of allowed claims against the Debtors. Note that the Liquidation Analysis
was prepared prior to the August 15, 2023 Governmental Unit Bar Date, and thus may exclude certain
unfiled or unknown governmental claims and such claims maybe material.

        The Liquidation Analysis compares the Plan to the hypothetical chapter 7 liquidation under two
scenarios: a low recovery scenario (the “Low”) and a high recovery scenario (the “High”).

Conversion Date and Appointment of Chapter 7 Trustee

        The Liquidation Analysis has been prepared assuming that the Debtors’ chapter 11 cases are
converted to chapter 7 cases on or about September 30, 2023 (the “Chapter 7 Conversion Date”). It is
assumed that, on the Chapter 7 Conversion Date, the Bankruptcy Court would appoint a chapter 7 trustee
who would oversee the liquidation of the Debtors’ Estates, during which time any of the Debtors’ remaining
assets would be monetized, and all of the Debtors’ cash proceeds, net of any liquidation-related costs and
other Administrative Expenses and Priority Claims, would be distributed in order to satisfy Allowed Claims
and interests in accordance with the priority scheme set forth in the Bankruptcy Code.

Substantively Consolidated Liquidation

         Consistent with the Plan, the Liquidation Analysis assumes that the Debtors would be liquidated in
a jointly administered and would be substantively consolidated for distribution purposes. Therefore, the
Liquidation Analysis assumes that each claim is filed against Stanadyne LLC and claims against multiple
Debtors will be disallowed. Consistent with the Plan, no Distributions are made on account of
intercompany claims. In the event that the Debtors were to be liquidated in separately administered chapter
7 cases, the administrative costs to the Debtors in each of the cases, including professional fees, chapter 7
trustee fees, and the Debtors’ operational costs would likely be higher than if the cases were consolidated.

Values
        Both the Plan and a chapter 7 proceeding would result in the complete liquidation of the Debtors.
As such, unless otherwise stated, the Liquidation Analysis is based on estimated recoveries under the Plan,
as adjusted for the impact of liquidating under a chapter 7 process.



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         The Plan Proponents believe that a chapter 7 liquidation would in general result in lower recoveries
due to a number of factors, including but not limited to higher chapter 7 trustee fees vs. the fees to be
charged by the Liquidating Trustee and higher estimated professional fees under the chapter 7 liquidation.
In addition, it is anticipated that there is a lower likelihood under the chapter 7 liquidation that the Estate
would be able to retain the services of certain individuals with the institutional knowledge necessary to
more efficiently wind-down the Estate, as such the estimated professional fees under the chapter 7
liquidation are anticipated to be higher due to this potential inefficiency.

Additional Global Notes and Assumptions

    The Liquidation Analysis should be read in conjunction with the following notes and assumptions:

    1. Chapter 7 liquidation costs and length of liquidation process. The Plan Proponents have assumed
       that liquidation would occur over approximately 12 months in order to pursue an orderly
       monetization of the Estate’s remaining assets, including the pursuit of Causes of Action, as well as
       to reconcile claims, arrange distributions and otherwise administer and close the Estates. In an
       actual chapter 7 liquidation, the wind-down process and time-period could vary significantly,
       thereby impacting recoveries. For example, it is possible that it may require a longer period of time
       to monetize certain assets, including the Causes of Action, and it is possible that certain Priority,
       Contingent, and other claims, litigation, and delays in the final determination of Allowed Claims
       could substantially impact both the timing and amount of the distribution of the asset proceeds to
       creditors. Accordingly, there can be no assurance that the values reflected in the Liquidation
       Analysis would be realized if the Debtors were, in fact, to undergo such a liquidation.

        Pursuant to section 726 of the Bankruptcy Code, the Allowed Administrative Expenses incurred
        by the chapter 7 trustee, including expenses associated with selling or otherwise monetizing the
        Debtors’ assets, the chapter 7 trustee professionals fees would be entitled to payment in full prior
        to any distributions to holders of Administrative Expense Claims and Priority Claims. The
        estimates used in the Liquidation Analysis for the chapter 7 trustee are pursuant to the fee guidelines
        in section 326(a) of the Bankruptcy Code. The estimate used in the Liquidation Analysis for these
        expenses calculates to an approximate 3.8% fee payable to a chapter 7 trustee based upon estimated
        proceeds available for distribution.

    2. Certain exclusions and assumptions. The Debtors’ 2022 and 2023 tax returns have not been
       prepared or filed, as such priority tax obligations, if any, may not have been fully factored into this
       Liquidation Analysis. Once fully determined and adjudicated, the final amount of Allowed Priority
       Claims could have a material impact on the potential recoveries illustrated herein. Additionally,
       this Liquidation Analysis also does not include recoveries resulting from any potential Causes of
       Action. Additionally, no value has been ascribed for the potential sale of the property located in
       Windsor, CT. Any potential environmental claims have been excluded from this analysis, as they
       are unknown, given the Governmental Bar Date has not passed at the time this analysis was
       prepared.

II. CONCLUSION

      THE PLAN PROPONENTS HAVE DETERMINED, AS SUMMARIZED IN THE
FOLLOWING LIQUIDATION ANALYSIS, THAT CONFIRMATION OF THE PLAN WILL
PROVIDE CREDITORS WITH A RECOVERY THAT IS NOT LESS THAN WHAT THEY MAY
OTHERWISE RECEIVE IN CONNECTION WITH A LIQUIDATION OF THE DEBTORS
UNDER CHAPTER 7 OF THE BANKRUPTCY CODE, AND AS SUCH BELIEVE THAT THE
PLAN SATISFIES THE REQUIREMENT OF 1129(A)(7) OF THE BANKRUPTCY CODE.

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III. LIQUIDATION ANALYSIS

                                                             Stanadyne LLC - Liquidation Analysis
                                                                                                     Chapter 7 Plan                       Chapter 11 Plan
                                                                                                 Low                High               Low                High
Proceeds
 Initial Distribution Fund                                                                      $ 2,625,000        $ 2,625,000        $ 2,625,000        $ 2,625,000
 Trust Funding Amount                                                                               375,000            375,000            375,000            375,000
 Causes of Action1                                                                                     TBD                TBD                TBD                TBD
Total Proceeds Available for Distribution                                                       $ 3,000,000        $ 3,000,000        $ 3,000,000        $ 3,000,000

Expenses
Est. Wind-Down Expenses                                                                          $ (675,750)        $ (563,250)        $ (455,000)        $ (380,000)

Net Proceeds Available After Wind-Down Expenses                                                 $ 2,324,250        $ 2,436,750        $ 2,545,000        $ 2,620,000

Administrative Claims 2                                                  Est. Claims
Total Est. Administrative Claims                                       $14.4M - $20.0M         $ 20,000,000       $ 14,350,000       $ 20,000,000       $ 14,350,000
 Recovery                                                                14.4M - 20.0M           20,000,000         14,350,000         20,000,000         14,350,000
 Recovery %                                                                                          100.0%             100.0%             100.0%             100.0%

Priority Claims
 Est. Priority Claims                                                    $0.0M - $1.7M          $ 1,700,000                $ -        $ 1,700,000                $ -
 Recovery                                                                  0.0M - 1.7M            1,700,000                  -          1,700,000                  -
 Recovery %                                                                                          100.0%                  -             100.0%                  -

General Unsecured Claims
 PBGC                                                                          $15.5M          $ 15,538,178       $ 15,538,178       $ 15,538,178       $ 15,538,178
 Est. SERP                                                                 4.2M - 7.1M            7,100,000          4,200,000          7,100,000          4,200,000
 Est. Other GUC Claims (excl. Cerberus Deficiency Claim)                   4.0M - 9.9M            9,900,000          4,000,000          9,900,000          4,000,000
 Est. Executory Contract Rejections                                        1.0M - 3.0M            3,000,000          1,000,000          3,000,000          1,000,000
Total Est. General Unsecured Claims                                    $25.1M - $35.5M         $ 35,538,178       $ 24,738,178       $ 35,538,178       $ 24,738,178
 Recovery                                                                                           624,250          2,436,750            845,000          2,620,000
 Recovery %                                                                                            1.8%               9.9%               2.4%              10.6%


1. Causes of Action are further described in the Plan. This analysis has not ascribed values to these claims due to their speculative nature. While Cerberus does
not participate in the Initial Distribution Fund, any distributions made by the Liquidating Trust to its beneficiaries from any Causes of Action or other assets of
the Liquidating Trust, other than the amount per the Initial Distribution Fund, shall be distributed pro rata to all beneficiaries of the Liquidating Trust, including
Cerberus on account of the Cerberus Deficiency Claim, which amount was set at $87,252,851.11 pursuant to the Term Sheet.
2. Paid Pursuant to the Asset Sale Transaction.




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IV. GENERAL ASSUMPTIONS AND NOTES

ESTIMATED PROCEEDS:

     1. Initial Distribution Fund

            Initial Distribution Fund means $2,625,000 available for payment of all Allowed Claims
        other than the Cerberus Deficiency Claim.

     2. Trust Funding Amount

            The amount stipulated in the settlement Term Sheet and approved per the Sale Order
        entered on July 11, 2023 [Docket No. 443], to fund the operation of the Liquidating Trust.

     3. Causes of Action

            Liquidating Trust Assets, including the Estates’ Causes of Action, remain Assets of the
        Debtors pursuant to the settlement Term Sheet. Such Estate Causes of Action will be
        transferred to and vested in the Liquidating Trust pursuant to the Plan. The Estates’ Causes of
        Action include Insider Avoidance Actions and Non-Go-Forward Commercial Tort Claims
        which are subject to insurance policies that carry a maximum of $10,000,000 in available
        insurance coverage. While certain potential Estates’ Causes of Action may exist, no value has
        been assigned to this item in this Liquidation Analysis, due to the significant uncertainty
        surrounding this contingent asset. There are no assurances that any of the Estates’ Causes of
        Action would be pursued by the chapter 7 trustee or the Liquidating Trustee.

            While pursuant to the settlement Term Sheet, Cerberus does not participate in the Initial
        Distribution Fund, any distributions made by the Liquidating Trust to its beneficiaries on
        account of any Causes of Action or other assets of the Liquidating Trust, other than the amount
        per the Initial Distribution Fund, shall be distributed pro rata to all beneficiaries of the
        Liquidating Trust, including Cerberus on account of the Cerberus Deficiency Claim.

ESTIMATED WIND-DOWN EXPENSES AND FEES:

     4. Estimated Wind-Down Expenses

             Under both scenarios we assume a 12-month wind-down period where professional fees
        and expenses are incurred. A description of the assumptions used to estimate total wind-down
        expenses under the hypothetical a chapter 7 liquidation and the chapter 11 liquidation assumed
        in the Plan are as follows:

            •   Est. Chapter 7 Trustee Fees: The chapter 7 trustee fees are estimated at
                approximately 3.8% of gross proceeds available for distribution, which is consistent
                with the estimated amount of assets available for distribution and the chapter 7 trustee
                fee guidelines set forth in Section 326(a) of the Bankruptcy Code.

            •   Est. Chapter 7 Professional Fees: Assumes chapter 7 professional fees are 50%
                higher than the amount estimated chapter 11 professionals. As previously discussed,
                there are certain inefficiencies anticipated under chapter 7, which would likely increase
                the costs as compared to the costs anticipated under the Plan. Chapter 7 professional


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                fees include the cost of attorneys, accountants, and other professionals that the chapter
                7 trustee would likely retain to assist in the liquidation process.

            •   Est. Wind-Down Professional Fees (Chapter 11 Liquidation): Per the settlement
                Term Sheet, the Liquidating Trustee shall be compensated as follows: (a) a quarterly
                fee of $20,000 plus (b) cash in an amount equal to 1.5% of the net proceeds of the
                Liquidating Trust litigation recoveries. Additionally, it is anticipated that the
                Liquidating Trustee will retain certain professionals to assist with claims reconciliation,
                asset recoveries, and other wind-down activities, as well as legal, tax, accounting and
                other administrative tasks associated with the wind-down.

            •   In both chapter 7 and chapter 11 scenarios, the Liquidation Analysis assumes that
                litigation counsel is engaged by the chapter 7 trustee or Liquidating Trustee, as
                applicable, on a contingency fee basis to pursue the Estates’ Causes of Action.
                Accordingly, estimated litigation professional fees in both scenarios exclude any costs
                associated with litigation counsel pursuing these potential actions.


ESTIMATED CREDITOR RECOVERIES:

     5. Administrative Claims (Paid Pursuant to the Asset Sale Transaction)

            Pursuant to the Asset Purchase Agreement, Term Sheet and Sale Order, the Purchaser has
        agreed to assume certain administrative liabilities that are subject to ongoing reconciliation and
        thus an estimated range of values is included in this Liquidation Analysis.

            •   Est. 503(b)(9): The Purchaser shall assume claims made under section 503(b)(9) of
                the Bankruptcy Code to the extent not paid by the Sellers at or prior to the Closing
                Date, which occurred on July 31, 2023, and in an amount no greater in the aggregate
                than an amount equal to (1) $1,500,000, less (2) any amounts paid by the Sellers for
                such Liabilities at or prior to the Closing Date, except, in the case of each of clauses
                1.3(c)(i) and 1.3(c)(ii) in the Asset Purchase Agreement, expressly excluding all
                Liabilities set forth on Schedule 1.3(c) to the Asset Purchase Agreement. Based on
                estimates, which are subject to change, as of the Closing Date, these claims were
                estimated to be below the $1,500,000 cap.

            •   Est. Contract Cures: The Purchaser shall assume all Determined Cure Costs with
                respect to any Assigned Contract as defined in the Asset Purchase Agreement. The
                amount reflected in the Liquidation Analysis is based on the available information at
                the time of the preparation of this Liquidation Analysis and is subject to change.

            •   Est. Post Petition Accounts Payable: The Purchaser shall assume undisputed post-
                Petition Date accrued trade payables of the Sellers incurred in the Ordinary Course of
                Business with respect to the Purchased Assets or Designation Rights Assets to the
                extent not paid by the Sellers at or prior to the Closing Date and in an amount no greater
                in the aggregate than an amount equal to (1) $12,000,000, less (2) any amounts paid
                by the Sellers for such Liabilities at or prior to the Closing Date. Based on the latest
                estimates, which are subject to change, as of the July 31, 2023 Closing Date these
                payables were estimated to be below the $12,000,000 cap.


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       •   Est. Employee Claims: Pursuant to the Sale Order, the Purchaser shall assume all
           Liabilities arising after the Petition Date with respect to wages and salaries, in each
           case, earned and accrued in the ordinary course of business with respect to the Sellers’
           employees as of the Closing Date to the extent not previously paid by the Sellers and
           not in excess of an amount equal to $3,500,000. Based on the latest estimates, which
           are subject to change, as of the July 31, 2023 Closing Date, these claims were estimated
           to be below the $3,500,000 cap.

6. Priority Claims

       Pursuant to section 507(a) of the Bankruptcy Code, a “Priority Claim” is entitled to
   priority in payment, that is not an Administrative Expense Claim or a Priority Tax Claim.
   “Priority Tax Claim” means a claim or portion of a Claim for which priority is asserted under
   section 507(a)(8) of the Bankruptcy Code.

       At the time this Liquidation Analysis was prepared, the amount of any potential Allowed
   Priority Tax Claims and Allowed Priority Non-Tax Claims is uncertain. Based on the Debtors’
   claim register, approximately 80 claims were filed by various claimants, including potential
   Claims of taxing authorities, employees, executory contracts, trade claimants, and other
   governmental agencies. Additionally, the validity of these potential asserted claims are
   unknown at this time. Furthermore, additional Priority Tax Claims and Priority Non-Tax
   Claims may be asserted prior to the Governmental Bar Date, including potential governmental
   entity claims related to the Debtors property located in Windsor, CT. An abandonment motion
   entered on August 2, 2023 [Docket No. 486] was filed related to the Debtors property located
   in Windsor, CT, at this time any claims arising from this motion are unknown and unquantified
   in the Liquidation Analysis. Given the uncertainty around these potential claims, this
   Liquidation Analysis assumes a range of $0 to $1,700,000 in order to illustrate the impact of
   potential Priority Claims.

7. General Unsecured Claims

       The Liquidation Analysis reflects the significant categories that comprise the General
   Unsecured Claims pool. General Unsecured Claims are under review and reconciliation; thus,
   the ranges illustrated in this Liquidation Analysis could vary materially.

       •   Pension Benefit Guarantee Corporation (“PBGC”): Reflects the $15,538,178.33
           PBGC Claim consistent with the PBGC Settlement approved per the Sale Order.

       •   Est. SERP: Supplemental Employee Retirement Plan ("SERP") claims are estimated
           to range between $4.2M based on information provided by the Debtors and certain
           assumptions included in the SERP Actuarial Valuation Report as of January 1, 2022,
           and $7.1M based upon an extrapolation of the Proofs of Claims filed by SERP
           participants.

       •   Est. Other GUC Claims (excl. Cerberus Deficiency Claim): Reflects an estimate of
           all remaining General Unsecured Claims (“GUC”) comprised of Trade and other
           claims. Note, the GUC claims are in the process of being reviewed and reconciled. As
           of the date of this Liquidation Analysis, no omni bus claims objection motions have
           been filed, as such actual amount Allowed GUC Claims is unknown and could be
           materially higher or lower than the amounts illustrated herein.


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  •   Est. Executory Contract Rejections: Upon initial review, it appears that the
      Purchaser has assumed the majority of Executory Contracts that may have resulted in
      material rejection damage claims. However, this review is incomplete and as a result,
      the Liquidation Analysis reflects a range of $1,000,000 to $3,000,000 as illustrative
      potential GUC rejection damage claims. The Purchaser has until the applicable
      Designation Deadline as defined in the Asset Purchase Agreement.




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                                     In re Stanadyne LLC, et al.
                              Case No. 23-10207 (Jointly Administered)
                                           Bankr. D. Del.

                                    SETTLEMENT TERM SHEET

        This term sheet (the “Term Sheet”) sets forth the terms of a comprehensive settlement in
the above-referenced chapter 11 cases (the “Chapter 11 Cases”) among the Prepetition Agent (as
defined below), the Purchaser (as defined below), and the Official Committee of Unsecured
Creditors appointed in the Chapter 11 Cases (the “Committee” 1 and, collectively with the
Prepetition Agent and the Purchaser, the “Parties”) with respect to that certain Asset Purchase
Agreement, dated as of May 8, 2023, by and among the debtors in possession in the above-
captioned cases (the “Debtors”) (other than Stanadyne PPT Group Holdings, Inc.) and Purchaser
(as the same may be amended, amended and restated, supplemented, or otherwise modified from
time to time, the “APA”) and all other matters related to any challenges, claims or causes of actions
against the Prepetition Agent, the Prepetition Secured Parties (as defined below) and/or the
Purchaser under the Cash Collateral Order, the APA, or otherwise, including such matters set forth
in the section titled “Prepetition Obligations and Release of Claims” below. Capitalized terms that
are not otherwise defined herein shall have the meanings ascribed to them in the APA.

    Settling Parties            a) The Prepetition Agent
                                b) The Purchaser
                                c) The Committee

                                The term “Prepetition Agent” refers to Cerberus Business Finance,
                                LLC, in its capacity as administrative agent and collateral agent for
                                the lenders (the lenders together with the Prepetition Agent,
                                collectively, the “Prepetition Secured Parties”) party to that certain
                                Financing Agreement, dated as of May 2, 2017 (as amended,
                                amended and restated, supplemented, or otherwise modified from
                                time to time).

                                The term “Purchaser” refers to Stanadyne Operating Company LLC
                                (formerly known as S-PPT Acquisition Company LLC), in its
                                capacity as Purchaser under the APA.

    Binding Agreement;          This Term Sheet shall constitute a binding agreement among the
    Conditions                  Parties; provided, the Parties rights and obligations under this Term
                                Sheet are conditioned upon (a) entry of an order approving the Sale
                                Order modified as necessary to reflect this Term Sheet and
                                attaching this Term Sheet as an exhibit, and (b) the occurrence of
                                the Closing.


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  The term “Committee” refers to the Official Committee of Unsecured Creditors appointed in the Chapter 11 Cases
in its capacity as such and not the rights or obligations of any member serving on the Committee in its individual
capacity.
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    Settlement Amount             The Parties agree that:

                                  a) subject to the terms hereof, the Purchaser will fund (or cause to
                                     be funded) $4,000,000 (the “Settlement Amount”) comprised of
                                     (i) the Wind-Down Funding Amount, (ii) the Trust Funding
                                     Amount, and (iii) the Initial GUC Distribution Amount, each as
                                     described below;

                                  b) the Trust Funding Amount and the Initial GUC Distribution
                                     Amount shall constitute additional “Purchase Price” under the
                                     APA;

                                  c) the Settlement Amount shall be allocated and funded as
                                     follows:

                                      i) $1,000,000, which shall be the amount of “Total
                                         Disbursements” in the Wind-Down Budget 2 to be finalized
                                         pursuant to Section 4.24 of the APA (the “Wind-Down
                                         Funding Amount”), and shall be funded at the Closing in
                                         accordance with the APA. The Wind-Down Budget, and
                                         any transition services agreement entered into pursuant to
                                         Section 8.16 of the APA shall be mutually acceptable to the
                                         Prepetition Agent, the Purchaser and the Committee, in
                                         consultation with the Debtors;

                                      ii) $375,000 (the “Trust Funding Amount”) to fund the
                                          operation of the Liquidating Trust (as defined below)
                                          consistent with the Liquidating Trust Agreement (as defined
                                          below), with such amount to be funded within five (5)
                                          business days following the effective date of Chapter 11
                                          plan (a “Plan”) establishing the Liquidating Trust. The Plan
                                          and documents governing the creation of the Liquidating
                                          Trust must be acceptable in form and substance to the
                                          Prepetition Agent and the Committee and may not alter or
                                          modify the terms of this Settlement Term Sheet, unless
                                          agreed to in writing by the Prepetition Agent and the
                                          Committee;

                                      iii) $2,625,000 (as such amount may be adjusted in accordance
                                           herewith, the “Initial GUC Distribution Amount”) for
                                           distribution to general unsecured creditors of the Debtors’
                                           estates other than the Prepetition Secured Parties, which
                                           amount shall be transferred to the Liquidating Trust within
                                           five (5) business days following its creation; provided,

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    The Wind-Down Budget is attached hereto as Exhibit 1.

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                            however, that if the actual costs and expenses of the matters
                            set forth in the Wind-Down Budget are less than
                            $1,000,000, such difference shall be delivered to the
                            Liquidating Trust and the amount of the Initial GUC
                            Distribution Amount shall be increased on a dollar-for-
                            dollar basis by the amount of such difference.

Purchaser Assumed   Each of the following, without duplication, shall constitute
Liabilities         “Assumed Liabilities” under the APA:

                    a) Liabilities, including Core Liabilities (as defined below), of the
                       Debtors incurred and outstanding as of the Closing Date with
                       respect to each customer of the Debtors that becomes a
                       customer of the Purchaser from and after the Closing Date;

                    b) Core Liabilities incurred and outstanding as of the Closing Date
                       with respect to customers of the Debtors that do not become
                       customers of the Purchaser from and after the Closing Date
                       solely to the extent such Core Liabilities are known as of the
                       Closing Date as (i) reflected in the Debtors’ books and records
                       or filed proofs of claim and (ii) set forth on a schedule of the
                       amounts of such Core Liabilities acceptable to the Purchaser
                       (or, if not acceptable, subject to objection by the Purchaser after
                       Closing), which schedule shall (A) separately list by customer
                       (x) the amount of such Core Liabilities as of the date that is
                       thirty (30) days prior to the Closing Date and (y) the estimated
                       amount of any incremental Core Liabilities between the date
                       that is thirty (30) days prior to the Closing Date and the Closing
                       Date and (B) be delivered by the Debtors to the Purchaser and
                       the Committee five (5) business days prior to the Closing Date,
                       provided, however, amounts with respect to the foregoing
                       clause (y) shall be subject to finalization within thirty (30) days
                       after Closing to account for continuing sales and returns during
                       such period through the Closing Date; and

                    c) Each Critical Vendor Claim (as defined in that certain Final
                       Order (I) Authorizing the Debtors to Pay Prepetition Claims of
                       (A) Domestic Critical Vendors, (B) Shippers, Warehousemen,
                       and other Lienholders, and (C) Foreign Vendors; (II)
                       Authorizing Banks to Honor and Process Related Checks and
                       Electronic Transfers; and (III) Granting Related Relief [Docket
                       No. 186]) to the extent not paid by the Debtors on or prior to the
                       Closing Date.

                    “Core Liabilities” means Liabilities of the Debtors owed to
                    customers of the Debtors as of the Closing Date in connection with

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                     the “core” refund program offered by the Debtors to certain of its
                     customers for applicable products actually and properly returned
                     and sold to the Debtors for remanufacture, provided that Core
                     Liabilities will only be Assumed Liabilities to the extent set forth
                     above in (a) and (b).

Estate Claims        Notwithstanding anything in the APA to the contrary, the Parties
                     agree that all Avoidance Actions shall be waived and shall not be
                     pursued by the Parties or any representative of any Debtor’s estate,
                     except that:

                     a) Avoidance Actions against insiders (as that term is defined in
                        11 U.S.C. § 101(31)) (“Insider Avoidance Actions”) shall not
                        be waived and shall comprise Excluded Assets; and

                     b) Avoidance Actions against non-insiders other than Go-Forward
                        Creditors (as defined below) (the “Preserved Avoidance
                        Claims”) shall not be waived and shall comprise Purchased
                        Assets under the APA; provided, however, that the Preserved
                        Avoidance Claims shall be preserved solely for the purpose of
                        permitting the Purchaser to set off such Preserved Avoidance
                        Claims against any claims of the applicable creditors (other than
                        Go-Forward Creditors) that constitute Assumed Liabilities
                        under the APA, and Purchaser shall not be entitled to any
                        affirmative recovery on account of any such Preserved
                        Avoidance Claims.

                     All commercial tort claims and causes of action belonging to the
                     Debtors’ estates (including, without limitation, any and all claims
                     the Debtors’ estates may have (i) against any officers and directors
                     of the Debtors and rights of the Debtors’ estates to any insurance
                     proceeds applicable thereto or (ii) related to or arising under or in
                     connection with that certain Contribution Agreement, dated as of
                     March 9, 2019, by and among Pure Power Technologies, Inc., Pure
                     Power Technologies, LLC, Stanadyne Parent Holdings, Inc., and
                     Stanadyne LLC, and the transactions contemplated thereby,
                     including, without limitation, any rights of the Debtors’ estates to
                     any insurance proceeds applicable thereto) other than such claims
                     against Go-Forward Creditors (as defined below) (collectively, the
                     “Non-Go-Forward Commercial Tort Claims”) shall comprise
                     Excluded Assets.

                     The Insider Avoidance Actions and the Non-Go-Forward
                     Commercial Tort Claims shall be collectively referred to herein as
                     the “Liquidating Trust Claims”. All Liquidating Trust Claims shall
                     be transferred to the Liquidating Trust on the effective date of the

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                       Liquidating Trust. The Trustee shall have authority to pursue all
                       Liquidating Trust Claims as a representative of the Debtors’ estates.

                       For the avoidance of doubt, the Parties waive all Avoidance
                       Actions and Commercial Tort Claims that the Debtors’ estates may
                       have against Go-Forward Creditors, and no Party shall be entitled
                       to any affirmative recovery or right of setoff with respect to any
                       such claims against Go-Forward Creditors.

                       The term “Go-Forward Creditors” as used herein means customers,
                       vendors, and other creditors who continue to do business with the
                       Purchaser after the Closing Date.

Designation Rights     If and solely to the extent and for so long as the Purchaser requests
Assets                 in writing that any Designation Rights Assets be maintained
                       following the Closing, the Purchaser shall fund any and all
                       maintenance costs, including lease costs and other third party costs,
                       actually incurred by the Debtors in connection with such requested
                       maintenance of the Designation Rights Assets, in accordance with
                       and solely to the extent set forth in Section 1.5(b) of the APA.

Windsor, CT Property   If and solely to the extent and for so long as the Purchaser requests
                       in writing that the Windsor, CT Property be maintained following
                       the Closing, the Purchaser shall fund the carrying costs actually
                       incurred by the Debtors in connection with such requested
                       maintenance of the Windsor, CT Property, including without
                       limitation, insurance and real property taxes.

                       If, subject to the terms of the APA, the Debtors sell the Windsor,
                       CT Property, the proceeds of such sale, net of only the costs of such
                       sale (as well as any unpaid carrying costs for which Purchaser is
                       responsible as set forth above), and incremental US Trustee fees
                       associated therewith, shall be paid to the Prepetition Agent for the
                       benefit of the Prepetition Secured Parties. The Debtors’ estates
                       shall cause such net proceeds to be delivered directly by the
                       purchaser of the Windsor, CT Property to the Prepetition Agent,
                       and the Deficiency Claim (as defined below) shall be reduced by
                       the amount of such net proceeds.

Liquidating Trust      The “Liquidating Trust” shall be:

                       a) a liquidating trust established for the benefit of the Debtors’
                          creditors and governed by a trust agreement in form and
                          substance acceptable to the Prepetition Agent and the
                          Committee (the “Liquidating Trust Agreement”);



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                                  b) administered by Brad Deitz, as trustee (the “Trustee”) 3 under
                                     the supervision of the Liquidating Trust Board (as defined
                                     below) and in accordance with the terms of the Liquidating
                                     Trust Agreement;

                                  c) overseen by an oversight board consisting of two members: (i)
                                     one member appointed by the Prepetition Agent and (ii) one
                                     member appointed by the Committee (the “Liquidating Trust
                                     Board”);

                                  d) administered for the benefit of the Debtors’ unsecured creditors
                                     with respect to unsatisfied general unsecured claims and the
                                     Prepetition Secured Parties with respect to the Deficiency
                                     Claim.

                                  The Trustee shall be compensated as follows: (a) a quarterly fee of
                                  $20,000 plus (b) cash in an amount equal to 1.5% of the net
                                  proceeds of the Liquidating Trust litigation recoveries.

                                  The Liquidating Trust Agreement shall provide that, in the event of
                                  a tie in connection with any decision subject to a vote of the
                                  Liquidating Trust Board, the final decision shall be made by the
                                  Trustee.

    Funding and Purpose of        Upon the creation of the Liquidating Trust, the Trust Funding
    Liquidating Trust             Amount, the Initial GUC Distribution Amount, and Liquidating
                                  Trust Claims shall be transferred to the Liquidating Trust as set
                                  forth above.

                                  The Trustee shall be empowered to: (i) assert, litigate, settle, and/or
                                  otherwise resolve the Liquidating Trust Claims for the benefit of
                                  the Liquidating Trust and its beneficiaries and (ii) resolve, litigate,
                                  and/or object to claims against the Debtors’ estates other than
                                  claims allowed hereunder or by the Bankruptcy Court.

                                  The proceeds of the Liquidating Trust Claims shall be utilized to
                                  fund the administration of the Liquidating Trust and the
                                  distributions to the beneficiaries of the Liquidating Trust.

                                  The Initial GUC Distribution Amount shall be distributed pro rata
                                  among the beneficiaries of the Liquidating Trust other than the
                                  Prepetition Agent, it being agreed among the Parties that the
                                  Prepetition Secured Parties shall not recover any amounts from the


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  In the event that Mr. Deitz is unable or unwilling to serve, the Prepetition Agent shall identify two alternatives for
the Committee to select between to serve as the Trustee on substantially the same terms as Mr. Dietz.

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                          Initial GUC Distribution Amount. Any distributions made by the
                          Liquidating Trust to its beneficiaries from any assets of the
                          Liquidating Trust other than the Initial GUC Distribution Amount
                          shall be distributed pro rata to all of the beneficiaries of the
                          Liquidating Trust, including the Prepetition Agent for the benefit of
                          the Prepetition Secured Parties on account of the Deficiency Claim.

                          Notwithstanding anything to the contrary herein, the Trustee shall
                          have the authority to create reserves of Liquidating Trust assets
                          (including with respect to the Initial GUC Distribution Amount) for
                          any reason consistent with his duties under the Liquidating Trust
                          Agreement.

Prepetition Obligations   The Committee hereby:
and Release of Claims
                          a) adopts the admissions, stipulations, acknowledgements and
                             agreements made by the Debtors as reflected in Paragraph E of
                             the Cash Collateral Order;

                          b) reaffirms its agreement under that certain Stipulation Regarding
                             Unencumbered Assets and Occurrence of Investigation
                             Termination Date entered into between the Prepetition Agent
                             and the Committee and approved by order of the Bankruptcy
                             Court [Docket No. 293] (the “Prior Stipulation”) that the
                             Investigation Termination Date (as defined in the Cash
                             Collateral Order) has passed and the Committee has waived all
                             rights to assert any Challenge (as defined in Cash Collateral
                             Order);

                          c) agrees that, upon the occurrence of the Closing, the Prepetition
                             Agent, on behalf of the Prepetition Secured Parties, will have an
                             allowed deficiency claim (the “Deficiency Claim”) in the
                             amount of $87,252,851.11, which shall remain secured by the
                             Excluded Assets, other than the Liquidating Trust Claims,
                             which will not be subject to the security interest of the
                             Prepetition Secured Parties; provided, however, that the amount
                             of the Deficiency Claim shall be reduced on a dollar-for-dollar
                             basis by any net proceeds paid to the Prepetition Agent from
                             any Excluded Assets;

                          d) releases the Prepetition Secured Parties from any and all claims
                             and causes of action related to the Debtors, their estates, the
                             Prepetition Obligations (as defined in the Cash Collateral
                             Order), or these Chapter 11 Cases; and




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                     e) consents to the APA, the Sale Order and, in each case, the
                        transactions contemplated thereby.

                     The foregoing agreements, admissions, stipulations,
                     acknowledgements, reaffirmations, and releases by and of the
                     Committee shall be binding on the Trustee and any chapter 7
                     trustee, as applicable.

Chapter 11 Plan      Any Plan confirmed in the Chapter 11 Cases (a) may not alter or
                     modify the terms of this Settlement Term Sheet, the APA or the
                     Sale Order, unless agreed to in writing by the Prepetition Agent and
                     the Committee and, with respect to the APA and Sale Order only,
                     the Debtors and (b) must incorporate the terms set forth in the
                     section titled “Prepetition Obligations and Release of Claims”
                     above.

Implementation       The settlement, including without limitation the payment of the
                     Wind-Down Funding Amount, shall be effective upon entry of the
                     Sale Order.

                     The Liquidating Trust shall be implemented via a Plan or such
                     other method as mutually agreed to by the Prepetition Agent and
                     the Committee, after consultation with the Debtors.

                     In the event that the Chapter 11 Cases are converted to Chapter 7,
                     the rights of the Liquidating Trust set forth herein shall inure to the
                     benefit of the Chapter 7 Trustee, including without limitation, the
                     Trust Funding Amount and the Initial GUC Distribution Amount.




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                                           EXHIBIT 1

                                    WIND-DOWN BUDGET

                                                                             ($ in thousands USD)
 Description                                                                            Amount
 Professional Fees through Plan Effective Date                                               $250
 Wind-down Manager/Trustee Fees (does not include incentive fees)                             $80
 Professional Support for Wind-down Manager/Trustee:                                         $560
 US Trustee Fees (8/1 - 9/30)                                                                 $35

 Miscellaneous / Other (includes items such as claims agent, service of solicitation          $75
 materials, independent manager, Purchaser assistance with accounting and
 reconciliation costs, as needed)
 Total Disbursements                                                                       $1,000


        Purchaser agrees that it will make its personnel available at no cost to the responsible
officer of the Debtors referred to in Section 2.2 of the APA or, after the effective date of a Plan,
the Trustee, to provide information and assistance with accounting and claim reconciliation
matters, for the following periods and capped personnel hours: (a) 25 hours per month for each of
the first two months after the Closing; (b) 20 hours per month for each of the third and fourth
months after the Closing; and (c) 10 hours per month for months five through 12 after the
Closing. If additional assistance is requested by such responsible officer or the Trustee, as
applicable, the Purchaser shall provide such assistance as is reasonably requested for a reasonable
period of time on customary terms for the assistance requested and the requesting party shall pay
Purchaser its actual costs for providing such assistance and the out-of-pocket expenses incurred
by the Purchaser in connection therewith.
